Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 1 of 81




                      Exhibit C
Case 23-04510      Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15     DescAndrea
                                                                                Exhibit
                                                                                      Lynn Chasteen
                                    C Page 2 of 81                 Will County Circuit Clerk
                                                               Twelfth Judicial Circuit Court
                                                                         Electronically Filed
                                                                             2019L 001046
               IN THE CIRCUIT COURT OF WILL COUNTY, ILLINOIS Filed Date: 8/31/2023  4:04 PM
                                                                       Envelope: 24207129
                     COUNTY DEPARTMENT, LAW DIVISION                             Clerk: GMA

PRESENCE CENTRAL AND SUBURBAN                 )
HOSPITALS NETWORK F/K/A PRESENCE              )
HOSPITALS PRV F/K/A PROVENA                   )
HOSPITALS,                                    )        No. 19 L 1046
                                              )
      Plaintiff,                              )
                                              )        Hon. Bobbi N. Petrungaro
      v.                                      )
                                              )
MIDWEST LEASING OF ILLINOIS, LLC,             )
JOLIET ONCOLOGY-HEMATOLOGY,                   )
ASSOCIATES, LTD., and SARODE K.               )
PUNDALEEKA,                                   )
                                              )
      Defendants.                             )


       PLAINTIFF PRESENCE’S OPPOSITION TO MIDWEST LEASING OF
         ILLINOIS, LLC AND SARODE PUNDALEEKA’S PETITION TO
                     VACATE ARBITRATION AWARD




                                        Christopher J. Letkewicz
                                        Olivia Sullivan
                                        Benesch, Friedlander, Coplan & Aronoff LLP
                                        71 South Wacker Drive, Suite 1600
                                        Chicago, Illinois 60606
                                        312.212.4949
                                        cletkewicz@beneschlaw.com
                                        osullivan@beneschlaw.com
Case 23-04510         Doc 20-4    Filed 10/13/23 Entered 10/13/23 17:58:15          Desc Exhibit
                                        C Page 3 of 81


                                        INTRODUCTION

         “[A] court will grant a petition to vacate an arbitration award only in extraordinary
                                                                                                  1
circumstances.” First Health Grp. Corp. v. Ruddick, 393 Ill. App. 3d 40, 47 (1st Dist. 2009).

No such extraordinary circumstances exist here. Midwest’s Petition (1) raises a claim that this

Court lacks jurisdiction to adjudicate and otherwise ignores well-settled law, (2) seeks to

relitigate arguments that the arbitrator previously rejected, (3) asserts a bias claim based simply

on disagreeing with the arbitrator’s decision, and (4) argues a claim that it waived over 18
              2                                                                          3
months ago. Midwest’s Petition should be denied, and the Award should be confirmed.

         Automatic Stay Claim. Midwest first argues that the arbitrator exceeded his powers

because his Award violated the automatic stay in Midwest’s-then bankruptcy case. (Pet. 4–5.)

Midwest’s claim fails out of the box because this Court lacks jurisdiction to provide any relief

for any purported violations of the automatic stay. That jurisdiction belongs exclusively to

bankruptcy courts. See, e.g., E. Equip. & Servs. Corp. v. Factory Point Nat’l Bank, 236 F.3d 117,

121 (2d Cir. 2001); Halas v. Platek, 239 B.R. 784, 792–93 (N.D. Ill. 1999).

         Even if this Court had jurisdiction over Midwest’s automatic stay claim (it does not),

Midwest’s claim fails because the Award did not violate the automatic stay. Bankruptcy courts

have rejected automatic stay challenges where the debtor has engaged in inequitable conduct.

Here, Midwest engaged in inequitable conduct by filing a bankruptcy petition that the

bankruptcy court quickly concluded was in bad faith and dismissed it for cause.



1
 Throughout this Opposition, all internal citations and quotation marks have been omitted and
emphasis has been added unless otherwise noted.
2
  “Midwest” refers to Plaintiff Midwest Leasing of Illinois, LLC, individually, or collectively,
with Plaintiff Dr. Sarode K. Pundaleeka. “Petition” or “Pet.” refers to Midwest Leasing of
Illinois, LLC and Sarode Pundaleeka’s Petition to Vacate Arbitration Award.
3
    “Award” refers to the May 2, 2023 Final Arbitration Award in this matter.

                                                 1
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15            Desc Exhibit
                                       C Page 4 of 81



       But even if the Award was a violation of Midwest’s automatic stay (it was not), the

Award should still be confirmed. It is well settled that the automatic stay applies only to (subject

to limited exceptions not relevant here) a debtor. See, e.g., In re Caesars Entm’t Operating Co.,

540 B.R. 637, 643 (Bankr. N.D. Ill. 2015). Here, the only debtor was Midwest, not Dr.

Pundaleeka. Accordingly, the automatic stay did not apply to Dr. Pundaleeka. Where a court has

concluded that an arbitration award violated the automatic stay as to one party, but not another,

the court still affirms the arbitration award in its entirety. See Marquis Yachts v. Allied Marine

Grp., Inc., 2010 WL 1380137, at *8 (D. Minn. March 31, 2010) (attached hereto as Ex. 6).

       Arbitrator Exceeded His Powers Claim. Next, Midwest copies and pastes the same

argument it made in the arbitration to assert that the arbitrator did not have the authority under

the American Health Law Association Rules of Procedure for Commercial Arbitration (the

“AHLA Rules”) to enter a default order for non-payment of arbitrator fees. (Compare Pet. 6–9
                                    4
with Presence’s Mot. Ex. J at 7–9.) Simply trying to relitigate an issue previously decided by the

arbitrator falls well short of establishing that the arbitrator made a “gross error[] of judgment in

law … apparent upon the face of the award.” Tim Huey Corp. v. Global Boiler & Mech., Inc.,

272 Ill. App. 3d 100, 106 (4th Dist. 1995). Indeed, this argument falls short under a rigorous de

novo review. Under the AHLA Rules, the arbitrator had broad sanction authority, including

entering a default order. Courts have affirmed arbitration awards based on default judgments for

failing to pay the required arbitration fees. See Willick v. Napoli Bern Ripka & Assocs., LLP,

2018 WL 6443080, at *4 (C.D. Cal. Sept. 13, 2018) (attached hereto as Ex. 8).

       Arbitrator Bias Claim. Midwest provides zero evidence in its Petition that demonstrates


4
 “Presence” refers to Plaintiff Presence Central and Suburban Hospitals Network f/k/a Presence
Hospitals PRV f/k/a Provena Hospitals. “Presence’s Mot.” refers to Presence’s Motion to Lift
Stay and Confirm Arbitration Award.


                                               -2-
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                        C Page 5 of 81



that the arbitrator had a “direct, definite and demonstratable interest … in the outcome of the

arbitration.” Edward Elec. Co. v. Automation, Inc., 229 Ill. App. 3d 89, 101 (1st Dist. 1992).

Instead, Midwest simply argues that the arbitrator was biased because he entered an adverse

ruling against them. But mere disappointment in the outcome is not evidence of bias.

       The Arbitrability of Presence’s Claim. Finally, Midwest asserts that there was no

agreement to arbitrate. This claim is frivolous. Eighteen months ago, Midwest filed a motion to

compel Presence’s claims into arbitration. In that motion, which this Court granted, Midwest

argued: “There can be no question that Plaintiff[] [Presence] entered into a binding and

enforceable arbitration agreement, which is subject to the FAA and precludes litigation of [its]

claims in this Court.” (Ex. 1 at 11.) Midwest cannot claim that the dispute was arbitrable 18

months ago and now claim that the dispute is not arbitrable. Even if Midwest had not moved to

compel arbitration, it waived any challenge to arbitrability when it failed to challenge the

arbitrability at the time of the answer. First Health, 393 Ill. App. 3d at 48, 52.

                                                 ***

       For these reasons and those set forth below, Midwest’s Petition should be denied.

                                   FACTUAL BACKGROUND

       Midwest’s Petition fails to include numerous facts relevant to the arbitrator’s default

order and subsequent Award against Midwest and Dr. Pundaleeka. Accordingly, this section sets

forth additional facts that provide the necessary context for the arbitrator’s decision.

       Midwest Moves to Compel Arbitration Two Years into the Litigation. Presence initiated

this lawsuit in December 2019 against Midwest alleging claims of unjust enrichment and

declaratory judgment. Presence subsequently amended its complaint three times to add new

parties (Dr. Pundaleeka and Joliet Oncology Hematology Associates (“JOHA”)), new claims

(unjust enrichment against Dr. Pundaleeka and JOHA as alter egos of Midwest, and fraudulent


                                                 -3-
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15              Desc Exhibit
                                        C Page 6 of 81



transfer), and new facts. Presence filed its Third Amended Complaint in December 2021.

       In response and relevant here, Midwest moved in January 2022 to compel the dispute to

arbitration before the AHLA. In the motion, Midwest argued that pursuant to a Professional

Services Agreement (“PSA”) between JOHA and Presence, “[t]here should be no question that

the claims presented are all subject to the arbitration,” (Ex. 1 at 7), because “[a] plain reading of

the Complaint together with the terms of the arbitration provisions [in the PSA] makes it clear

that the parties’ dispute is subject to arbitration.” (Id. at 12.) Midwest added that Presence should

be “equitably estopped from bringing a claim against Midwest and Pundaleeka outside of

arbitration despite the fact that Pundaleeka and Midwest were not parties to the PSA.” (Id. at 13.)

Over Presence’s objection, the Court granted Midwest’s motion. (Presence’s Mot. Ex. B.)

       Midwest’s Conduct in the Arbitration. After the Court’s order, the dispute proceeded to

arbitration before the AHLA. At the initial status hearing, Midwest did not challenge the

arbitrability of the dispute. (See id. Ex. D ¶ 2.) In fact, Midwest did not even submit a responsive

pleading, and its non-answer was treated as a denial of all material allegations. (Id.) As discussed

in Presence’s Motion to Confirm, numerous issues arose regarding Midwest’s compliance with

the arbitrator’s orders. (Presence’s Mot. ¶ 6.) In particular, Midwest failed to comply with the

arbitrator’s orders on November 14, and December 12, 2022, to pay the required $3,500 in

arbitrator fees. (Id. ¶ 7.) This non-compliance continued for months.

       At a February 15, 2023 status hearing, the arbitrator was made aware that Midwest was

continuing to not comply with his prior orders regarding paying the arbitrator fees and warned

Midwest that he had broad sanction powers under the AHLA Rules, including entering a default

judgment. (Id.) The arbitrator entered another order requiring Midwest to pay the required

arbitrator fees. (Id. Ex. H ¶ 2.) Midwest ignored the arbitrator’s order for a third time.

       The arbitrator then entered an order requiring Midwest to file a brief explaining why it

                                                 -4-
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                       C Page 7 of 81



should not be sanctioned for repeatedly ignoring his orders. (Id. Ex. I ¶ 2.) On March 3, Midwest

submitted its brief, and on March 8, Presence filed its response, arguing that the arbitrator should

enter a default judgment against Midwest as a sanction. (Id. Exs. E, J.)

       The arbitrator then held oral argument on the issue. After the argument, the arbitrator

issued a four-page ruling, entering a “default order against each of Midwest and Pundaleeka for

each of their separate failures, without good cause shown, to comply with the additional deposit

requirements of Orders 3, 5 and 10.” (Id. Ex. K ¶ 11.) In the decision, the arbitrator stated that a

default order was appropriate based on AHLA Rules 4.l(a)(3), 4.l(a)(5), 5.3, and 7.6(c), and the

decision in Willick. (Id. ¶¶ 9–10.) The arbitrator further noted that Midwest and Dr. Pundaleeka

failed to provide “any documentary proof” that paying the arbitrator fees would cause a

“financial hardship” despite “being given several opportunities to so.” (Id. ¶¶ 8, 10.)

       The arbitrator set the matter for a damages prove-up hearing on April 5 and ordered

Presence to submit any documents in support by March 24 and gave Midwest until March 31 to

submit any response. (Id. ¶ 12.) On March 24, Presence submitted a brief and documents in

support of its damages claim. (Id. Ex. L.) Midwest did not submit any response.

       On April 5, the arbitrator held the damages prove-up hearing. Despite the arbitrator

contacting Midwest’s and Dr. Pundaleeka’s counsel, they did not appear. (Id. Ex. N ¶ 5.) As a

result, the hearing took place without Midwest participating. (Id.). On April 7, the arbitrator

provided the parties the Final Arbitration Award, awarding Presence $1.7 million and holding

Midwest and Dr. Pundaleeka jointly and severally liable. (Id. Ex. O.) On April 10, the arbitrator

told the parties that “minor adjustments to the final order” needed to be made “based on the fact

that Midwest/Pundaleeka did not submit the required additional deposit.” (Id. Ex. P at 2.)

       Unbeknownst to Presence, Midwest filed for Chapter 7 bankruptcy on April 4, 2023. (Id.

Ex. Q.) Presence did not receive the bankruptcy petition until April 13. The next day, Presence

                                                -5-
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15            Desc Exhibit
                                       C Page 8 of 81



told the arbitrator about Midwest’s bankruptcy petition. (Id. Ex. P at 1.) The arbitrator asked

whether Dr. Pundaleeka had filed for bankruptcy as well, and Presence told him no. (Id.) On

May 2, the arbitrator issued a revised Final Arbitration Award in the amount of $1,765,346.17

and again held Midwest and Dr. Pundaleeka jointly and severally liable. (Id. Ex. N.)

       Midwest’s Short-Lived Bankruptcy Proceedings. On May 23, Presence moved to

dismiss Midwest’s bankruptcy for cause because, in particular, it was “clearly brought in bad

faith,” was nothing more than “a mere litigation tactic” to “thwart Presence from collecting on its

claim against Midwest,” and served “no legitimate bankruptcy purpose” because Presence was

Midwest’s only creditor. (Id. Ex. R ¶¶ 24, 26, 30.) Presence also flagged in the motion that the

arbitrator had entered the initial Award on April 7 and the revised final Award on May 2 after

Midwest’s bankruptcy petition. (Id. ¶¶ 20–21.) Midwest initially objected to Presence’s motion.

On June 14, the bankruptcy court held a hearing on the motion. There, the bankruptcy trustee

stated: “I don’t see a basis for this bankruptcy filing.” (Ex. 2 at 2:19–20.) In response, the court

stated: “I thought that might be what you sa[y] because that was my conclusion, too. Mr.

Ottenheimer [Midwest’s counsel], I don’t see what your response could be.” (Id. 3:6–10.)

       On June 28, Midwest withdrew its objection, (Presence’s Mot. Ex. S), and on June 30,

the bankruptcy court granted Presence’s motion and dismissed Midwest’s bankruptcy case. (Id.

Ex. T.) At no point did the bankruptcy court conclude that the Award violated the automatic stay

as to Midwest. Indeed, Midwest never made such a claim during the bankruptcy proceedings.

                                   STANDARD OF REVIEW

       “It has long been the view of [the Illinois Supreme Court] that arbitration awards should

be construed wherever possible, so as to uphold their validity.” Rauh v. Rockford Prods. Corp.,

143 Ill. 2d 377, 386 (1991). This is because “[a] contrary course would be a substitution of the

judgment of the Chancellor in place of the judges chosen by the parties, and would make an


                                               -6-
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                       C Page 9 of 81



award the commencement, not the end, of litigation.” Garver v. Ferguson, 76 Ill. 2d 1, 9 (1979).

Indeed, as some courts have remarked: “[a]rbitration does not provide a system of junior varsity

trial courts offering the losing party complete and rigorous de novo review.” Jimmy John’s

Franchise, LLC v. Kelsey, 549 F. Supp. 2d 1034, 1040 (C.D. Ill. 2008). As a result, the party

challenging the award must “prove by clear and convincing evidence that an award was

improper.” Herricane Graphics, Inc. v. Blinderman Const. Co., 354 Ill. App. 3d 151, 156 (2d

Dist. 2004). Mere errors in judgment or mistakes of law are not enough. Garver, 76 Ill. 2d at 7.

Instead, the challenger must show that the arbitrator engaged in fraud or misconduct or made a

“gross error of judgment in law … [that] [is] apparent upon the face of the award.” Sweet v.

Steve’s Cartage Co., 51 Ill. App. 3d 913, 915 (3d Dist. 1977). Accordingly, if the arbitrator

“acted in good faith, the award is conclusive upon the parties.” Garver, 76 Ill. 2d at 7–8.

                                          ARGUMENT

       Midwest’s Petition should be denied for at least four reasons. First, Midwest’s automatic

stay claim fails because the Court lacks jurisdiction to adjudicate any automatic stay claims and

even if it decided the claim (it should not), there was no violation of the stay, and even if there

was (there was not), it is not a basis to vacate the Award. Second, the arbitrator did not commit a

gross error of law in entering a default order because the AHLA Rules empowered the arbitrator

to enter such an order as a sanction. Third, Midwest presents no evidence that the arbitrator was

biased. Fourth, Midwest waived any challenge to arbitrability.

I.     MIDWEST’S PREVIOUSLY FILED AND NOW DISMISSED BANKRUPTCY
       PETITION IS NOT A BASIS TO VACATE THE AWARD.

       A.      This Court Lack Jurisdiction to Determine Whether the Award Violated the
               Automatic Stay in Midwest’s Bankruptcy.

       Midwest’s claim that the Award should be vacated because it violated Midwest’s

bankruptcy’s automatic stay is dead on arrival because this Court lacks jurisdiction to decide



                                                -7-
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                        C Page 10 of 81



such a claim. Courts have repeatedly held that only a bankruptcy court can decide whether a

violation of the automatic stay has taken place. See E. Equip., 236 F.3d at 120–21 (affirming

district court decision that it lacked jurisdiction to decide whether defendants violated automatic

stay because only a bankruptcy court could decide); Halas, 239 B.R. at 793 (holding that state

courts “do not have jurisdiction to impose sanctions under § 362(h) [automatic stay provision]”);

In re Raboin, 135 B.R. 682, 684 (Bankr. D. Kan. 1991) (“[T]his court [the bankruptcy court] has

exclusive jurisdiction to determine the extent and effect of the stay.”). Indeed, one Court

succinctly held: “Any relief for a violation of the stay must be sought in the Bankruptcy Court.”

E. Equip, 236 F.3d at 121; see also Cisse v. 17161 Alva Rd. Owners Assoc., 2019 WL 6118442,

at *1 (S.D. Cal. Nov. 18, 2019 (collecting cases)) (attached hereto as Ex. 3).

       Courts have taken this view because “the automatic stay [is] ‘a creature peculiar to

federal bankruptcy law [that] plays a fundamental role in the administration of the Bankruptcy

Code.” Halas, 239 B.R. at 791 (quoting In re Elegant Concepts, Ltd., 67 B.R. 914, 917 (Bankr.

E.D.N.Y. 1986)). Accordingly, to allow state courts to decide automatic stay issues “would

undermine Congress’ intent to have one uniform bankruptcy system. Indeed, [i]t is for Congress

and the federal courts, not the state courts, to decide what incentives and penalties are

appropriate for use in connection with the bankruptcy process and when those incentives or

penalties shall be utilized.” Id. at 792 (collecting cases). In short, if Midwest wishes to vacate the

Award because it violated the automatic stay, Midwest must raise that with the bankruptcy court
                   5
and not this Court. Midwest does not cite any case in which a state court vacated an arbitration


5
  Neither In re MarketXT Holdings Corp., 2009 WL 2957809 (Bankr. S.D.N.Y. July 20, 2009)
and In re Knightsbridge Dev. Co., 884 F.2d 145 (4th Cir. 1989) require a different result. (See
Pet. 4–5.) As an initial matter, in In re MarketXT, the bankruptcy court annulled the automatic
stay; thus, allowing arbitration award to be confirmed. 2009 WL 2957809, at *4–5. More
importantly, these cases involve a bankruptcy court and a federal appellate court reviewing a

                                                -8-
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15            Desc Exhibit
                                       C Page 11 of 81



award because it violated the automatic stay.

       B.      Even Assuming the Court Had Jurisdiction, the Stay Was Not Violated.

       Even if the Court decided to resolve the automatic stay issue (it needs and should not),

the Court should conclude that there was no violation of the stay for two reasons. First, Midwest

is not entitled to the protection of the automatic stay when it engaged in inequitable conduct by

filing its bankruptcy petition in bad faith. Bankruptcy courts are courts of equity. E.g., Matthews

v. Rosene, 739 F.2d 249, 251 (7th Cir. 1984). As a result, “[e]quitable defenses, including

unclean hands … may be raised by persons accused of violating the automatic stay.” In re Den

Beste, 2012 WL 2061402, at *1 (Bankr. N.D. Cal. June 6, 2012) (collecting cases) (attached

hereto as Ex. 4). Put another way, “[s]uspension of Section 362 automatic stay provisions may be

consonant with the purposes of the Bankruptcy Act when equitable considerations weigh heavily

in favor of the creditor.” Matthews, 739 F.2d at 251.

       Here, Midwest filed its bankruptcy petition in bad faith in a transparent effort to frustrate

Presence’s ability to collect on its claim against Midwest. (See Ex. 2 at 2:19–20, 3:6–10;

Presence’s Mot. Ex. R ¶¶ 24–26; id. Ex. T.) That alone is sufficient to deny Midwest the benefit

of the automatic stay. See In re Mack, 2007 WL 1222575, at *4–5 (M.D. Fla. Apr. 24, 2007)

(affirming bankruptcy court’s decision that debtor not entitled to protection of automatic stay

where debtor filed bankruptcy in bad faith) (attached hereto as Ex. 5); see also In re Basrah

Custom Design, 600 B.R. 385, 386–87 (Bankr. E.D. Mich. 2019) (denying motion to enforce

automatic stay where debtor had unclean hands “in filing and prosecuting this bankruptcy case”).

Further, Midwest was well aware that the Award was entered after its bankruptcy filing, but

never claimed in the three months its bankruptcy case was pending that the Award violated the


bankruptcy decision, respectively, evaluating whether an arbitration award violated the automatic
stay, and not the situation here, where Midwest is asking a state court to determine such an issue.

                                                -9-
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                       C Page 12 of 81



automatic stay. Midwest does not and cannot justify its delay for seeking relief in connection

with the stay. See Sole Survivor Corp. v. Buxbaum, 2009 WL 210471, at *8 (C.D. Cal. Jan. 22,

2009) (affirming denial of motion alleging violation of automatic stay where debtor did not raise

issue until after bankruptcy case was dismissed) (attached hereto as Ex. 7).

       Second, both the bankruptcy trustee and bankruptcy court were aware that the Award was

entered after Midwest’s bankruptcy filing, but took no action to void the Award because it

violated the automatic stay. This too shows that there was no violation of the stay. See id. (citing

the bankruptcy trustee’s and bankruptcy court’s awareness of the post-petition foreclosure and

lack of effort to void the foreclosure as another basis to conclude there was no violation of stay).

       C.      Even Assuming a Stay Violation Occurred, the Court Can Affirm the Award
               Because the Stay Applied to Only Midwest, Not Dr. Pundaleeka.

       Even assuming that the Award violated the automatic stay (it did not), it is not a basis to

vacate the Award. Here, the Award is against Midwest and Dr. Pundaleeka. Only Midwest filed

for bankruptcy. It is black letter law that—absent certain limited exceptions not relevant here—

the automatic stay applies to only the debtor, and no one else. See, e.g., In re Caesars, 540 B.R.

at 643. This is the case even where, like here, it is alleged that the non-debtor is the alter ego of

the debtor. E.g., Performance Food Grp. Co., LLC v. ARBA Care Ctr. of Bloomington, LLC,

2017 IL App (3d) 160348, ¶ 26 (“Just because two entities are alter egos does not make them

both debtors under the Bankruptcy Code. It simply means they are liable for each other’s debts.”

(quoting Pavers & Rd. Builders Dist. Council Welfare Fund v. Core Contracting of N.Y., LLC,

536 B.R. 48, 51 (Bankr. E.D.N.Y. 2015)). If a debtor wishes to extend the protections of the stay

to a non-debtor, an affirmative motion must be filed and granted providing such relief. C.H.

Robinson Co. v. Paris & Sons, Inc., 180 F. Supp. 2d 1002, 1018 (N.D. Iowa 2001); see also 555

M Mfg., Inc. v. Calvin Klein, Inc., 13 F. Supp. 2d 719, 722 (N.D. Ill. 1998) (declining to extend



                                               - 10 -
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                       C Page 13 of 81



automatic stay to non-debtor where debtor did not file and the bankruptcy court did not grant

motion extending stay to non-debtor). Here, Midwest never sought to extend the automatic stay

to non-debtor Dr. Pundaleeka, and therefore, the automatic stay never applied to Dr. Pundaleeka.

       Accordingly, at best, Midwest could argue that the Award violated the automatic stay as

to Midwest, but not Dr. Pundaleeka. This is significant. In Marquis Yachts, the court was faced

with a situation where an arbitration award violated the automatic stay as to one party, but not
                6
the other party. 2010 WL 1380137, at *8. The court stated that it did not have the authority

under Section 11 of the Federal Arbitration Act (which is nearly identical to Section 13 of the

Illinois Uniform Arbitration Act) to vacate the award in part and that it either had to confirm it or

vacate it in its entirety. Id. The court then concluded that it would confirm the award in its

entirety because “the panel was acting, in part, within its powers by continuing the arbitration

proceedings and issuing the final award on [the claim not affected by the automatic stay].” Id.

Thus, even if the court were to decide the automatic stay issue and conclude the Award violated

the stay as to Midwest (it should not), the Award should still be confirmed because the arbitrator

was, at a minimum, acting within his powers as to Dr. Pundaleeka. See id.

II.    The Arbitrator Did Not Commit a Gross Error of Law in Entering a Default Order
       Against Midwest and Dr. Pundaleeka.

       Midwest’s claim that the arbitrator “exceeded his power” by issuing a default order

against it should be rejected because Midwest comes nowhere close to establishing a gross error

of law apparent upon the face of the award. As discussed above, a mere mistake of law is not

enough to vacate an arbitration award. See supra at 7. Instead, the challenger must show “a gross

error of judgment in law … [that] [is] apparent upon on the face of the award.” Sweet, 51 Ill.


6
 The court incorrectly decided whether there was a violation of the automatic stay. See supra at
7–9. This is likely due to neither party raising the jurisdiction issue.

                                               - 11 -
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15              Desc Exhibit
                                        C Page 14 of 81



App. 3d at 915. This means Midwest must show that “the arbitrator deliberately disregarded

what he knew to be the law.” Tim Huey, 272 Ill. App. 3d at 106. Illinois courts have described

this as “an almost nonexistent standard of review.” Id.

       Here, Midwest does not show an error in law, let alone a gross error of law apparent on

the face of the award. Midwest largely repeats verbatim the same arguments it made to the

arbitrator about why he could not enter a default order. (Compare Pet. 6–9 with Presence’s Mot.

Ex. J at 7–9.) By doing so, it implicitly concedes that the arbitrator did not commit a gross error

of law because this Court cannot substitute its judgment for that of the arbitrator; nor can it

provide “a rigorous de novo review.” See Garver, 76 Ill. 2d at 9; Kelsey, 549 F. Supp. 2d at 1040.

       The arbitrator’s decision was well-supported under the AHLA Rules and the law and

could be upheld under a “rigorous de novo review,” let alone the gross error of law apparent

from the face of the award standard the Court must apply here. Under AHLA Rule 4.1, “[a]n

arbitrator has the power to: … (3) sanction parties for failing to comply with any orders of the

arbitrator or any obligations under the Rules … and (5) take any actions or make any decisions

that are necessary and proper to conducting a fair and efficient arbitration under the Rules.”

AHLA R. 4.1(a)(3), (5). Nowhere in any of those Rules or in any other AHLA Rule does it bar

an arbitrator from imposing a particular sanction, such as a default order. This includes AHLA

Rule 5.3 cited by Midwest. (See Pet. 8.) AHLA Rule 5.3 simply provides that non-payment of an

arbitrator’s fee is grounds for sanctions, not that it bars an arbitrator from entering a default order

against a non-paying party. AHLA R. 5.3 (“The arbitrator may also sanction a party for non-

payment unless the party can prove to the arbitrator’s satisfaction that paying the deposit would

cause a financial hardship.”). In short, by broadly allowing an arbitrator to “sanction,” take “any

actions,” or “make any decisions,” the AHLA Rules give an arbitrator broad sanction power,

including, but not limited to, entering a default order.

                                                - 12 -
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                       C Page 15 of 81



       Willick is instructive. In Willick, the arbitrator entered a default judgment against the

defendant after defendant violated an arbitrator’s order to pay an accounting firm’s fees. 2018

WL 644380, at *1. The arbitrator then held a “prove-up” hearing in which plaintiff “prove[d] up”

its claims, and the arbitrator then awarded over $4 million in damages. Id. at *2. The defendant

then opposed plaintiff’s motion to confirm the award, asserting that the default judgment

exceeded the arbitrator’s powers because the applicable rules, AAA, barred an arbitrator from

“entering[ing] a default award as a sanction.” Id. at *3. The court disagreed and confirmed the

award. Id. at *4–5. The court reasoned that the arbitrator did not exceed his powers because he

did not impose a default award; rather, he “entered default as a sanction,” then “conducted a

prove-up hearing,” and “[o]nly after that prove-up hearing did the Arbitrator enter the Award.”
         7
Id. at *4. The AHLA, unlike AAA, does not bar a default award as a sanction. Accordingly, if

an arbitrator is empowered under AAA to enter a default judgment, he is certainly empowered to

do so under AHLA Rules. See id.; see also Seagate Tech., LLC v. W. Digital Corp., 854 N.W.2d

750, 764 (Minn. 2014) (affirming award where arbitrator barred evidence or defense on certain

trade secret issues and entered judgment of liability as sanction for fabricating evidence).

       Midwest asserts three arguments as to why the arbitrator exceeded his power. Each is

meritless. First, Midwest cites a law review article to claim that an arbitrator cannot enter a

default judgment. (See Pet. 6–7.) Putting aside that the law review article does not discuss the

AHLA Rules and thus is not relevant, the article actually argues for Presence’s position that an

arbitrator should be able to enter a default order for non-payment of arbitrator fees. Specifically,

the article states: “When two commercial entities freely agree to arbitrate disputes and one of

them thereafter is responsible for the termination of the arbitration, there is nothing unfair about

7
 Willick shows that Midwest’s claim that “defaults are never utilized as a sanction” is false. (Pet.
8).

                                               - 13 -
Case 23-04510        Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15          Desc Exhibit
                                         C Page 16 of 81



a court holding that party in default. The non-paying party should be deemed to have waived its
                                                                                 8
right to arbitration and its opportunity to litigate liability on the merits.”

        Second, Midwest argues that AAA does not allow for default judgments. (See Pet. 7.) The

AAA Rules, however, have no applicability to this arbitration, and in any event, courts have

upheld default judgments entered under AAA Rules. See Willick, 2018 WL 644380, at *4–5.

        Third, Midwest argues that entering a default order is akin to a refusal to hear evidence,

citing Henley and Johnson. Not so, see, e.g., Willick, 2018 WL 644380, at *4–5, and in any

event, Henley and Johnson are readily distinguishable. Neither Henley nor Johnson involves an

arbitrator imposing a default order for noncompliance with an arbitrator’s order. Rather, Henley

involved an arbitration award that was not signed by all the arbitrators as required under the rules

and misrepresented that the decision was unanimous, and Johnson involved arbitrators excluding

certain evidence from defendants on the erroneous ground that the evidence related to non-

arbitrable issues. Henley v. Econ. Fire & Cas. Co., 153 Ill. App. 3d 66, 73 (1st Dist. 1987);

Johnson v. Baumgardt, 216 Ill. App. 3d 550, 559–60 (2d Dist. 1991). The factual scenarios in

Henley and Johnson are far adrift from the situation here.

        In sum, the arbitrator was well within his power to enter a default order, let alone

committing a gross error of law apparent on the face of the award.

III.    No Evidence Exists that the Arbitrator Was Biased.

        Midwest argues that the arbitrator was biased against it because he was “obsess[ed] with

payment and his hyperfocus on Midwest and Pundaleeka’s failure [to pay].” (Pet. 9.) This

argument, however, is nothing more than an effort by Midwest to overturn an unfavorable award.


8
  Neal Eisenman & Brian Farkas, Stiffing the Arbitrators: The Problem of Nonpayment in
Commercial Arbitration, HARVARD NEGOTIATION LAW REVIEW at 19 (2015), available at
https://www.hnlr.org/wp3content/uploads/sites/22/HNLR-Eiseman-and-Farkas-.pdf.

                                                 - 14 -
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                       C Page 17 of 81



In order to vacate an award based on arbitrator bias, the challenger must provide evidence that

the arbitrator had “a direct, definite and demonstratable interest” in the outcome. Edwards, 229

Ill. App. 3d at 101. “[P]roof of partiality may not be remote, uncertain or speculative.” Id. Here,

Midwest sets forth zero evidence that the arbitrator had any interest in the outcome or any

relationship with Presence and/or its counsel. Instead, Midwest offers speculation that he must

have been biased because he was purportedly “obsess[ed] with payment.” (Pet. 9.) Such

speculation, however, falls well short of proving by clear and convincing evidence that the

arbitrator was biased. See Edwards, 229 Ill. App. 3d at 102 (rejecting bias claim).

IV.    Midwest Waived Any Challenge as to the Arbitrability of the Dispute.

       Midwest’s arbitrability argument is frivolous. Eighteen months ago, Midwest specifically

asserted in a motion to compel arbitration that there is “no question that the claims presented are

all subject to the arbitration.” (Ex. C at 7; see also supra at 3–4.) They cannot now turnaround

and claim the opposite. Cf. Elsasser v. DV Trading, LLC, 444 F. Supp. 3d 916, 929 (N.D. Ill.

2020) (estopping plaintiffs from avoiding arbitration clause in agreement where it sought the

benefit from that agreement). Putting that aside, it is well settled that arbitrability must be

challenged no later than the answer to the arbitration demand, or it is considered waived. See,

e.g., First Health, 393 Ill. App. 3d at 48. Here, Midwest waited until after the parties completed

discovery in the arbitration and after the arbitrator entered the Award to challenge arbitrability.

That is far too late and must be deemed waived. See, e.g., Craveable Hospitality Grp., LLC v.

Tadros, 2020 IL App (1st) 191460-U, ¶ 33 (concluding party waived arbitrability where he did

not object until “about 15 months after he had actively participated in the arbitration process”).

                                         CONCLUSION

       For the above reasons, Midwest’s Petition should be denied and the Award confirmed.




                                               - 15 -
Case 23-04510      Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15         Desc Exhibit
                                    C Page 18 of 81



Dated: August 31, 2023                            Respectfully submitted,

                                                  PRESENCE CENTRAL AND SUBURBAN
                                                  HOSPITALS NETWORK f/k/a PRESENCE
                                                  HOSPITALS PRV f/k/a PROVENA
                                                  HOSPITALS

                                              By:/s/Christopher J. Letkewicz
                                                 One of Its Attorneys

Christopher J. Letkewicz
cletkewicz@beneschlaw.com
Olivia Sullivan
osullivan@beneschlaw.com
Benesch, Friedlander, Coplan & Aronoff LLP
71 South Wacker Drive, Suite 1600
Chicago, Illinois 60606
312.212.4949




                                             - 16 -
Case 23-04510       Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15              Desc Exhibit
                                       C Page 19 of 81



                                 CERTIFICATE OF SERVICE

       The foregoing Plaintiff Presence’s Opposition to Midwest Leasing of Illinois, LLC

and Sarode Pundaleeka’s Petition to Vacate Arbitration Award was served by electronic

mail on this 31st day of August of 2023 to the counsel of record for the parties as set forth below.

                       Alexander Loftus
                       David Eisenberg
                       LOFTUS & EISENBERG, LTD.
                       161 N. Clark, Suite 1600
                       Chicago, Illinois 60601
                       T: 312.332.4200
                       C: 312.772.5396
                       alex@loftusandeisenberg.com
                       david@ loftusandeisenberg.com
                       Counsel for Defendants Midwest Leasing
                       of Illinois, LLC, and Sarode Pundaleeka

                       Jenna E. Milaeger
                       GOLDBERG LAW GROUP
                       120 South Riverside Plaza, Suite 1675
                       Chicago, Illinois 60606
                       T: 224-263-1839
                       jmilaeger@goldberglawoffice.com
                       Counsel for Defendant Joliet Oncology and
                       Hematology Associates, Ltd.




                                                     /s/ Christopher J. Letkewicz
                                                     Christopher J. Letkewicz
                                                     Attorney for Plaintiff Presence
Case 23-04510   Doc 20-4    Filed 10/13/23 Entered 10/13/23 17:58:15          Desc Exhibit
                                  C Page 20 of 81



        IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                  WILL COUNTY, ILLINOIS, LAW DIVISION

PRESENCE CENTRAL AND SUBURBAN             )
HOSPITALS NETWORK F/K/A PRESENCE          )
HOSPITALS PRV F/K/A PROVENA               )
HOSPITALS,                                )
                                          )
      Plaintiff,                          )
                                          )            Case No. 19 L 1046
      v.                                  )
                                          )            Hon. Bobbi N. Petrungaro
MIDWEST LEASING OF ILLINOIS, LLC,         )
JOLIET ONCOLOGY-HEMATOLOGY,               )
ASSOCIATES, LTD., and SARODE K.           )
PUNDALEEKA,                               )
                                          )
      Defendants.                         )
__________________________________________)

                                  EXHIBIT INDEX

    EXHIBIT                                  DESCRIPTION

1               Midwest’s Motion to Dismiss Presence’s Third Amended Complaint or in
                the Alternative Compel Arbitration Pursuant to 710 ILCS 5/2

2               June 14, 2023 Hearing Transcript in In re Midwest Leasing of Illinois, LLC,
                Case No. 23 B 04510

3               Cisse v. 17161 Alva Rd. Owners Assoc., 2019 WL 6118442 (S.D. Cal. Nov.
                18, 2019)

4               In re Den Beste, 2012 WL 2061402 (Bankr. N.D. Cal. June 6, 2012)

5               In re Mack, 2007 WL 1222575 (M.D. Fla. Apr. 24, 2007)

6               Marquis Yachts v. Allied Marine Grp., Inc., 2010 WL 1380137 (D. Minn.
                March 31, 2010)
7               Sole Survivor Corp, v. Buxbaum, 2009 WL 210471 (C.D. Cal. Jan. 22, 2009)

8               Willick v. Napoli Bern Ripka & Assocs., LLP, 2018 WL 6443080 (C.D. Cal.
                Sept. 13, 2018)
Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 21 of 81




                           EXHIBIT 1
Case 23-04510      Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15            Desc Exhibit
                                       C Page 22 of 81



          IN THE CIRCUIT COURT OF THE TWELFTH JUDICIAL CIRCUIT
                    WILL COUNTY, ILLINOIS, LAW DIVISION

PRESENCE CENTRAL AND SUBURBAN)
HOSPITALS NETWORK F/K/A           )
PRESENCE HOSPITALS PRV F/K/A      )
PROVENA HOSPITALS,                )
                                  )
           Plaintiff,             )
                                  )
           v.                     )                  19 L 1046
                                  )
MIDWEST LEASING OF ILLINOIS, LLC, )
JOLIET ONCOLOGY-HEMATOLOGY, )
ASSOCIATES, LTD., and SARODE K.   )
PUNDALEEKA,                       )
                                  )
           Defendants.            )

DEFENDANT’S MOTION TO DISMISS PLAINTIFF’S THIRD AMENDED VERIFIED
  COMPLAINT PURSUANT TO 735 ILCS 5/2-619.1 OR IN THE ALTERNATIVE
          COMPEL ARBITRATION PURSUANT TO 710 ILCS 5/2

       Defendants, Midwest Leasing of Illinois, LLC (“Midwest”) and Sarode Pundaleeka

(“Pundaleeka”), pursuant to Section 2-619.1 and 710 ILCS 5/2, respectfully request that this Court

dismiss Plaintiff’s Third Amended Complaint with prejudice.          In support of their motion,

Defendants state as follows:

                                       INTRODUCTION

       This is an inventive claim that needs to be finally disposed of. Plaintiff is desperately and

very creatively trying to run away from contracts governing the parties’ relationships whose

application would either result in the claim being dismissed or compelled to arbitration (and then

dismissed). While PCSHN’s lawyering has been tremendous it’s the facts in support of the claims

are absurd and should finally end now.

                                     LEGAL STANDARD

       Motions to dismiss under both sections 2-615 and 2-619 test the legal sufficiency of the
Case 23-04510        Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15               Desc Exhibit
                                        C Page 23 of 81



complaint, but in two different ways. Downey v. Wood Dale Park Dist., 286 Ill. App. 3d 194, 200

(2d Dist. 1997). A section 2-615 motion asserts that, even if all well-pled factual averments in the

complaint are true, the plaintiff has failed to plead facts satisfying all elements of the claim. Hough

v. Kalousek, 279 Ill. App. 3d 855, 863 (1st Dist. 1996).

        A section 2-619 motion admits the legal sufficiency of the complaint but asserts another

affirmative matter that defeats the claim. Am. Family Mut. Ins. Co. v. Krop, 120 N.E.3d 982, 986

(2018). In particular, section 2-619(a)(9) authorizes the dismissal of a claim where “the claim

asserted against defendant is barred by other affirmative matter avoiding the legal effect of or

defeating the claim.” A section 2-619 motion admits as true all well-pleaded facts and all

reasonable inferences that can be drawn from them. (Id.)

        The Illinois Uniform Arbitration Act, 710 ILCS 5/2(a) reads:

        On application of a party showing an agreement described in Section 1, and the
        opposing party's refusal to arbitrate, the court shall order the parties to proceed with
        arbitration, but if the opposing party denies the existence of the agreement to
        arbitrate, the court shall proceed summarily to the determination of the issue so
        raised and shall order arbitration if found for the moving party, otherwise, the
        application shall be denied.

                                            ARGUMENT

   I.       PCSHN’S CLAIMS FOR UNJUST ENRICHMENT (COUNTS I AND II) MUST
            BE DISMISSED BECAUSE THERE IS NO SEPARATE CAUSE OF ACTION
            FOR UNJUST ENRICHMENT AND THE ALLEGATIONS OF A CONTRACT
            ARE INCORPORATED.

   A. The complaint should be dismissed on a 2-619 basis because the Third Amended
      Complaint erroneously incorporates all allegations of a contract.

    The gravamen of the claim is that Midwest strictly enforced the terms of the contract and

parties fully performed the agreement to the letter. Presence desperately tries to avoid the

application of the contract since the very claim is that Midwest dared live by its terms strictly

which resulted in a good deal for Midwest and a bad deal with Presence. Every error is not


                                                   2
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                        C Page 24 of 81



compensable the parties must live with their contracts and the performance required by them. It’s

time for this case to end.

    In its TAC, Plaintiff failed to plead unjust enrichment in the alternative and continues to

incorporate by reference factual allegations related to the existence of a contract between Plaintiff,

Midwest, and JOHA. (TAC 12-25). The story cannot be told without the contract and this needs

to be dismissed now. Because Plaintiff’s unjust enrichment claim is still insufficient as a matter of

law, Count II of Plaintiff’s TAC should also be dismissed with prejudice because alter ego liability

is not an independent cause of action. See Peetoom v. Swanson, 778 N.E.2d 291, 295 (2002) (citing

In re Rehabilitation of Centaur Ins. Co., 606 N.E.2d 291 (1992), aff'd, 632 N.E.2d 1015 (1994)).

    Plaintiff will argue these Counts should be spared on the basis that they are allowed to plead

in the alternative. That is, Plaintiff says they may seek relief under a theory of unjust enrichment

as an alternative to a contract claim. They are not wrong. The problem is that Plaintiffs have not

actually pleaded in the alternative. Plaintiff knows that any contract claim fails as a matter of law

and desperately tries to plead around the contract while still alleging its existence and it governing

the parties relationship. The law doesn’t work that way and contracts between sophisticated parties

control.

   As a court has explained, pleading in the alternative in this context means that Plaintiff may

claim in Count I that “there was a contract and that it was breached by [the defendant],” and then

to claim in Count V that “there was no valid contract and that [the defendant] was unjustly

enriched.” Samuels v. Old Kent Bank, Case No. 96 C 6667, 1997 U.S. Dist. LEXIS 11485, at *38

(N.D. Ill. July 31, 1997). Here, however, Plaintiff incorporated in their unjust enrichment claim

the allegations that there is a valid contract. As such, PCSHN has not pleaded an alternative theory.




                                                  3
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15                Desc Exhibit
                                        C Page 25 of 81



Instead, it (however inadvertently) acknowledges that there is a valid contract but then assert that

Midwest was unjustly enriched by its strict compliance with the contracts terms!

   The existence of express contracts between the parties concerning the lease payments at issue

defeats any claim by Plaintiff for unjust enrichment against Midwest as a matter of law. See People

ex rel. Hartigan, 153 Ill. 2d. at 497 (plaintiff’s unjust enrichment claim was properly dismissed

where an express contract existed governing the transaction); Swedish American Hosp. Ass’n of

Rockford v. Illinois State Medical Inter-Ins. Exchange, 395 Ill. App. 3d 80, 108 (2nd Dist. 2009)

(summary judgment on the plaintiff’s unjust enrichment count was proper as a matter of law due

to the existence of a specific contract that governed the relationships of the parties)

   B. The Complaint should be dismissed on a 2-615 basis because no separate cause of
      action for unjust enrichment exists without allegations of fraud, duress, or undue
      influence.

   To state a cause of action based on a theory of unjust enrichment, a plaintiff must allege that

the defendant has unjustly retained a benefit to the plaintiff's detriment, and that defendant's

retention of the benefit violates the fundamental principles of justice, equity, and good conscience.

HPI Health Care Services, Inc. v. Mt. Vernon Hospital, 131 Ill. 2d 145, 160 (1989). However,

unjust enrichment is not a separate cause of action that, standing alone, will justify an action for

recovery. Mulligan v. QVC, Inc., 382 Ill. App. 3d 620, 631 (1st Dist. 2008). Rather, it is a condition

that may be brought about by unlawful or improper conduct as defined by law, such as fraud,

duress, or undue influence, and may be redressed by a cause of action based upon that improper

conduct. Alliance Acceptance Co. v. Yale Insurance Agency, 271 Ill. App. 3d 483, 492 (1st Dist.

1995). For a cause of action based on a theory of unjust enrichment to exist, there must be an

independent basis that establishes a duty on the part of the defendant to act and the defendant must

have failed to abide by that duty. Lewis v. Lead Industries Ass'n, Inc., 342 Ill. App. 3d 95, 105 (1st




                                                  4
Case 23-04510         Doc 20-4    Filed 10/13/23 Entered 10/13/23 17:58:15              Desc Exhibit
                                        C Page 26 of 81



Dist. 2003). A plaintiff fails to state a cause of action for unjust enrichment absent an allegation of

duty. Martis v. Grinnell Mut. Reinsurance Co., 388 Ill. App. 3d 1017, 1024-1025 (3rd Dist. 2009).

          Here, there is no assertion by PCSHN of improper conduct on the part of Midwest, such as

fraud, duress, or undue influence. All Midwest did was go by the letter of the contract.

Nevertheless, PCSHN attempts to assert a cause of action that courts have declared, standing alone,

does not justify an action for recovery. PCSHN should not be allowed to recover on a theory of

unjust enrichment where there is no allegation of improper conduct by the defendant.

    II.      THE REMAINING COUNTS SHOULD BE DISMISSED BECAUSE
             PLAINTIFF CANNOT PLEAD AN INDEPENDENT CAUSE OF ACTION FOR
             AN ALTER EGO THEORY OF LIABILITY OR FRAUDULENT TRANSFER.

          Counts II is actually a claim for an alter ego theory of liability against Dr. Pundaleeka

whereby Plaintiff alleges that JOHA was the alter ego of Midwest and should be jointly and

severally liable with Midwest for unjust enrichment. (TAC, 129-134). However, Illinois courts

have held that there is no “stand-alone” cause of action for alter ego liability. A.L. Dougherty Real

Estate Management Co., LLC., v. Su Chin Tsai, 2017 IL App (1st) 161949, 26. Thus, unless there

is a cognizable underlying cause of action pled against Midwest, Plaintiff cannot seek to impose

liability on Dr. Pundaleeka as the alter ego of Midwest. Because Plaintiff’s claim against Midwest

for unjust enrichment fails as a matter of law due to Plaintiff incorporating by reference contract

allegations into Count I, Plaintiff’s claim against JOHA in Count II for alter ego liability similarly

fails as a matter of law.




                                                  5
Case 23-04510           Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15                        Desc Exhibit
                                              C Page 27 of 81




    III.      THIS DISPUTE IS SUBJECT OF A BINDING ARBITRATION AGREEMENT
              AND ARBITRATION MUST BE COMPELLED AT LEAST TO DETERMINE
              ARBITRABILITY.

           In the course of discovery in this case Midwest first received a copy of the Professional

Services Agreement between PCSHN and JOHA. Included in this agreement was a dispute

resolution provision. Unfortunately, this did not come to light until much water was under the

bridge but now that it has been disclosed the Court should compel resolution by its terms.

Obviously, Midwest cannot waive a right it did not know it had. Now it knows it has this right and

is asserting in the first instance since it came to counsel’s attention.

           The agreement at issue here provides:

           28. . Dispute Resolution. Any dispute between the parties related to this
           Agreement ( except with respect to any disputes pertaining to fair market value
           determination, which disputes will be resolved in accordance with Section 5 hereof)
           shall first be considered by the Council, which will be established under the
           Management Services/Performance Improvement Agreement. If the dispute is not
           resolved within thirty (30) days thereafter, the senior management of each of the
           parties will meet to attempt to resolve the dispute. If the dispute is not resolved
           within thirty (30) days after being referred to the senior management teams, the
           dispute will be subject to voluntary mediation at the request of either party. If the
           dispute is not resolved within sixty (60) days of a written request for mediation, the
           dispute will be subject to binding arbitration in Aurora, Illinois, in accordance with
           the American Health Lawyers Association Alternative Dispute Resolution Service
           Rules of Procedure for Arbitration, and, to the extent of the subject matter of the
           arbitration, shall be binding not only on all parties to this Agreement, but on
           its Affiliates, to the extent that such Affiliate joins in the arbitration. Judgment
           on the award rendered by the arbitrator may be entered in any court having
           jurisdiction thereof by the Alternative Dispute Resolution Service of the American
           Health Lawyers Association. The parties shall continue to perform their obligations
           under this Agreements during the pendency of any dispute resolution proceeding.
           Reasonable costs associated with the resolution of the dispute, including attorneys'
           fees may be awarded to the prevailing party in any arbitration.

(Confidential PSA Agreement incorporated herein as Exhibit “A” PCSHN0012271)


1
 This agreement is not being filed at the time this motion is filed subject to resolving the confidentiality of the
document.


                                                            6
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15              Desc Exhibit
                                        C Page 28 of 81



   The strong policy favoring enforcement of agreements to arbitrate disputes reflected in the

Illinois Uniform Arbitration Act and United States Supreme Court and the Illinois Supreme Court

have repeatedly confirmed the Federal Arbitration Act. Defendant, PCSHN, entered into a written

Agreement with JOHA. By signing the Agreement, Plaintiff agreed to a broad mandatory

arbitration provision whereby all “Any dispute between the parties related to this Agreement... will

be subject to binding arbitration in Aurora, Illinois, in accordance with the American Health

Lawyers Association Alternative Dispute Resolution Service Rules of Procedure for Arbitration”.

The intent is clear and the parties specifically bargained for this time and cost savings of what

would otherwise be a long, fact intensive, and expensive case to litigate. There should be no

question that the claims presented are all subject to the arbitration provision.

   A. The rules invoked in the PSA specify that it is up to the arbitrator to determine
      arbitrability.

   The parties’ arbitration clause specifies disputes are American Health Lawyers Association

Alternative Dispute Resolution Service Rules of Procedure for Arbitration (“AHLA Rules”) under

its rules. Since the parties have expressly agreed to apply the AHLA Rules then the rules also

govern the question of arbitrability which require that question be answered by an arbitrator rather

than this Court. Wal-Mart Stores, Inc. v. Helferich Patent Licensing, LLC, 51 F. Supp. 3d 713,

719, 2014 U.S. Dist. LEXIS 83208, *12, 2014 WL 2795827 (N.D. Ill. 2014); see also, Imperial

Crane Sales, Inc. v. Sany Am., Inc., 2015 U.S. Dist. LEXIS 91549, *12-14, 2015 WL 4325483

(N.D. Ill. 2015) (“Absent any argument or citations to the contrary, this Court concurs with that

‘overwhelming majority.’ ‘Accordingly, the Court finds that by incorporating the AAA Rules,

including Rule 7(a), into the arbitration provision,’ the parties ‘clearly and unmistakably agreed to

have an arbitrator decide whether they agreed to arbitrate Plaintiff's disputes.’” (citations omitted).




                                                  7
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15              Desc Exhibit
                                        C Page 29 of 81



   The AHLA Rules incorporated in the agreement drafted by Plaintiff states, with respect to

jurisdiction, that “If the filing party (Claimant) produces a document that arguably requires

arbitration of the claim under the Rules, the Administrator will appoint an arbitrator pursuant to

the process described in this Section. After receiving appropriate evidence and argument, the

arbitrator, once appointed, shall have the power to determine his or her jurisdiction and any

issues of arbitrability.” (Rule 3.1, AHLA Rules attached hereto as Exhibit “B”)

   The AHLA Rules go on to state:

       (a) ARBITRABILITY. Once appointed, the arbitrator may issue a preliminary
       award that addresses whether the arbitration clause is valid, and whether it applies
       to the claims or counterclaims raised by the parties.

(Rule 5.2, Rules attached hereto as Exhibit “B”)

   Multiple courts have held that when the rules provide its for the arbitrator to decide arbitrability

the case must first go to arbitration to resolve the issue. [W]here the parties agree to arbitration

pursuant to the rules of the American Arbitration Association (“AAA”), the parties incorporate the

AAA’s rules into the arbitration agreement.” Dunston v. R.H. Love Galleries, Inc., No. 07 CV

5113, 2008 U.S. Dist. LEXIS 44118, 2008 WL 2339564, at *2 (N.D. Ill. Jun. 4, 2008) (citing

Commonwealth Edison Co. v. Gulf Oil Corp., 541 F.2d 1263, 1272 (7th Cir. 1976)). While neither

the Supreme Court nor the Seventh Circuit have resolved whether incorporation of the AAA Rules

constitutes “clear and unmistakable” evidence that the parties intended the question of arbitrability

to be decided by an arbitrator, other circuits have drawn this conclusion. See Fallo v. High-Tech

Inst., 559 F.3d 874, 878 (8th Cir. 2009) (“Consequently, we conclude that the arbitration

provision's incorporation of the AAA Rules . . . constitutes a clear and unmistakable expression of

the parties’ intent to leave the question of arbitrability to an arbitrator.”); Qualcomm Inc. v. Nokia

Corp., 466 F.3d 1366, 1373 (Fed. Cir. 2006); Contec Corp. v. Remote Solution, Co., 398 F.3d 205,




                                                  8
Case 23-04510        Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15               Desc Exhibit
                                         C Page 30 of 81



208 (2d Cir. 2005); Terminix Int'l Co. v. Palmer Ranch Ltd. P'ship, 432 F.3d 1327, 1332 (11th Cir.

2005); see also Haire v. Smith, Currie & Hancock LLP, 925 F. Supp. 2d 126, 132 (D. D.C. 2013)

(collecting federal appellate and district court cases). Additionally, other courts in this Illinois have

agreed with the various appellate courts in other circuits and come to the same conclusion. See

Corrigan v. Domestic Linen Supply Co., No. 12 C 0575, 2012 U.S. Dist. LEXIS 100961, 2012 WL

2977262, at *2 (N.D. Ill. July 20, 2012) (“[W]hen parties agree in a valid arbitration agreement

that the AAA’s rules apply, an arbitrator should decide the scope of arbitrability.” (citing Bayer

CropScience, Inc. v. Limagrain Genetics Corp., Inc., No. 04 C 5829, 2004 U.S. Dist. LEXIS

25070, 2004 WL 2931284, at *4 (N.D. Ill. Dec. 9, 2004))); Yellow Cab Affiliation, Inc. v. N.H.

Ins. Co., No. 10-cv-6896, 2011 U.S. Dist. LEXIS 8304, 2011 WL 307617, at *4 (N.D. Ill. Jan. 28,

2011)(“[T]he Court finds that by specifically incorporating the Commercial Arbitration Rules of

the American Arbitration Association into their agreement, the parties clearly and unmistakably

evidenced their intention to grant the arbitrator the authority to determine whether their dispute is

arbitrable.”); see also Price v. NCR Corp., 908 F. Supp. 2d 935, 945 (N.D. Ill. 2012) (holding that

by adopting the AAA Rules in their arbitration agreement, the parties agreed that an arbitrator

would determine whether the agreement authorized class arbitration).

    Accordingly, by incorporating the AHLA Rules, including Rule 5.2, into the arbitration

provision, Plaintiff clearly and unmistakably agreed to have an arbitrator decide whether the claims

presented here are arbitrable thus this action must be dismissed in favor of arbitration.

    B. The FAA and UAA favor enforcement of arbitration agreements.

    “[T]he decision whether to compel arbitration is not discretionary. Where there is a valid

arbitration agreement and the parties’ dispute falls within the scope of that agreement, arbitration

is mandatory and the trial court must compel it.” LRN Holding, Inc. v. Windlake Capital Advisors,




                                                   9
Case 23-04510       Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                        C Page 31 of 81



LLC, 409 Ill. App. 3d 1025, 1028 (2011). When presented with a motion to stay litigation pending

arbitration pursuant to the FAA, “the court’s inquiry is limited to whether an agreement to arbitrate

exists and whether it encompasses the issue in dispute.” Jensen v. Quik International, 213 Ill. 2d

119, 123 (2004). If “the court finds that an agreement to arbitrate exists and the issue presented is

within the scope of that agreement, a stay is mandatory.” Id.

   The FAA establishes that a written agreement to arbitrate contained in any contract evidencing

a transaction involving interstate commerce is valid, irrevocable, and enforceable absent grounds

for revocation of the contract. 9 U.S.C. § 2; see Mitsubishi Motors Corp. v. Soler Chrysler-

Plymouth, 473 U.S. 614, 625 (1985). In determining whether a matter must be submitted to

arbitration under the FAA, courts must determine (1) whether a valid agreement to arbitrate exists;

and (2) whether the dispute falls within the substantive scope of the agreement. Id. at 626- 28. Any

doubts concerning the scope of arbitrable issues should be resolved in favor of arbitration.

Id. at 626. The party resisting arbitration bears the burden of showing that the arbitration agreement

is invalid or does not encompass the claims at issue. Green Tree Fin. Corp.-Ala. v. Randolph, 531

U.S. 79, 91-92 (2000).

   The Illinois General Assembly shares the same favorable view of arbitration agreements and

their enforcement, as evidenced by its enactment of the Uniform Arbitration Act in 1961. Melena

v. Anheuser-Busch, Inc., 219 Ill. 2d 135 (Ill. 2006). The UAA provides, in relevant part, that “[a]

written agreement to submit any existing controversy to arbitration or a provision in a written

contract to submit to arbitration any controversy thereafter arising between the parties is valid,

enforceable, and irrevocable save such grounds as exist for the revocation of any contract[.]” 710

ILCS 5/1 § 1. The Supreme Court of Illinois has declared that the “public policy in Illinois favors

arbitration.” Phoenix v. Rosen, 242 Ill. 2d 48, 949 N.E.2d 639, 647 (Ill. 2011). The Illinois Supreme




                                                 10
Case 23-04510        Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15            Desc Exhibit
                                         C Page 32 of 81



Court recognized that the basic intent of the UAA is “to discourage litigation and foster the

voluntary resolution of disputes in a forum created, controlled and administered by the agreement

to arbitrate.” Melena, 847 N.E.2d at 111. “The [Illinois Uniform Arbitration] Act embodies a

legislative policy favoring enforcement of agreements to arbitrate future disputes. Accordingly, it

empowers courts, upon application of a party, to compel or stay arbitration, or to stay court action

pending arbitration.” Donaldson, Lufkin & Jenrette Futures, Inc. v. Barr, 124 Ill. 2d 435, 443 (Ill.

1988).


   C. A valid and enforceable arbitration agreement exists.

         In determining whether parties have agreed to arbitrate, “courts generally . . . should apply

ordinary state-law principles that govern the formation of contracts.” First Options of Chicago,

Inc. v Kaplan, 514 U.S. 938, 944 (1995). The basic elements of any contract formation are offer,

acceptance, and consideration. See Duldulao v. St. Mary of Nazareth Hospital Center, 115 Ill. 2d

482, 490 (1987). Under Illinois law, a contract provision is part of the parties’ bargain when it is

“bargained for, brought to the purchaser’s attention,” or conspicuous. Frank’s Maintenance &

Engineering, Inc. v. C.A. Roberts Co., 86 Ill. App. 3d 980, 990 (1980). There is no doubt that the

arbitration provision was conspicuously printed in the Agreement and drafted by Plaintiff and

broadly covers all of its dealings with JOHA and its affiliates.

         By drafting the Agreement including an arbitration provision, Plaintiff acknowledged that

it was giving up the right to litigate claims in a court of law and instead agreed that all disputes

were subject to binding arbitration. There can be no question that Plaintiffs entered into a binding

and enforceable arbitration agreement, which is subject to the FAA and precludes litigation of their

claims in this Court.




                                                  11
Case 23-04510        Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15               Desc Exhibit
                                        C Page 33 of 81



    D. The Claims asserted in Plaintiff’s Third Amended Complaint are subject to
       arbitration.

        A plain reading of the Complaint together with the terms of the arbitration provision makes

it clear that the parties’ dispute is subject to arbitration. Once it is determined that an agreement to

arbitrate is valid, “an order to arbitrate the particular grievance should not be denied unless it may

be said with positive assurance that the arbitration clause is not susceptible of an interpretation that

covers the asserted dispute.” AT&T Techs. v. Communs. Workers of Am., 475 U.S. 643, 650 (1986);

Miller v. Flume, 139 F.3d 1130, 1136 (7th Cir. 1998) (any doubts concerning the scope of an

arbitration clause and the issues arbitrable thereunder should be resolved in favor of arbitration).

The arbitration provision in the Agreement encompasses all disputes stemming from the

relationship between the JOHA and PCSHN. There is no question that Plaintiff’s claims at least

relate to the PSA Agreement and this question of whether it relates sufficiently is for the arbitrator

and not the Court.

        Further, when construing arbitration language similar to that involved in this matter, courts

have held that provisions encompassing any dispute “arising out of” or “related to this agreement”

must be broadly construed. See Guar. Trust Life Ins. Co. v. Platinum Supplemental Ins., Inc., 2016

IL App (1st) 161612, *7 (holding that language in the arbitration provision of “arising out of” or

“related to this agreement” make the provision a generic arbitration clause that must be broadly

construed); Keeley & Sons, Inc. v. Zurich American Insurance Co., 409 Ill. App. 3d 515, 520

(2011). Like the arbitration provision at issue here, where the clause in question is broad, there is

a heightened presumption of arbitrability such that “[i]n the absence of any express provision

excluding a particular grievance from arbitration, we think only the most forceful evidence of a

purpose to exclude the claim from arbitration can prevail.” AT&T Techs., 475 U.S. at 650.




                                                  12
Case 23-04510       Doc 20-4       Filed 10/13/23 Entered 10/13/23 17:58:15              Desc Exhibit
                                         C Page 34 of 81



       The arbitration provision at issue contains the language “arising out of” or “related to this

agreement,” making the provision a generic arbitration clause that must be broadly construed. As

such, Plaintiff’s claim against Defendants is subject to arbitration and Defendants are entitled to

an Order compelling arbitration.

       Plaintiff is equitably estopped from bringing a claim against Midwest and Pundaleeka

outside of arbitration despite the fact that Pundaleeka and Midwest were not parties to the PSA.

The law is clear as stated in Peach v. CIM Ins. Corp., 352 Ill. App. 3d 691, 696-697, 816 N.E.2d

668, 673 (5th Dist. 2004).

       Existing case law demonstrates that equitable estoppel allows a nonsignatory to
       compel arbitration in two different circumstances. First, equitable estoppel applies
       when the signatory to a written agreement containing an arbitration clause 'must
       rely on the terms of the written agreement in asserting [its] claims' against the
       nonsignatory. When each of a signatory's claims against a nonsignatory 'makes
       reference to' or 'presumes the existence of' the written agreement, the signatory's
       claims 'arise[] out of and relate[] directly to the [written] agreement,' and arbitration
       is appropriate. Second, 'application of equitable estoppel is warranted … when the
       signatory [to the contract containing the arbitration clause] raises allegations of …
       substantially interdependent and concerted misconduct by both the nonsignatory
       and one or more of the signatories to the contract.' Otherwise, 'the arbitration
       proceedings [between the two signatories] would be rendered meaningless and the
       federal policy in favor of arbitration effectively thwarted.'

       Both rational for equitable are implicated here because the claims all arise from the

contract and are in reality between the signatory parties.

       Furthermore, the claims seem to allege an agency relationship between the defendants thus

arbitration should be compelled. See Caligiuri v. First Colony Life Insurance Co., 318 Ill. App. 3d

793, 800, 742 N.E.2d 750, 756 (2000).




                                                  13
Case 23-04510        Doc 20-4     Filed 10/13/23 Entered 10/13/23 17:58:15             Desc Exhibit
                                        C Page 35 of 81



                                          CONCLUSION

       PCSHN’s claims cannot be salvaged with amendment. A plaintiff should be given leave to

replead unless doing so would be futile. Thompson v. N.J., 2016 IL App (1st) 142918, ¶ 65. Where

no set of facts can be alleged by plaintiff to correct a defect, dismissal with prejudice is proper.

Id.; see also Dunn v. Baltimore & O. R. Co., 127 Ill. 2d 350, 362 (1989). Here, there is no set of

facts that can overcome the fact that PCSHN made voluntary rental payments as required by the

Lease for nearly five years. They cannot rewrite the contract with this claim. Accordingly,

PCSHN’s complaint should be dismissed with prejudice or in the alternative it should be referred

to arbitration as PCSHN agreed to.

       WHEREFORE, Defendants, MIDWEST LEASING OF ILLINOIS, LLC and SARODE

PUNDALEEKA, respectfully requests that its Motion to Dismiss Plaintiff’s Complaint be granted

with prejudice and for any and all other or further relief that this Court deems just and proper under

the circumstances.

                                                      Respectfully submitted,

                                                      MIDWEST LEASING OF ILLINOIS,
                                                      LLC and SARODE PUNDALEEKA
                                                      Defendants,

                                                      By: __/s/ Alexander Loftus
                                                             One of Its Attorneys

Alexander Loftus, Esq.
LOFTUS & EISENBERG, LTD.
161 N. Clark, Suite 1600
Chicago, Illinois 60601
T: 312.899-6625
C: 312.772.5396
alex@loftusandeisenberg.com

Dated: January 13, 2022




                                                 14
Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 36 of 81




                           EXHIBIT 2
Case 23-04510    Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                  C Page 37 of 81



                IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE NORTHERN DISTRICT OF ILLINOIS
                          EASTERN DIVISION




  Midwest Leasing of Illinois,                   )   No. 23 B 04510
                                                 )   Chicago, Illinois
                                                 )   10:00 a.m.
                             Debtor.             )   June 14, 2023



                TRANSCRIPT OF PROCEEDINGS BEFORE THE
                       HONORABLE JANET S. BAER



  APPEARANCES:
  Chapter 7 Trustee:                       Ms. Deborah Ebner;
  For the Debtor:                          Mr. Lester Ottenheimer;
  For Presence Central &
  Suburban Hospitals
  Network:                                 Mr. Sven Nylen;




  Court Reporter:                          Amy Doolin, CSR, RPR
                                           U.S. Courthouse
                                           219 South Dearborn
                                           Room 661
                                           Chicago, IL 60604.
     Case 23-04510    Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                       C Page 38 of 81
                                                                                 2

1                            THE CLERK:        Midwest Leasing of
2      Illinois, LLC.
3                            MR. OTTENHEIMER:          Good morning, Your
4      Honor.        Les Ottenheimer on behalf of the debtor.
5                            MR. NYLEN:        Good morning, Your Honor.
6      Sven Nylen on behalf of Presence Central & Suburban
7      Hospitals Network.
8                            MS. EBNER:        Good morning, Judge.
9      Debbie Ebner, trustee.
10                           THE COURT:        Good morning.        I have
11     before me a motion to dismiss the debtor filed by
12     Presence Central & Suburban Hospitals, which appears
13     to be the only creditor of merit in this case.                        And I
14     did see a notice of objection was filed by the
15     debtor.        I'm going to just turn to Ms. Ebner first.
16                           Ms. Ebner, what's your position on
17     this matter?
18                           MS. EBNER:        Strangely, I support the
19     motion to dismiss.            I don't see a basis for this
20     bankruptcy filing.            It's really a -- after doing some
21     digging, it really is a one-creditor case.                      I had
22     extensive discussions with the creditor, Presence,
23     about using the bankruptcy forum to administer the
24     estate.        But, in essence, by continuing the
25     bankruptcy, the only thing that would be accomplished
     Case 23-04510    Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                       C Page 39 of 81
                                                                                 3

1      is to create an administrative creditor, i.e., me,
2      and my attorney, in front of the -- with priority
3      over the creditor who is seeking to dismiss the case.
4      So it really is kind of pointless.
5                            THE COURT:        I appreciate that, Ms.
6      Ebner.        I actually asked you that because I thought
7      that might be what you said because that was my
8      conclusion, too.
9                            Mr. Ottenheimer, I don't see what your
10     response could be.
11                           MR. OTTENHEIMER:          Well, when I read
12     the motion, the motion seemed to indicate that the
13     case should be dismissed because there's no assets
14     for creditors and because they want to pursue a
15     co-debtor.        And I'm -- Your Honor knows there's been
16     many, many cases that are filed that are no assets.
17     And there's nothing that precludes a creditor from
18     going after the co-debtor.
19                           THE COURT:        You know, I don't really
20     care at this point about the co-debtor.                     I mean, the
21     fact of the matter is that I've got a case that the
22     one creditor who is really concerned here doesn't
23     believe that it needs a bankruptcy estate to
24     administer the assets to make sure they don't go
25     south of whatever it happens to be, so I just don't
     Case 23-04510    Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                       C Page 40 of 81
                                                                                 4

1      see why we need a bankruptcy case.
2                            MR. OTTENHEIMER:          Judge, I'd like to
3      talk to my client and maybe not oppose the motion if
4      I could get a little bit of time to do that.
5                            THE COURT:        All right.       I'll set a
6      response date for you.             How much time do you want?
7                            MR. OTTENHEIMER:          I need 28 days, Your
8      Honor.        I've got two trials coming up in the next
9      three weeks.
10                           THE COURT:        Okay.     So that will take
11     you to July 12.
12                           Ms. Ebner, I'll give you the
13     opportunity or -- I'm sorry, Mr. Nylen really is the
14     one I would expect -- I'll give you an opportunity to
15     file a reply if you need to.                You kind of know my
16     position on this issue.              And I will be interested to
17     see if Mr. Ottenheimer comes up with something we
18     don't know about that would convince me otherwise.
19                           So I'll give you the time to file the
20     reply, but I'm not requiring you to do so.                      But I
21     will set 14 days to file a reply, which will take us
22     to the 26th of July.             And I'll put this on for status
23     and ruling -- assuming Mr. Ottenheimer is still going
24     to pursue this matter and oppose the motion, I'll put
25     it on for August 2nd at 10:00 o'clock.
     Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                      C Page 41 of 81
                                                                                  5

1                           MR. OTTENHEIMER:          Thank you, Your
2      Honor.
3                           MS. EBNER:        Your Honor, if I may?            If
4      Mr. Ottenheimer ultimately agrees that this case
5      should be dismissed, if he could notify everyone and
6      Your Honor also so we could avoid another use of
7      judicial time.
8                           MR. OTTENHEIMER:          Absolutely.          That
9      makes perfect sense.
10                          THE COURT:        Yeah, I would greatly
11     appreciate that, especially if I don't have to read
12     briefs I don't otherwise have to read.
13                          MR. OTTENHEIMER:          Correctest.
14                          THE COURT:        Okay.     Thank you.
15                          (Which were all the proceedings had in
16                          the above-entitled cause, June 14,
17                          2023, 10:00 a.m.)
18 I, AMY B. DOOLIN, CSR, RPR, DO HEREBY CERTIFY
   THAT THE FOREGOING IS A TRUE AND ACCURATE
19 TRANSCRIPT OF PROCEEDINGS HAD IN THE ABOVE-
   ENTITLED CAUSE. /S/
20
21
22
23
24
25
Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 42 of 81




                           EXHIBIT 3
    Case 23-04510            Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Cisse v. 17161 Alva Road Owners Association, Not Reported in Fed. Supp. (2019)
                                                                                                            Desc Exhibit
                                                    C Page 43 of 81

                                                                   related claims that were subject to the court's subject matter
                    2019 WL 6118442                                jurisdiction. Id.
      Only the Westlaw citation is currently available.
       United States District Court, S.D. California.              In fact, many district courts have held that a claim for
                                                                   violation of a bankruptcy automatic stay under       11 U.S.C.
              Mamady B. CISSE, Plaintiff,                          § 362 does not provide a district court with subject matter
                            v.                                     jurisdiction. Federal courts have subject matter jurisdiction
     17161 ALVA ROAD OWNERS ASSOCIATION,                           over “all civil actions arising under the Constitution, laws, or
          a nonprofit mutual benefit corporation,                  treaties of the United States.” 28 U.S.C. § 1331. However,
       Community Legal Advisors, Inc., a California                “[a] Federal District Court does not have original jurisdiction
       corporation, Audrey C. Smith, an individual;                over bankruptcy matters.” Park v. Nat'l City Bank of Indiana,
      and Does 1 through 100, inclusive, Defendants.               Case No. CV 14-1354 SJO(PJWx), 2014 WL 12564360, at
                                                                   *1 (C.D. Cal. Mar. 19, 2014) (quoting Radke v. Holbrook,
               Case No.: 19cv2163-GPC(MSB)                         No. CV 09-01355 GAF, 2010 WL 9010982, at *7 (C.D. Cal.
                              |                                    May 11, 2010) (citations omitted)). Instead, the district court
                     Signed 11/18/2019                             has jurisdiction over an appeal of a final judgment or order of

Attorneys and Law Firms                                            the bankruptcy court. See     28 U.S.C. § 158(a)(1) and (3).
                                                                   A claim for violation of the automatic stay “must be brought
Mamady B. Cisse, San Diego, CA, pro se.                            in the bankruptcy court, rather than in the district court,
                                                                   which only has appellate jurisdiction over bankruptcy case.”
Mark Allen Wilson, Law Offices of Michael Spilger, San
                                                                      Eastern Equipment and Servs. Corp. v. Factory Point Nat'l
Diego, CA, for Defendant.
                                                                   Bank, Bennington, 236 F.3d 117, 121 (2d Cir. 2001); see e.g.,
Audrey C. Smith, San Diego, CA, pro se.                            MSR Exploration, Ltd. v. Meridian Oil, Inc., 74 F.3d 914, 916
                                                                   (9th Cir. 1996) (claim arising from bankruptcy proceeding
                                                                   must be “brought in the bankruptcy court itself, and not as a
         ORDER SUA SPONTE REMANDING                                separate action in the district court”); see also Radke, 2010
             CASE TO STATE COURT                                   WL 9010982, at *7 (“Plaintiff's allegations concerning the
                                                                   violation of the automatic stay in a bankruptcy proceeding
Hon. Gonzalo P. Curiel, United States District Judge               must be raised in the Bankruptcy Court ... A Federal District
                                                                   Court does not have original jurisdiction over bankruptcy
 *1 The case was filed in the San Diego Superior Court             matters.”); Guancione v. Wachovia Mortg. Corp., No. 5:10–
on November 28, 2018 with an amended complaint filed on            CV–3166 JF (HRL), 2010 WL 2991728, at *3 (N.D. Cal.
October 8, 2019. (Dkt. Nos. 1, 1-2 Compl.) On November             July 28, 2010) (“to the extent that Plaintiff could establish
12, 2019, Defendant Community Legal Advisors, Inc., filed          a violation of the automatic stay, their remedy lies within
a notice of removal alleging that the Court has subject
matter jurisdiction pursuant to federal question jurisdiction,     the jurisdiction of the bankruptcy court”);  Zimmerman v.
28 U.S.C. § 1331. (Dkt. No. 1.)                                    Bellows, 988 F. Supp. 2d 1026, 1034 (D. Minn. 2013) (“Count
                                                                   V alleges that Defendants violated the automatic stay, for
The state court first amended complaint alleges causes of          which Zimmerman seeks relief under           11 U.S.C. § 362(k).
action to quiet title to real property, wrongful foreclosure and   Though no party has raised the issue, the Court determines
violation of U.S. bankruptcy automatic stay,         11 U.S.C.     that it lacks jurisdiction to consider this claim.”); Heghmann
§ 362(a). (Dkt. No. 1-2 at 10.) In its notice of removal,          v. Town of Rye, 326 F. Supp. 2d 227, 232–33 (D.N.H.
Defendant relies on Williams v. PFK Funding Servs., Inc.,          2004) (“Defendants argue that this court lacks subject matter
Case NO. C18-48 RSM, 2018 WL 3328398, at * 3 (W.D.                 jurisdiction over plaintiff's claims arising under  11 U.S.C.
Wash. 2018) to support the Court's subject matter jurisdiction.    § 362(h) for willful violation of the automatic stay because
However, in Williams, the Court did not specifically hold that     all such claims must be brought in the bankruptcy court. The
it had jurisdiction over violations of the bankruptcy automatic    weight of the authority supports the defendants' argument.”).
stay but its ruling was influenced by other non-bankruptcy


                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             1
    Case 23-04510          Doc 20-4       Filed 10/13/23 Entered 10/13/23 17:58:15
Cisse v. 17161 Alva Road Owners Association, Not Reported in Fed. Supp. (2019)
                                                                                                           Desc Exhibit
                                                C Page 44 of 81

                                                                  IT IS SO ORDERED.
*2 Accordingly, because the claim for violation of U.S.
bankruptcy automatic stay,       11 U.S.C. § 362(a) does
not support this Court's jurisdiction, the Court sua sponte       All Citations
REMANDS the case to state court for lack of subject matter
jurisdiction.                                                     Not Reported in Fed. Supp., 2019 WL 6118442



End of Document                                               © 2023 Thomson Reuters. No claim to original U.S. Government Works.




              © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                              2
Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 45 of 81




                           EXHIBIT 4
    Case 23-04510            Doc 20-4
In re Den Beste, Not Reported in B.R. (2012)
                                              Filed 10/13/23 Entered 10/13/23 17:58:15                       Desc Exhibit
                                                    C Page 46 of 81

                                                                   the state court awarded an additional $4,150.00. On January
                   2012 WL 2061402                                 14, 2011, Mazzaferri recorded abstracts of judgment. Den
      Only the Westlaw citation is currently available.            Beste then appealed the award, again without leave of this
             United States Bankruptcy Court,                       court. The state appellate court subsequently affirmed denial
                     N.D. California.                              of the motion and declared Den Beste a vexatious litigant,
                                                                   but vacated and remanded the award of fees and costs on
       In re Paul and Melody Den BESTE, Debtor(s).                 procedural grounds. Mazzaferri then released her judgment
                Paul Den Beste, Plaintiff(s),                      liens.
                            v.
                                                                   What is certain is that Den Beste violated the automatic stay
            Alex Harrington, et al., Defendant(s).
                                                                   first. Section 362(a)(1) operates as a stay, applicable to all
                  Bankruptcy No. 10–13558.                         entities, of the continuation of an action against the debtor
                              |                                    that was commenced before the bankruptcy. A debtor who
                   Adversary No. 11–1298.                          is in bankruptcy violates the automatic stay when he is the
                              |                                    defendant in a state court action and takes affirmative action in
                        June 6, 2012.                              that action, including prosecuting an appeal, without leave of
                                                                   the bankruptcy court.   Ingersoll–Rand Fin. Corp. v. Miller
Attorneys and Law Firms
                                                                   Min. Co., 817 F.2d 1424, 1426 (9th Cir.1987).
James P. Chandler, Law Offices of James P. Chandler,
Sonoma, CA, for Debtor.                                            Having initiated improper action, Den Beste cannot complain
                                                                   that Mazzaferri defended herself.        In re Way, 229 B.R.
Paul Den Beste, Cloverdale, CA, pro se.
                                                                                                 1
                                                                   11, 13 (9th Cir. BAP1998). Equitable defenses, including
Russell Stanaland, Lerner, Veit and Stanaland LLP, San             unclean hands and judicial estoppel, may be raised by persons
Francisco, CA, for Defendants.
                                                                   accused of violating the automatic stay.          Employment
Mansuetto Anthony Lenci, Kansas City, MO, pro se.                  Development Dept. v. Bertuccio, 2011 WL 1158022, * 10
                                                                   (N.D.Cal.2011); Sole Survivor Corp. v. Buxbaum, 2009 WL
                                                                   210471, *8 (C.D.Cal 2009); In re Andrada Financing, LLC,
                                                                   2011 WL 3300983,*5 (9th Cir.BAP2011). The court finds that
     Memorandum on Motion for Summary Judgment
                                                                   Den Beste is barred from seeking damages in this case by the
ALAN JAROSLOVSKY, United States Bankruptcy Judge.                  doctrine of unclean hands because he violated the automatic
                                                                   stay himself, and by judicial estoppel because his actions in
 *1 Plaintiff Paul Den Beste filed his Chapter 13 petition on      the state court were inconsistent with the existence of a stay.
September 15, 2010, and his case was converted to Chapter 7
on October 22, 2010. The automatic stay remained in effect         1       The court reminds all parties that it has the power
for about a year and a half due to a pending objection to Den
                                                                           to annul the automatic stay, thereby making valid
Beste's discharge, which was ultimately sustained. Until the
                                                                           actions taken in technical violation of the stay.
court put a stop to it, Den Beste used the automatic stay as a
                                                                           Nobody has made such a motion, but annulment
club, filing five adversary proceedings for alleged violations
                                                                           may be appropriate under these circumstances. See
of the automatic stay. This is one of those actions. Defendants,
who are plaintiffs in a state court lawsuit against Den Beste,                  In re Myers, 491 F.3d 120, 127 (3rd Cir.2007).
seek summary judgment.                                             Moreover, an award of attorneys' fees imposed as a sanction
                                                                   for frivolous conduct in litigation is not subject to the
On October 29, 2010, in a state court action in which              automatic stay even if private parties are the beneficiaries of
he was a defendant, and without leave of this court, Den
                                                                   the award.      In re Berg, 230 F.3d 1165, 1168 (9th Cir.2000).
Beste filed and served a motion to strike the complaint. On
December 10, 2010, the state court denied the motion and,
                                                                   For the foregoing reasons, the court will grant summary
finding it frivolous, awarded the plaintiff in that case, Edith
                                                                   judgment in favor of defendants and this adversary
Mazzaferri, $11,150.00 in fees and costs. On January 7, 2011,


                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                              1
    Case 23-04510         Doc 20-4       Filed 10/13/23 Entered 10/13/23 17:58:15
In re Den Beste, Not Reported in B.R. (2012)
                                                                                                        Desc Exhibit
                                               C Page 47 of 81

proceeding will be dismissed with prejudice. Counsel for
defendants shall submit a form of order granting their         All Citations
motion for summary judgment and denying Den Beste's
countermotion, and a form of judgment dismissing this          Not Reported in B.R., 2012 WL 2061402
adversary proceeding.

End of Document                                            © 2023 Thomson Reuters. No claim to original U.S. Government Works.




              © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                           2
Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 48 of 81




                           EXHIBIT 5
    Case 23-04510           Doc 20-4
In re Mack, Not Reported in F.Supp.2d (2007)
                                            Filed 10/13/23 Entered 10/13/23 17:58:15                    Desc Exhibit
                                                  C Page 49 of 81

                                                                for Relief from the Automatic Stay under           11 U.S.C.
                    2007 WL 1222575                             Section 362. (Doc. No. 1, Doc. No. 1-2).
      Only the Westlaw citation is currently available.
        United States District Court, M.D. Florida,             Mack, a Florida resident, operates health clinics in Kentucky.
                    Orlando Division.                           (Doc. No. 3-3, p. 3, l.12-21). Appellees include multiple
                                                                insurance companies that are suing Mack in the United
             In re Gregory S. MACK, Debtor.                     States District Court for the Eastern District of Kentucky
               Gregory S. Mack, Appellant,
                                                                (“Kentucky Case”) for submitting fraudulent claims. 1 (Doc.
                            v.
                                                                No. 3-8).
   Gene Chambers, Grange Mutual Casualty Co., Grange
      Indemnity Co., Trustgard Insurance Co., Allstate          1
                                                                       The Kentucky case is styled as Grange Mutual
  Insurance Co., Liberty Mutual Insurance Co., Appellees.
                                                                       Casualty Company, et al. v. Mack, et al.,
                  No. 6:06-cv-1782-Orl-19.                             Case No. 3:02-cv-110-JMH. (Doc. No. 3-8).
                              |                                        Appellees include Grange Mutual Casualty
                       April 24, 2007.                                 Company, Grange Indemnity Insurance Company,
                                                                       and Trustgard Insurance Company (collectively
Attorneys and Law Firms                                                “Grange”) and Allstate Insurance Company and
                                                                       Liberty Mutual Insurance Company (collectively
Jonathan B. Alper, Jonathan B. Alper, PA, Heathrow, FL, for            “Allstate/Liberty”). The underlying Bankruptcy
Debtor.                                                                Court Order addressed the arguments of all
                                                                       Appellees for vacating the automatic stay together.
                                                                       (See Doc. No. 1-2). The Court finds that the
                         ORDER                                         positions of Grange and Allstate/Liberty are
                                                                       sufficiently similar to warrant analyzing their
PATRICIA C. FAWSETT, Chief United States District Judge.               arguments on appeal together. (Compare Doc. No.
                                                                       34 with Doc. No. 35). Unless otherwise noted
*1 This case comes before the Court on the following:
                                                                       referenced to “Appellees” includes both Grange
  1. Appellant-Debtor Gregory Mack's Notice of Appeal                  and Allstate/Liberty.
     (Doc. No. 1, filed Nov. 29, 2007);                         The Kentucky Case involves claims under the Racketeering

  2. Appellant-Debtor Gregory Mack's Initial Brief (Doc. No.    Influenced and Corrupt Organizations Act (“RICO”),       18
     26, filed Jan. 5, 2005);                                   U.S.C. Section 1961 et seq., and Florida and Kentucky state
                                                                law. (Doc. No. 3-13). On October 21, 2005, the Kentucky
  3. Brief of Appellees, Grange Mutual Casualty Company,        District Court issued an Order granting Appellees' motion to
     Grange Indemnity Insurance Company, and Trustgard          compel discovery and imposing sanctions against Mack and
     Insurance Company (Doc. No. 34, filed Feb. 4, 2007);       his co-defendants. (Doc. No. 3-28). The Kentucky District
                                                                Court found that Mack and his co-defendants acted in bad
  4. Appellees Brief of Allstate and Liberty (Doc. No. 35,
     filed Feb. 5, 2007); and                                   faith and willfully failed to comply with court orders. 2 (Id.
                                                                at p. 18). Therefore, the Kentucky District Court struck their
  5. Appellant-Debtor Gregory Mack's Reply Brief (Doc. No.      answers and entered a default against them. (Id.) On February
     38, filed Feb. 21, 2007).                                  8, 2006, before a final default judgment was entered in the
                                                                Kentucky Case, Mack filed a voluntary petition for Chapter
                                                                7 bankruptcy. (Doc. No. 2-2). Appellees have unsecured,
                                                                nonpriority claims against Mack in the bankruptcy case. (Id.
                       Background
                                                                at pp. 22, 26). Pursuant to   11 U.S.C. Section 362(a),
Appellant-Debtor Gregory Mack (“Mack”) appeals an Order         Mack's petition for bankruptcy automatically stayed the
of the United States Bankruptcy Court for the Middle District   Kentucky Case. Appellees moved for relief from the stay in
of Florida (“Bankruptcy Court”) granting Appellees Motion



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                           1
    Case 23-04510            Doc 20-4
In re Mack, Not Reported in F.Supp.2d (2007)
                                              Filed 10/13/23 Entered 10/13/23 17:58:15                       Desc Exhibit
                                                    C Page 50 of 81

order to pursue the claims in the Kentucky Case. (See Doc.          *2 Mack appealed the Bankruptcy Court's Order, asserting
No. 2-3, Doc. No. 2-10, Doc. No. 2-18).                            four issues. (Doc. No. 1, Doc. No. 1-4). Mack asserts that
                                                                   the Bankruptcy Court erred in: (1) considering his failure to
2                                                                  provide discovery and his “bad faith” in the Kentucky Case
       The Order in the Kentucky Case specifically
                                                                   as a basis for granting relief from the stay in the instant
       stated that striking the answer and entering a
                                                                   case; (2) finding that the prejudice to Appellees in denying
       default was “the only sanction that is adequate
                                                                   relief from the stay outweighed prejudice to him by granting
       in light of the wilful, prejudicial, and repeated
                                                                   relief; (3) finding that relief from stay would not prejudice the
       obstruction ... and their repeated disregard of the
                                                                   bankruptcy estate and other creditors; and (4) abstaining from
       Court's orders.” (Doc. No. 3-28, p. 18).
                                                                   hearing Appellees' claims against him. (Doc. No. 1-4).
On June 14, 2006 the Bankruptcy Court held an evidentiary
hearing on Appellees' Motions. (Doc. No. 1-2, p. 1).
The Bankruptcy Court found that Mack “stepped into this
bankruptcy case with unclean hands ... [because his] primary                            Standard of Review
purposes in filing this bankruptcy case, based upon the
                                                                   The District Court has jurisdiction to hear appeals from final
timing and the circumstances of the filing, was to frustrate
the [Appellees] and delay the Kentucky Litigation.” (Doc.          orders of the Bankruptcy Court under        28 U.S.C. Section
No. 1-2, p. 3-4). The Bankruptcy Court also noted that the         158(a). An order granting or denying relief from an automatic
Kentucky District Court found that Mack had acted in bad           stay is considered final and is reviewable on appeal for abuse
faith in that case. (Id. at pp. 3, 7). Thus, the Bankruptcy        of discretion. In re Dixie Broad., Inc., 871 F.2d 1023, 1026
Court concluded that “[e]quity compel[ed] granting relief          (11th Cir.1989). The bankruptcy court's decision to abstain
from the stay ... [because Mack], due to his lack of good
faith and unclean hands, is not entitled to the benefits of the    under     28 U.S.C. Section 1334(c)(1) is also appealable and
automatic stay....” (Id. at p. 7). Additionally, the Bankruptcy    can be reviewed for an abuse of discretion.            Matter of
Court found that it would be a more efficient use of judicial      Chicago, Milwaukee, St. Paul & Pacific R.R. Co., 6 F.3d 1184,
resources to allow the Kentucky Case to proceed because:           1188 (7th Cir.1993). A court abuses its discretion if it applies
(1) the Kentucky Case involves complex RICO and state              the wrong legal standard, uses improper procedures to reach
law issues; (2) almost all witnesses, parties and documents        its result or makes factual findings that are clearly erroneous.
are located in Kentucky; and (3) the judge presiding over
                                                                      In re Bayshore Ford Truck Sales, Inc., 471 F .3d 1233,
the Kentucky Case is intimately familiar with the case and
                                                                   1251 (11th Cir.2006) (citations omitted).
is in the best position to adjudicate it. (See id. at pp. 4,
7). Although litigating in Kentucky would be prejudicial to
                                                                   When reviewing Bankruptcy Court order, the District Court
Mack, the Bankruptcy Court found that any prejudice to Mack
                                                                   must give “due regard” the Bankruptcy Court's opportunity
was far outweighed by the hardship Appellees would face
                                                                   to evaluate witness credibility. FED. R. BANKR. P. 8013.
from litigating in Orlando. (Id. at pp. 4, 7). Moreover, the
                                                                   Factual findings, whether based on oral or documentary
Bankruptcy Court found that litigating in Kentucky would
                                                                   evidence, cannot be set aside unless they are clearly
not unduly prejudice the bankruptcy estate. (Id. at pp. 4, 7).
                                                                   erroneous. Id. “[F]indings of the trial court, when dependent
The Bankruptcy Court also cited the discretionary abstention
                                                                   upon oral testimony where the candor and credibility of
provision,     28 U.S.C. Section 1334(c)(1), and noted that        the witnesses would best be judged, [have] great weight.”
despite the fact that it had jurisdiction over Appellees' claims
                                                                      United States v. U.S. Gypsum Co., 333 U.S. 364, 395
against Mack, that the it was in “the interests of justice”
                                                                   (1948). A finding of fact is clearly erroneous when “although
to abstain in favor of “[a]llowing the Kentucky Litigation
                                                                   there is evidence to support it, the reviewing court on entire
to proceed.” (Id. at p. 8). On the basis of all of the factors
                                                                   evidence is left with the definite and firm conviction that
discussed, the Bankruptcy Court granted Appellees relief
                                                                   mistake has been committed.” Id. The Bankruptcy Court's
from the stay and abstained from hearing Appellees' claims
against Mack so that Appellees could pursue their claims in        conclusions of law are reviewed de novo.         In re Club
the Kentucky Case. (Id .)                                          Associates, 956 F.2d 1065, 1069 (11th Cir.1992).




                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                              2
    Case 23-04510            Doc 20-4
In re Mack, Not Reported in F.Supp.2d (2007)
                                              Filed 10/13/23 Entered 10/13/23 17:58:15                      Desc Exhibit
                                                    C Page 51 of 81

                                                                   determinations. As the fact finder, the Bankruptcy Court made
                                                                   an implicit credibility determination that Mack's testimony
                           Analysis
                                                                   was not convincing enough to establish that he would suffer
I. The Bankruptcy Court's Decision to Lift the Stay Was            more prejudice than Appellees. 3 Because the Bankruptcy
Not an Abuse of Discretion.                                        Court heard the testimony in the first instance, the Court
                                                                   must give its credibility determinations and factual findings
    Title 11 U.S.C. Section 362(d)(1) allows the Bankruptcy
Court upon request of a party and after notice and hearing         significant credence. FED. R. BANKR. P. 8013. See also
to grant relief from the automatic stay “for cause.” Courts           United States v. U.S. Gypsum Co., 333 U.S. 364, 395
conduct a caseby-case inquiry and apply a totality of the          (1948). Mack has failed indicate any basis proving the
circumstances test to determine whether cause for relief           Bankruptcy Court's findings were clearly erroneous.
from the stay exists. In re Alosi, 261 BR. 504, 508
(Bankr.M.D.Fla.2001). The Bankruptcy Court balances a              3       Although Mack testified regarding potential
series of factors, including but not limited to “efficient use
                                                                           prejudice, there are inconsistencies and admissions
of judicial resources, the location of witnesses, documents,
                                                                           in Mack's testimony which could be read to support
and other necessary parties ... [and] whether a creditor has
                                                                           a finding that he was not credible. For instance,
a probability of success on the merits of his case.” Id.
                                                                           Mack's primary allegation of prejudice is that he
The decision to lift the stay is within the discretion of the
                                                                           cannot afford a lawyer, and therefore, cannot mount
Bankruptcy Court Judge. In re Dixie Broad., Inc., 871 F.2d                 an effective defense in the Kentucky Case. (Doc.
1023, 1026 (11th Cir.1989).                                                No. 26, pp. 14-15). However, Mack admitted that
                                                                           he had significant assets on cross examination. (See
                                                                           Doc. No. 3-3, pp. 11-27).
   A. The Bankruptcy Court's Factual Finding that the
                                                                   Additionally, there is support for the fact that the Appellees
   Prejudice to Appellees from Litigating in Orlando
                                                                   will face significant prejudice from litigating in Orlando in
   Outweighs the Prejudice to Mack from Litigating in
                                                                   the record. The Kentucky Case contains additional unrelated
   Kentucky is Not Clearly Erroneous.
 *3 On appeal, Mack contends that the Bankruptcy Court             defendants who are not parties to the instant case. (Compare
erred in finding that the prejudice to Appellees from litigating   Doc. No. 1-7 with Doc. No. 3-8; Doc. No. 3-3, p. 31).
in Orlando outweighed the prejudice he would suffer if he          The automatic stay provision does not apply to nondebtors,
were forced to litigate in Kentucky where he has no legal          so Appellees will also have to pursue the Kentucky Case.
representation. (Doc. No. 1). The only specific argument of            McCartney v. Integra Nat. Bank N., 106 F.3d 506, 509
prejudice Mack offers is he will “suffer substantial hardship
                                                                   (3d Cir.1997);     In re Sunbeam Sec. Litig., 261 B.R. 534,
and prejudice from a relief from the stay” because he is
                                                                   536 (S.D.Fla.2001). Therefore, forcing Appellees to proceed
unrepresented in the Kentucky Case and does not have
                                                                   against Mack in Orlando would require them to litigate
enough funds to defend himself. (Doc. No. 26, pp. 14-15).
                                                                   substantially similar claims in two different forums.
Mack supports his argument with citations entirely to his
own testimony. (See id.) Although Mack testified that he
                                                                   The Bankruptcy Court reached a conclusion that was
will face significant prejudice, Mack's own testimony does
                                                                   supported by the evidence. The Bankruptcy Court's
not provide a strong enough basis for the Court to conclude
                                                                   acceptance of one of two permissible conclusions is not
the Bankruptcy Court's finding regarding the balance of
                                                                   clearly erroneous. As it is based on facts of record and was
prejudices was clearly erroneous.
                                                                   derived from determining the credibility of witnesses, it may
                                                                   not be reversed even if this Court is convinced, which it is
Foremost, multiple courts have reasoned that the threat of
                                                                   not, that it would have decided the factual issue differently.
additional legal expenses alone is not sufficient prejudice to
                                                                       Anderson v. City of Bessemer, 470 U.S. 564, 574 (1985).
justify lifting the automatic stay. See, e.g., In re Walker,
927 F.2d 1138, 1143 (10th Cir.1991); Matter of Stoneking,
222 B.R. 650, 656 (Bankr.M.D.Fla.1998); In re Harris,                  B. There is a Proper Basis for the Bankruptcy Court's
85 B.R. 858, 860 (Bankr.D.Colo.1988). Moreover, a fact                 Finding that Litigating in Kentucky is Not Overly
finder hearing oral testimony is required to make credibility



                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                               3
    Case 23-04510             Doc 20-4
In re Mack, Not Reported in F.Supp.2d (2007)
                                              Filed 10/13/23 Entered 10/13/23 17:58:15                         Desc Exhibit
                                                    C Page 52 of 81

    Prejudicial to the Bankruptcy Estate or Other                           there was “[n]o great prejudice to the bankruptcy
    Creditors.                                                              estate.” (Id. at p. 4). In light of the factual finding
 *4 Mack contends that the Bankruptcy Court erred in finding                of minimal prejudice, it is highly unlikely that
that lifting the stay did not prejudice the bankruptcy estate               the Bankruptcy Court intended to use such strong
or other creditors. (Doc. No. 1). However, Mack's initial                   language in its conclusions of law. Therefore, the
brief cites no evidence that continuing the Kentucky Case                   Court will construe the statement in the Bankruptcy
will prejudice the bankruptcy estate or other creditors. (See               Court's conclusions of law to mean that there is no
Doc. No. 26, pp. 14-15). Mack's only argument is that he                    substantial prejudice to the bankruptcy estate.
will “suffer substantial hardship and prejudice from a relief
from the stay” because he is unrepresented in the Kentucky             C. Consideration of Mack's Bad Faith Was Not
Case and does not have enough funds to defend himself. (Id.)           Improper.
In his reply brief, Mack claims that filing for bankruptcy          Mack's argument on appeal is that the Bankruptcy Court erred
benefits the majority of his creditors, because Appellees, who      in considering its alleged bad faith prior to filing his petition
are the most aggressive unsecured creditors, will receive a         for bankruptcy. (Doc. No. 26, pp. 9-14). Mack contends that
disproportionate amount of his assets. (Doc. No. 38, p. 6).         “[n]o court employing a balancing test to consider relief from
However, Mack has waived this argument by failing to raise          a Chapter 7 stay has considered the debtor's alleged bad faith
it in his initial brief. See, e.g., Spann v. Cobb County Pretrial   prior to his filing his bankruptcy petition.” (Id. at p. 10)
Court Servs. Agency, 206 Fed. Appx. 910, 910 n. 1 (11th             Mack argues that consideration of his prepetition bad faith
Cir.2006) (arguments not raised in initial appellate brief are      as justification for lifting the stay constitutes reversible error,
waived); United States v. Dicter, 198 F.3d 1284, 1289 (11th         but he fails to cite any legal precedent directly supporting his
Cir.1999) (arguments raised for the first time in a reply brief     position. (Id. at pp. 10-12).
are waived).
                                                                    Mack's argument is not well taken. Foremost, Mack's
Even if there was no waiver, Mack's argument is legally             argument that the Bankruptcy Court justified its decision
insufficient. Mack's reply brief makes vague references to his      based on his alleged bad faith in the Kentucky Case is not
bankruptcy schedules and argues that bankruptcy is necessary        supported by the language of the Bankruptcy Court's Order.
to ensure that his assets are fairly distributed among all his      (See Doc. No. 1-2). Mack is correct in his contentions that
unsecured creditors. (Doc. No. 38, p. 6). However, attorney         the Bankruptcy Court: (1) noted that the Kentucky District
argument is not evidence. See United States v. Murray, 154          Court found he acted in bad faith; and (2) found that he
Fed. Appx. 740, 745 n. 7 (11th Cir.2005) (noting that it is         stepped into the bankruptcy case with unclean hands. (Id. at
proper to instruct the jury that what attorneys say in argument     pp. 2-3). However, the Bankruptcy Court's Order does not
is not evidence).                                                   indicate that the Kentucky District Court's finding of bad faith
                                                                    is the basis of the Bankruptcy Court's finding of “unclean
The Bankruptcy Court explicitly found that “[n]o great              hands.” Immediately after the Bankruptcy Court found that
prejudice to the bankruptcy estate will result in permitting the    Mack stepped into the instant litigation with unclean hands,
                                                                    the Bankruptcy Court explicitly found that circumstances and
Kentucky Litigation to proceed.” 4 (Doc. No. 1-2, p. 4). The
                                                                    timing of the filing of the Chapter 7 petition indicate that
Bankruptcy Court's finding is supported by the fact that the
                                                                    Mack's purpose in filing the instant case was “to frustrate
Chapter 7 Trustee did not oppose Appellees' Motion to lift
                                                                    the Movants and delay the Kentucky Litigation.” (Id. at pp.
the stay. (Doc. No. 1-7; Doc. No. 3-3, p. 27). Therefore, the
                                                                    3-4). The Bankruptcy Court's discussion of the Kentucky
Court finds that is no basis for concluding that the Bankruptcy
                                                                    Litigation was not intended to form the basis of a finding of
Court's finding was clearly erroneous.
                                                                    bad faith in the instant case; rather it was intended to indicate
                                                                    that Mack had improper motivation in filing his bankruptcy
4       The Court notes that the Bankruptcy Court's                 petition and therefore was not entitled to the automatic stay. 5
        conclusions of law include the statement that               (Doc. No. 1-2, p. 7 (“He had unclean hands in the Kentucky
        “[a]llowing the Kentucky Litigation to proceed              Litigation and filed this bankruptcy case with unclean hands
        in Kentucky will not prejudice the bankruptcy               with the purpose to further thwart the Kentucky Litigation.
        estate.” (Doc. No. 1-2, p. 7). However, the factual         The Debtor, due to his lack of good faith and unclean hands,
        finding on which the conclusion was based was that          is not entitled to the benefits of the automatic stay as to the



                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                                   4
    Case 23-04510             Doc 20-4
In re Mack, Not Reported in F.Supp.2d (2007)
                                              Filed 10/13/23 Entered 10/13/23 17:58:15                        Desc Exhibit
                                                    C Page 53 of 81

Kentucky Litigation.”)). The Court's position is supported by       6       In his Reply Brief Mack contends that he filed
Mack's own testimony that the primary reason he filed for
                                                                            his bankruptcy petition in good faith. (See Doc.
bankruptcy is because he he was unable to continue defending
                                                                            No. 38, pp. 5-7). However, Mack never presented
himself in the Kentucky Case. (Doc. No. 3-3, p. 1).
                                                                            this argument in his Notice of Appeal or argued
                                                                            that he had proper motive for filing his petition
5       Mack was facing the prospect of a default judgment                  in his Initial Brief. (See Doc. No. 1; Doc. No.
        in the Kentucky Case. (Doc. No. 3-28). The                          26). Consequently, Mack has waived his ability
        Kentucky District Court Ordered Grange to refile                    to argue facts and circumstances which indicate
        a motion for final default judgment on January 26,                  his good faith motivation for filing for bankruptcy.
        2006 if Mack did not produce required discovery                     See, e.g., Spann v. Cobb County Pretrial Court
        materials. (Doc. No. 3-8, p. 44, entry 226). The                    Servs. Agency, 206 Fed. Appx. 910, 910 n. 1 (11th
        docket sheet of the Kentucky Case indicates the                     Cir.2006) (arguments not raised in initial appellate
        Mack did not produce the required discovery
                                                                            brief are waived);       United States v. Dicter, 198
        materials. (See id. at p. 45, entry 230 (Motion to
                                                                            F.3d 1284, 1289 (11th Cir.1999) (arguments raised
        compel production filed by Grange filed Jan. 24,
                                                                            for the first time in a reply brief are waived). Even
        2006), p. 46, entry 240 (Renewed Motion to compel
                                                                            if Mack had not waived such challenge, there is
        filed by Grange filed Feb. 2, 2006)). Mack filed
                                                                            evidence to indicate that his decision to file for
        his voluntary petition for Bankruptcy on February
                                                                            bankruptcy was not done in good faith. (See Doc.
        9, 2006. (Doc. No. 2-2). The Bankruptcy Court
                                                                            No. 3-3, p. 1 (Mack's testimony that he filed for
        Order's findings of fact state that Mack filed his
                                                                            bankruptcy because he was facing default and was
        petition to take advantage of the automatic stay
                                                                            unrepresented in the Kentucky Case)).
        provision in order to avoid the entry of final default
        judgment against him in the Kentucky Case. (See
                                                                    D. Even if the Bankruptcy Court Considered Mack's
        Doc. No. 1-2 p. 3).
                                                                    Alleged Bad Faith in Kentucky it is Harmless Error.
 *5 The Bankruptcy Court's finding of Mack's bad faith is           Alternatively, even if the Bankruptcy Court considered
based on his bad faith in filing for bankruptcy. Cause for relief   Mack's alleged bad faith in Kentucky, it is harmless error.
is usually found to exist when a debtor files his bankruptcy        Contrary to Mack's contentions, bad faith was not the sole
petition in bad faith.     In re Dixie Broad., Inc., 871 F.2d       basis for Bankruptcy Court's decision. The Bankruptcy Court
                                                                    considered “the totality of the facts and circumstances of
1023, 1026 (11th Cir.1989)(Chapter 11);        In re Natural        this case” and explicitly referenced four factors, only the last
Land Corp., 825 F.2d 296, 297 (11th Cir.1987)(Chapter               of which can be potentially construed as involving Mack's
11). The Court's own research has also disclosed Chapter 7          conduct in the Kentucky Case. (Doc. No. 1-2, p. 7). In
bankruptcy cases that have explicitly considered the motives        addition to the Bankruptcy Court's conclusion that “equity
of the debtor in filing when deciding whether to lift the           compels granting relief,” the Bankruptcy Court explicitly
automatic stay. See, e.g.,       Matter of Reitnauer, 152 F.3d      found that: (1) it was a more efficient use to judicial resources
341, 344, 344 n. 15(5th Cir.1998) (Chapter 7 case holding that      to allow the Kentucky Case to proceed because the case
lifting stay was not an abuse of discretion and reasoning that      had progressed much farther, the majority of the parties and
“[a] debtor's lack of good faith in filing a bankruptcy petition    witnesses are located there, and the presiding judge was
may be an appropriate ground for lifting the automatic stay.”);     already familiar with all of the issues and parties; (2) the
In re Coleman, 1999 WL 787401, *2 (N.D.Tex. Sept. 30,               prejudice to Appellees in litigating in Orlando outweighs
1999) (Chapter 7 case stating “bad faith filing can constitute      the prejudice to Mack from litigating in Kentucky; and (3)
statutory ‘cause’ sufficient to justify the court granting relief   allowing the Kentucky Case to proceed will not prejudice the
to a creditor by lifting the stay.”). Furthermore, Mack admits      Bankruptcy estate. (Id.)
that a debtor's bad faith in filing for bankruptcy is cause for
lifting the automatic stay. 6 (Doc. No. 38, p. 5). Therefore, the   As previously noted, the decision of lift the automatic stay is
Court finds that there is nothing improper in the Bankruptcy        discretionary. In re Dixie Broad., Inc., 871 F.2d 1023, 1026
Court's discussion of Mack's alleged bad faith.                     (11th Cir.1989). When the Bankruptcy Court hears testimony
                                                                    and makes factual findings based on the evidence received,



                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                                 5
    Case 23-04510             Doc 20-4
In re Mack, Not Reported in F.Supp.2d (2007)
                                               Filed 10/13/23 Entered 10/13/23 17:58:15                       Desc Exhibit
                                                     C Page 54 of 81

this Court cannot substitute its own interpretation of the facts
for that of the Bankruptcy Court merely because the facts can       II. The Bankruptcy Court did Not Abuse its Decision
                                                                    in Deciding to Abstain from Hearing Appellees' Claims
be construed in a different way. See      Anderson v. City of       Against Mack.
Bessemer, 470 U.S. 564, 574 (1985). The Bankruptcy Court
may not be reversed if its factual findings are not clearly         *6     Title 28 U.S.C. Section 1334(c)(1) allows the
erroneous and adequately justify its discretionary conclusion.      Bankruptcy Court to voluntarily abstain from hearing certain
                                                                    Bankruptcy cases by providing that:
Cf.     id. at 577 (“[W]e cannot say that either interpretation
of the facts is illogical or implausible. Each has support in
inferences that may be drawn from the facts in the record;
                                                                                 nothing in this section prevents a
and if either interpretation had been drawn by a district court
                                                                                 district court in the interest of justice,
on the record before us, we would not be inclined to find it
                                                                                 or in the interest of comity with State
clearly erroneous.”). Even if there was no finding of bad faith,
                                                                                 courts or respect for State law, from
it is not an abuse of discretion to lift the stay on the basis of
                                                                                 abstaining from hearing a particular
the other grounds cited. See, e.g.,    In re Bogdanovich, 292
                                                                                 proceeding arising under    title 11 or
F.3d 104, 110 n. 1 (2d Cir.2002) (listing judicial economy,
                                                                                 arising in or related to a case under
burden to debtor, bankruptcy estate and creditors as proper
considerations in deciding to lift automatic stay that arose                        title 11.
after debtor filed for Chapter 7 bankruptcy); In re Garzoni, 35
Fed.Appx. 179, 181 (6th Cir.2002) (same); In re Cummings,
221 B.R. 814, 818 (Bankr.N.D.Ala.1998) (bankruptcy court            Id. The prospect of abstention may be raised by the parties or
has discretion to lift stay that arose from filing of Chapter
                                                                    by the Court sua sponte.      Carver v. Carver, 954 F.2d 1573,
7 petition if prejudice to creditors of being forced to litigate
                                                                    1579 (11th Cir.1992).
only in bankruptcy court outweighs prejudice to debtor and
the bankruptcy estate from litigation outside the bankruptcy
                                                                    Mack incorrectly contends that abstention is only proper
court);    In re Tricare Rehab. Sys., Inc., 181 B.R. 569,           when there are difficult questions of state law or a unique state
574 (Bankr.N.D.Ala.1994) (noting that judicial economy and          interest. (Doc. No. 26, p. 16). Abstention in the interests of
whether a different court is better suited to determine the         justice is not limited to state law claims but may be invoked
issues because of experience may be considered in deciding          to avoid deciding federal claims. In re Apex Oil Co., 980 F.2d
whether to lift an automatic stay). Because the Bankruptcy          1150, 1152-53 (8th Cir.1992). Bankruptcy courts generally
Court's conclusions rationally flow from its factual findings,      consider the following factors in order to determine whether
there is no basis for finding that the Bankruptcy Court's           abstention is proper:
conclusion was an abuse of its discretion. 7

7                                                                                (1) the effect or lack thereof on the
        Although Mack disputes the Bankruptcy Court's
        findings that the prejudice to the Appellees                             efficient administration of the estate
        outweighs the prejudice to the debtor and that                           if a Court recommends abstention, (2)
        allowing the Kentucky Case to proceed would                              the extent to which state law issues
        not prejudice the bankruptcy estate, he does not                         predominate over bankruptcy issues,
        contend that these are improper considerations.                          (3) the difficulty or unsettled nature of
        (See Doc. No. 1; Doc. No. 26). In fact, Mack                             the applicable law, (4) the presence of a
        admits that it was proper for the Bankruptcy                             related proceeding commenced in state
        Court to balance the prejudices to the debtor and                        court or other nonbankruptcy court, (5)
        creditor and consider which forum would be a more                        the jurisdictional basis, if any, other
        efficient use of judicial resources. (Doc. No. 26, p.                    than      28 U.S.C. § 1334, (6) the
        10).                                                                     degree of relatedness or remoteness of
                                                                                 the proceeding to the main bankruptcy
                                                                                 case, (7) the substance rather than form


                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                               6
       Case 23-04510          Doc 20-4
In re Mack, Not Reported in F.Supp.2d (2007)
                                               Filed 10/13/23 Entered 10/13/23 17:58:15                      Desc Exhibit
                                                     C Page 55 of 81

                                                                    879 (6th Cir.2005) (“[A] district court's failure to articulate
                                                                    reasons for conditions [for supervised release] is harmless
             of an asserted “core” proceeding, (8)
                                                                    error where the reasons are obvious from the record.”);    In
             the feasibility of severing state law
                                                                    re PEC Solutions, Inc. Sec. Litig., 418 F.3d 379, 391 (4th
             claims from core bankruptcy matters
                                                                    Cir.2005) (“As long as a district court's reasons for denying
             to allow judgments to be entered in
                                                                    leave to amend are apparent, its failure to articulate those
             state court with enforcement left to the
                                                                    reasons does not amount to an abuse of discretion.”).
             bankruptcy court, (9) the burden of
             [the bankruptcy court's] docket, (10)
                                                                    Although the paragraph of the Bankruptcy Court's Order
             the likelihood that the commencement
                                                                    which discusses the permissive abstention provision does not
             of the proceeding in bankruptcy court
                                                                    include specific discussion of the abstention factors, many
             involves forum shopping by one of the
                                                                    of the factors are discussed in relation to the decision to lift
             parties, (11) the existence of a right to
                                                                    the automatic stay. (See Doc. No. 1-2). Thus, the Bankruptcy
             a jury trial, and (12) the presence in the
                                                                    Court's Order provides ample support for the decision to
             proceeding of nondebtor parties.
                                                                    abstain. First, the Bankruptcy Court found that allowing the
                                                                    Kentucky Case to proceed would not unduly prejudice the
                                                                    bankruptcy estate and that proceeding in the Bankruptcy
E.g.,    Matter of Chicago, Milwaukee, St. Paul & Pac. R.           Court would severely prejudice Appellees. (Doc. No. 1-2, p.
Co., 6 F.3d 1184, 1189 (7th Cir.1993). However, this list           4). As previously discussed, these findings are not clearly
is not exhaustive and no one factor is determinative. Id.           erroneous. Infra Analysis, Part I.A.
Other courts have considered factors such as the need for
finality or the other forum's familiarity with the facts and        Second, the Kentucky Case was filed in 2002 and involves
                                                                    both RICO and state law claims. (See Doc. No. 3-13). Because
circumstances of the case. See In re Reak, 92 B.R. 804, 807
                                                                    there have been extensive proceedings in the Kentucky Case,
(Bankr.E.D.Wis.1988) (abstention was appropriate although
                                                                    that court is much more familiar with the law, the facts, and
bankruptcy court had concurrent jurisdiction with the state
                                                                    the parties. (See Doc. No. 3-8). Thus, judicial economy also
court the state court was in a better position to adjudicate
                                                                    favors abstention. Finally, there is potential evidence of forum
the claim because it was more familiar with the facts and
                                                                    shopping because the Bankruptcy Court found that Mack
circumstances of the case); In re Cache, Inc., 71 B.R. 851,         filed for bankruptcy to avoid final default judgment in the
852 (Bankr.S.D.Fla.1987) (if mandatory abstention was not           Kentucky Case. (Doc. No. 1-2, pp. 3-4). The Bankruptcy
proper, then permissive abstention would be proper because          Court made factual findings which were not clearly erroneous
“resolution of this major claim will, almost certainly, require     and applied the correct legal standard. Therefore its decision
District Court review by appeal of this court's summary             to abstain was not an abuse of discretion.
determination. The District Court already has this matter
pending before it and can decide this matter with greater
finality and more rapidly if this court abstains than it could if
                                                                                             Conclusion
it must await and exercise its appellate jurisdiction.”)
                                                                    The Court AFFIRMS the Bankruptcy Court's Order (Doc.
 *7 Mack's only allegation is that the Bankruptcy Court's           No. 1-2) and DISMISSES the Appeal (Doc. No. 1).
decision to abstain was an abuse of discretion because
the Bankruptcy Court's order “did not state any reason,             DONE and ORDERED in Chambers in Orlando, Florida on
basis or explanation for the abstention.” (Doc. No. 26, p.          April 23, 2007.
17). Accordingly Mack claims that the Bankruptcy Court
made its decision to abstain without considering any factors.
(Id.) Mack's argument is not well taken. A court abuses             All Citations
its discretion by failing to articulate specific factors when
there is no basis for the conclusion in the record. See In          Not Reported in F.Supp.2d, 2007 WL 1222575
re W. Pac. Airlines, Inc., 263 B.R. 345, 347 (D.Colo.2001);
cf.,    United States v. Brandenburg, 157 Fed. Appx. 875,


                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                              7
    Case 23-04510         Doc 20-4      Filed 10/13/23 Entered 10/13/23 17:58:15
In re Mack, Not Reported in F.Supp.2d (2007)
                                                                                                 Desc Exhibit
                                              C Page 56 of 81


End of Document                                     © 2023 Thomson Reuters. No claim to original U.S. Government Works.




              © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                    8
Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 57 of 81




                           EXHIBIT 6
    Case 23-04510           Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                         Desc Exhibit
                                                  C Page 58 of 81

                                                                “Allied”), was to sell yachts manufactured by Marquis. The
                    2010 WL 1380137                             dealer agreement states that any dispute between the parties,
      Only the Westlaw citation is currently available.         “whether sounding in contract, tort or otherwise .... shall be
        United States District Court, D. Minnesota.             resolved by binding arbitration in accordance with Title 9 of
                                                                the U.S.Code and the Commercial Arbitration Rules of the
          MARQUIS YACHTS, a division of                         American Arbitration Association.” (Dealer Agreement at 9,
          Genmar Yacht Group, LLC, Plaintiff,                   Defs.' Br. in Supp. of Objection, Ex. B, Docket No. 36.)
                         v.
                                                                Before the parties formalized the dealer agreement, Marquis
       ALLIED MARINE GROUP, INC. (NORTH),
                                                                began constructing the first four of seven yachts. (Final Award
        Allied Marine Group, Inc. (South), Richard
                                                                at 3–4, Application for Confirmation of Arbitration Award,
        Bertram Yachts, Inc. (North), and Richard
                                                                Ex. A, Docket No. 1.) Over the next few months, Allied
        Bertram Yachts, Inc. (South), Defendants.               selected several custom options for the four yachts, including
                                                                hull color and electronics, and Marquis incorporated those
                Civil No. 09–1770 (JRT/FLN).
                                                                options as it manufactured the yachts. (Id. at 4–5.) On
                              |
                                                                July 1, 2008, Marquis requested that Allied provide order
                       March 31, 2010.
                                                                acknowledgements for five yachts (the aforementioned four
Attorneys and Law Firms                                         under construction and one additional yacht) and provide a
                                                                deposit for one yacht. (Id. at 7.) Allied failed to return the
Geoffrey P. Jarpe, Winthrop & Weinstine, Minneapolis, MN,       order acknowledgements and refused to submit the deposit,
for plaintiff.                                                  believing such failure relieved it of any obligation to purchase
                                                                the yachts. (Id. at 5, 7–8.) Allied nonetheless continued to
Richard Gurbst, Squire, Sanders & Dempsey LLP, Cleveland,
                                                                specify additional options for the yachts. (Id. at 7.) After it
OH, and Stephen C. Rathke, Lommen Abdo, Cole, King &
                                                                became clear that Allied would not purchase any of the yachts
Stageberg, P.A., Minneapolis, MN, for defendants.
                                                                under construction, Marquis mitigated its damages and was
                                                                able to sell all but one of the yachts at issue. (Id. at 8–9.)

             ORDER ADOPTING REPORT                              On September 3, 2008, Allied initiated an arbitration action
              AND RECOMMENDATION                                against Marquis with the American Arbitration Association
                                                                (“AAA”) seeking declaratory relief from any obligation to
JOHN R. TUNHEIM, District Judge.
                                                                pay Marquis for the yacht remaining in Marquis' inventory.
 *1 This matter is before the Court on defendants' objections   (Id.) Allied was aware that Marquis intended to file an
to a Report and Recommendation issued by United States          arbitration claim on the same issue. (Online Filing Demand
Magistrate Judge Franklin L. Noel on December 7, 2009.          for Arbitration at 2, Defs.' Br. in Supp. of Objection, Ex.
                                                                A, Docket No. 33.) On the same day, Marquis initiated
After a de novo review of those objections, see    28 U.S.C.    its own arbitration action with the AAA seeking specific
§ 636(b)(1); D. Minn. Local Rule 72.2(b), the Court overrules   performance. (Report & Recommendation at 2, Docket No.
the objections and adopts the Report and Recommendation         28.) The arbitration panel held a consolidated arbitration
for the reasons set forth below.                                hearing on April 20, 21, and 22, 2009, and the panel issued
                                                                an interim award in Marquis' favor on April 29, 2009. (Id.)

                     BACKGROUND                                  *2 On June 1, 2009, Genmar Yacht Group LLC and
                                                                Genmar Holdings, Inc. filed for Chapter 11 bankruptcy
Plaintiff Marquis Yachts, a division of Genmar Holdings,        in the United States Bankruptcy Court for the District of
Inc.'s subsidiary Genmar Yacht Group, LLC (“Marquis”),          Minnesota. The arbitration panel ordered the parties to submit
manufactures luxury yachts. Pursuant to a dealer agreement,     briefing on the effect on the arbitration proceedings of
defendants Allied Marine Group, Inc. (North), Allied Marine
                                                                    11 U.S.C. § 362, which imposes an automatic stay on
Group, Inc. (South), Richard Bertram Yachts, Inc. (North),
                                                                all actions and proceedings against the party petitioning for
and Richard Bertram Yachts, Inc. (South) (collectively,
                                                                bankruptcy. (Final Award at 18, Application for Confirmation


               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                           1
    Case 23-04510            Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                            Desc Exhibit
                                                    C Page 59 of 81

of Arbitration Award, Ex. A, Docket No. 1.) The panel              Federal courts may vacate an arbitral award “where the
finalized the arbitration award on June 25, 2009, ordering         arbitrators exceeded their powers, or so imperfectly executed
Allied to pay Marquis the purchase price and to accept             them that a mutual, final, and definite award upon the subject
delivery of the yacht, to pay sales and administrative costs       matter submitted was not made.” 9 U.S.C. § 10(a)(4). When
related to Marquis' efforts to mitigate its damages, to pay        considering whether to enforce an arbitral award, courts
interest accrued while Marquis awaited payment for the
                                                                   afford extraordinary deference to arbitrators.      Hall Street
yachts, and to pay attorney's fees and administrative costs
                                                                   Assocs., L.L.C. v. Mattel, Inc., 552 U.S. 576, 588–89, 128
related to the arbitration proceedings. (Id. at 13.) The
                                                                   S.Ct. 1396, 170 L.Ed.2d 254 (2008); Crawford Group, Inc. v.
arbitration panel considered and rejected the argument that
                                                                   Holekamp, 543 F.3d 971, 976 (8th Cir.2008). “[A]s long as the
the stay applied to the arbitration proceeding, concluding that
                                                                   arbitrator is even arguably construing or applying the contract
“the Panel's Final Award in the present case will enhance
                                                                   and acting within the scope of his authority,” the court,
the bankruptcy estate.” (Id. at 18 (emphasis in original).)
                                                                   even if convinced that the arbitrator made a serious error,
The panel noted, however, that its decision was “subject to
potential consideration by the courts of the applicability of      must confirm the arbitrator's award. United Paperworkers
                                                                   Int'l Union v. Misco, Inc., 484 U.S. 29, 38, 108 S.Ct. 364,
   11 U.S.C. [§ ] 362(a)(2),” and therefore concluded that the
                                                                   98 L.Ed.2d 286 (1987). This deference is not, however, a
decision was not necessarily final. (Id. at 19.)
                                                                   “grant of limitless power.”      Stark v. Sandberg, Phoenix
On July 10, 2009, Marquis filed a claim with this                  & von Gontard, P.C., 381 F.3d 793, 799 (8th Cir.2004)
Court seeking confirmation of the final arbitration award.         (internal quotation marks omitted). To determine whether an
(Docket No. 1.) Allied's counterclaim requested vacatur            arbitration panel exceeded its authority, courts must broadly
of the arbitration award, arguing that the panel violated          construe the agreement and resolve all doubts in favor of the
the automatic stay and that the award violates public              panel's authority.  Prime Therapeutics LLC v. Omnicare,
policy. (Answer to Compl. & Countercl., Docket No. 2.)             Inc., 555 F.Supp.2d 993, 999 (D.Minn.2008) (citing United
Marquis moved for summary judgment. (Docket No. 4.)                Food & Commercial Workers, Local No. 88 v. Shop ‘N Save
The Magistrate Judge recommended that the Court grant              Warehouse Foods, Inc., 113 F.3d 893, 895 (8th Cir.1997)).
Marquis' motion confirming the arbitration panel's final
award, grant Marquis post-award prejudgment interest, and
deny Marquis' request for post-award attorney's fees. (Report      II. ANALYSIS
& Recommendation at 7, Docket No. 28.)                              *3 Allied objects to the Report and Recommendation,
                                                                   arguing: (1) the automatic stay applies to the arbitration
                                                                   proceedings, (2) the arbitration panel exceeded its authority
I. STANDARD OF REVIEW                                              in its interpretation of the dealer agreements, and (3) the
Summary judgment is appropriate where no genuine issues            Magistrate Judge erred in recommending monetary damages
of material fact exist and the moving party can demonstrate        that the arbitration panel did not award. The Court addresses
that it is entitled to judgment as a matter of law. Fed.R.Civ.P.   the arguments in turn.
56(c). A fact is material if it might affect the outcome of
the suit, and a dispute is genuine if the evidence could
lead a reasonable jury to return a verdict for either party.         A. Automatic Stay
                                                                   The act of filing a bankruptcy petition operates as an
   Anderson v. Liberty Lobby, Inc. ., 477 U.S. 242, 247,
                                                                   automatic stay of “the commencement or continuation ...
106 S.Ct. 2505, 91 L.Ed.2d 202 (1986). When considering a
                                                                   of a judicial, administrative, or other action or proceeding
motion for summary judgment, a court must view the facts in
                                                                   against the debtor that was or could have been commenced
the light most favorable to the non-moving party, giving it the
                                                                   before the commencement of the [bankruptcy] case[.]”
benefit of all reasonable inferences that can be drawn from
                                                                      11 U.S.C. § 362(a)(1). The automatic stay presumptively
those facts.  Matsushita Elec. Indus. Co. v. Zenith Radio
                                                                   applies to arbitration proceedings. See In re Nerland Oil,
Corp., 475 U.S. 574, 587, 106 S.Ct. 1348, 89 L.Ed.2d 538
(1986).                                                            Inc., 303 F.3d 911, 914 (8th Cir.2002); see also   In
                                                                   re Gull Air, Inc., 890 F.2d 1255, 1262 (1st Cir.1989)
                                                                   (“[T]he scope of      section 362(a)(1) is broad, staying all


                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                            2
     Case 23-04510            Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                              Desc Exhibit
                                                     C Page 60 of 81

proceedings, including arbitration [.]”). Despite this breadth,      the automatic stay did not apply to the panel's proceedings.
“[t]he automatic stay ... does not divest all other courts of        (Id. at 18.) The panel also noted that even though Allied
jurisdiction to hear every claim that is in any way related to the   was the first party to file a demand for arbitration, “the only
                                                                     affirmative relief ever at issue herein has been Marquis' right
bankruptcy proceeding.”     Picco v. Global Marine Drilling
                                                                     to recover damages from Allied. Even if Allied had fully
Co., 900 F.2d 846, 850 (5th Cir.1990) (citation omitted). For
                                                                     prevailed on the merits of its claim, it would not have received
example, the stay applies only to proceedings “against the
                                                                     damages or other affirmative relief.” (Id. at 18.)
debtor.”    Martin–Trigona v. Champion Fed. Sav. & Loan
Ass'n, 892 F.2d 575, 577 (7th Cir.1989). Proceedings brought          *4 The Court “affords the [arbitration panel's] decisions an
by the debtor against other parties do not fall within the           extraordinary level of deference and confirms so long as the
proscription of the automatic stay. 1 Id.                            [panel] is even arguably construing or applying the contract
                                                                     and acting within the scope of [its] authority.” Crawford
1                                                                    Group, 543 F.3d at 976 (internal quotation marks omitted).
        In addition, “[m]inisterial acts ... do not fall within
                                                                     Vacatur of an arbitral award is appropriate, however, “where
        the proscription of the automatic stay.”       In re         the arbitrators exceeded their powers.” 9 U.S.C. § 10(a)(4).
        Soares, 107 F.3d 969, 973–74 (1st Cir.1997). Here,           Whether the “extraordinary level of deference” extends to the
        however, the parties provided the panel with further         panel's determination that the automatic stay did not apply to
        briefing after Genmar Holdings, Inc. and Genmar              the arbitration proceedings is a question of first impression
        Yacht Group, LLC filed the bankruptcy petition,              for the Court.
        and therefore the Court cannot say that the panel's
        entry of the final award was simply a ministerial            The Court concludes that it should review the panel's
        act. Cf.     In re Knightsbridge Dev. Co., 884               determination of the applicability of Section 362(a)(1) de
        F.2d 145, 148 (4th Cir.1989) (holding that “the              novo. Courts afford extraordinary deference to arbitration
        arbitration award [was] void as the product of               decisions because the parties have contractually consented
        a continuing pre-petition proceeding” where the
                                                                     to arbitration. See   Stolt–Nielsen SA v. AnimalFeeds Int'l
        arbitration panel engaged in deliberations after the
                                                                     Corp., 548 F.3d 85, 95 (2d Cir.2008). The scope of the
        petition was filed).
                                                                     automatic stay, however, has implications extending beyond
Allied argues that the arbitration panel exceeded its authority      the contracting parties. The stay's purpose is, in part, to
under 9 U.S.C. § 10(a)(4) in concluding that the automatic           protect the interests of creditors in the bankruptcy estate.
stay did not halt the arbitration proceedings. The Court agrees
                                                                     See     Martin–Trigona, 892 F.2d at 577 (“[The automatic
with the arbitration panel's conclusion that    Section 362(a)       stay] protects the bankrupt's estate from being eaten away by
(1) does not affect the award, but reaches that conclusion for       creditors' lawsuits and seizures of property before the trustee
reasons that differ from those articulated by the panel.             has had a chance to marshal the estate's assets and distribute
                                                                     them equitably among the creditors.”). Genmar's creditors did
                                                                     not agree to submit the dispute between Marquis and Allied
    1. The Court Reviews the Arbitration Panel's
                                                                     to arbitration. See   Howsam v. Dean Witter Reynolds, Inc.,
   Interpretation of     Section 362(a)(1) De Novo.
                                                                     537 U.S. 79, 83, 123 S.Ct. 588, 154 L.Ed.2d 491 (2002)
The arbitration panel “considered the parties' memoranda
                                                                     (“[A]rbitration is a matter of contract and a party cannot be
related to the application of an automatic stay pursuant to
                                                                     required to submit to arbitration any dispute which he has
   11 U.S.C. [§ ] 362, based on Genmar's filing for protection       not agreed so to submit.” (internal quotation marks omitted)).
under Chapter 11 of the Bankruptcy Code.” (Final Award               Indeed, the debtor cannot waive the automatic stay. Mar.
at 2, Application for Confirmation of Arbitration Award,
                                                                        Elec. Co. v. United Jersey Bank, 959 F.2d 1194, 1204 (3d
Ex. A, Docket No. 1.) The panel, noting the “against the
                                                                     Cir.1991) (“Because the automatic stay serves the interests of
debtor” phrase in     Section 362(a)(1) and citing     ACandS        both debtors and creditors, it may not be waived and its scope
v. Travelers Casualty & Surety Co., 435 F.3d 252, 259 (3d            may not be limited by a debtor.”). The question of whether
Cir.2006), stated that the “Final Award in the present case will     the arbitrators “exceeded their powers” by violating the
enhance the bankruptcy estate,” and therefore concluded that         automatic stay therefore differs from the typical “exceeded



                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                               3
    Case 23-04510             Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                              Desc Exhibit
                                                    C Page 61 of 81

their powers” inquiry under 9 U.S.C. § 10(a)(4), which                            claims asserted by the debtor may
focuses on whether the parties agreed to submit a particular                      continue.
dispute to arbitration. See, e.g.,  Stark, 381 F.3d at 799–
801. The question of the applicability of the automatic stay
presents one of the “narrow circumstances” in which courts          In re Duncan, 987 F.2d 490, 491 n. 2 (8th Cir.1993) (quoting

give the arbitration panel's findings no deference. See First           Mar. Elec., 959 F.2d at 1204–05) (emphasis removed);
Options of Chi., Inc. v. Kaplan, 514 U.S. 938, 943, 115 S.Ct.       accord      In re Hall, 304 F.3d 743, 746 (7th Cir.2002);
1920, 131 L.Ed.2d 985 (1995); cf. ACandS, 435 F.3d at 258              Parker v. Bain, 68 F.3d 1131, 1137 (9th Cir.1995).
(“A long-standing exception to this general rule [of deference      “[C]ounterclaims asserted by a debtor are not actions ‘against
to an arbitrator's findings] provides that courts may refuse
                                                                    the debtor’ which are subject to the automatic stay.”      U.S.
to enforce arbitration awards that violate well-defined public
                                                                    Abatement Corp. v. Mobil Exploration & Producing U.S.,
policy as embodied by federal law. We hold that the automatic
                                                                    Inc., 39 F.3d 563, 568 (5th Cir.1994). Counterclaims asserted
stay provision of the Bankruptcy Code promotes a public
                                                                    against a debtor are subject to the automatic stay, but
policy sufficient to preclude enforcement of an award that
                                                                    “[d]efenses [asserted against the debtor], as opposed to
violates its terms or interferes with its purposes.” (citation
                                                                    counter-claims, do not violate the automatic stay because the
omitted)). But see     Hall Street, 552 U.S. at 584 (holding        stay does not seek to prevent defendants sued by a debtor from
that 9 U.S.C. § 10 enumerates the exclusive statutory grounds       defending their legal rights and the defendant in the bankrupt's
for vacating an arbitral award).                                    suit is not, by opposing that suit, seeking to take possession
                                                                    of it.”   ACandS, 435 F.3d at 259 (internal quotation marks
    2. The Automatic Stay Applies to Allied's Claim in              omitted). “In determining whether a continuing proceeding ...
    the Arbitration Proceedings, but Not to Marquis'                is against the debtor, we normally examine the posture of
    Counterclaim in Those Proceedings.                              the case at the initial proceeding.” McMillan v. MBank Fort
 *5 “Congress chose to stay only actions against the debtor         Worth, N.A., 4 F.3d 362, 366 (5th Cir.1993).
and not those by him even though each can have adverse
effects on the estate and other third party interests.” Haag        At the initial proceeding and throughout the arbitration, Allied
v. United States, 485 F.3d 1, 4 (1st Cir.2007). Courts have         maintained a claim for declaratory relief against Marquis,
recognized that “[a]ll proceedings in a single case are not         and Marquis maintained a claim against Allied for specific
lumped together for purposes of automatic stay analysis. Even       performance and mitigation damages. Allied's claim against
if the first claim filed in a case was originally brought against   Marquis is an action “against the debtor” and therefore
                                                                    was subject to the automatic stay. There is no exception in
the debtor,     section 362 does not necessarily stay all other
                                                                       Section 362(a) for claims for declaratory relief that do not
claims in the case.”   Mar. Elec., 959 F.2d at 1204. As the
                                                                    seek monetary damages. The automatic stay did not apply,
Eighth Circuit has observed:
                                                                    however, to Marquis' claim against Allied. 2 To the extent that
                                                                    the arbitration panel ruled on Allied's claim for declaratory
                                                                    relief, the panel violated the automatic stay and exceeded its
              Within a single case, some actions may
                                                                    powers. See 9 U.S.C. § 10(a)(4). The panel should have stayed
              be stayed, others not. Multiple claim
                                                                    that action and decided only Marquis' claim for relief.
              and multiple party litigation must be
              disaggregated so that particular claims,
                                                                    2
              counterclaims, crossclaims and third-                          “[T]he bankrupt's cause of action is an asset of the
              party claims are treated independently                         estate [.]”   Martin–Trigona, 892 F.2d at 577. As
              when determining which of their                                Marquis' counsel confirmed in a hearing before the
              respective proceedings are subject to                          Magistrate Judge, “there is no dispute, nor could
              the bankruptcy stay. Thus, within one                          there ever be any, that this award is an asset of the
              case, actions against a debtor will be                         bankrupt[cy] estate.” (Hr'g Tr. at 31, Docket No.
              suspended even though closely related                          40.)



                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                                  4
    Case 23-04510            Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                            Desc Exhibit
                                                    C Page 62 of 81


   3. The Scope of the Automatic Stay Is Not Contingent
                                                                   Mar.     Elec., 959 F.2d at 1206 (citations and internal
   on Whether the Award Enhances the Bankruptcy
   Estate.                                                         quotation marks omitted); see also     Ellis v. Consol. Diesel
 *6 The arbitration panel erred in failing to identify which       Elec. Corp., 894 F.2d 371, 373 (10th Cir.1990) (“[T]he
claims were “against the debtor” and which were brought by         fact that judgment here was entered in favor of the debtor
the debtor and in failing to stay the claim that was against       does not change the outcome.... [W]hether a case is subject
the debtor. The panel instead focused on the outcome of the        to the automatic stay must be determined at its inception.
arbitration.                                                       The operation of the stay should not depend upon whether
                                                                   the district court finds for or against the debtor.” (internal
Courts have rejected such a wait-and-see approach to               quotation marks, citation, and emphasis omitted)).
determining whether the automatic stay applies to a particular
proceeding. “[W]hether a proceeding is against the debtor          The arbitration panel relied on ACandS, a Third Circuit
                                                                   opinion authored by then-Judge Alito, in which the debtor
within the meaning of  Section 362(a)(1) is determined
from an examination of the posture of the case at the              challenged an arbitration award as violating            Section

initial proceeding.”    Freeman v. Comm'r, 799 F.2d 1091,          362(a).    435 F.3d at 255. ACandS, the debtor, had been
1092–93 (5th Cir.1986) (per curiam). “That determination           “one of the nation's largest installers of asbestos insulation,”
should not change depending on the particular stage of the         and in 1988 it reached an agreement with its insurer,
litigation at which the filing of the petition in bankruptcy       Travelers Casualty, regarding the allocation of coverage

occurs.”      Cathey v. Johns–Manville Sales Corp., 711 F.2d       between products claims and operations claims. Id. at 255–
60, 62 (6th Cir.1983) (internal quotation marks omitted).          56. The agreement provided that the parties would submit
“It is inconceivable that Congress intended or envisioned          any disputes over reallocation of coverage first to mediation
construction of the phrase ‘against the debtor’ to oscillate in    and then, if the mediation did not succeed, to binding
any given judicial proceeding depending upon which stage of        arbitration.    Id. at 256. In 2000, ACandS filed a motion
trial the action had progressed on the date of the filing of the   for declaratory judgment seeking to have certain claims
bankruptcy petition.” Id.                                          recognized as separate occurrences. Id. The district court then
                                                                   granted a joint motion for a stay pending arbitration. Id. In
Whether the ultimate outcome of a proceeding favors the            2001, ACandS filed a formal demand with Travelers Casualty
debtor is not dispositive. In a case pre-dating ACandS, the        seeking an increase in the allocation of claims to operations,
Third Circuit held:                                                and the parties ultimately proceeded to arbitration on that
                                                                   claim. Id. at 256–57. Before the arbitration panel issued its
                                                                   award, ACandS petitioned for Chapter 11 bankruptcy. Id. at
             The automatic stay's effect on judicial               257. After the panel issued its award, ACandS filed a motion
             proceedings against the debtor does                   in federal court seeking vacatur. Id . The district court denied
             not depend upon whether the court                     the motion and affirmed the award, and also dismissed the
             finds for or against the debtor. Once                 2000 motion as moot. Id.
             triggered, the automatic stay of an
             action pending against the debtor                      *7 ACandS adopted an outcome-oriented test, holding that
             in district court continues until the                 in arbitration proceedings the automatic stay attaches as soon
             bankruptcy case is closed, dismissed,                 as the scope of the parties' submissions supports an award
             or discharge is granted or denied,                    that could diminish the bankruptcy estate. Id. at 260. The
             or until the bankruptcy court grants                  Third Circuit rejected the district court's finding “that the
             some relief from the stay. Absent relief              automatic stay did not apply because the arbitration was an
             from the stay, judicial actions and                   action initiated by the debtor.” Id. at 259. The court explained
             proceedings against the debtor are void               that the nature of arbitration makes it difficult to identify
             ab initio.                                            whether the arbitration is a proceeding “against the debtor”:




                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             5
    Case 23-04510            Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                           Desc Exhibit
                                                   C Page 63 of 81

                                                                  purposes served by the automatic stay, it was necessary
                                                                  for the arbitration proceeding to halt as soon as the scope
            While in the context of a trial it is                 of the parties' submissions supported an award that could
            simple to distinguish between claims                  diminish ACandS's estate.” Id. Hence, the court argued, “[b]y
            and counter-claims that may support                   continuing beyond this point, the proceeding violated    §
            judicial relief, in the context of                    362(a)(1), and the panel's deliberations and the resulting
            arbitration, especially in the absence of             award are therefore void.” Id.
            a joint statement of issues submitted,
            it is impossible to definitively classify             The Court does not find ACandS persuasive. ACandS is not
            the arguments presented. Travelers                    consistent with the guidance of other circuits that emphasizes
            contends that its arguments in favor                  that the automatic stay applies only to proceedings “against
            of a zero allocation of claims to the                 the debtor,” even though actions brought by the debtor also
            products coverage should be classified                “can have adverse effects on the estate and other third
            as a permissible defense. Defenses,
            as opposed to counter-claims, do not                  party interests.” Haag, 485 F.3d at 4;     Ellis, 894 F.2d at
            violate the automatic stay because                    373 (“The operation of the stay should not depend upon
            the stay does not seek to prevent                     whether the district court finds for or against the debtor.”).
            defendants sued by a debtor from                      ACandS did not address the requirement that arbitrators and
            defending their legal rights and the                  courts disaggregate the claims to stay only those against the
            defendant in the bankrupt's suit is not,              debtor and to allow other claims to go forward. See In re
            by opposing that suit, seeking to take                Duncan, 987 F.2d at 491 n. 2;   Maritime Elec., 959 F.2d
            possession of it. In the trial context,               at 1204–05. ACandS is also inconsistent with the rule that
            a defendant's failure to formally plead               courts are to determine “whether a proceeding is against
            a counter-claim prevents the court
                                                                  the debtor within the meaning of      Section 362(a)(1) ...
            from granting affirmative relief on the
                                                                  from an examination of the posture of the case at the initial
            basis of the defendant's arguments.
            By contrast, an arbitration award will                proceeding.” Freeman, 799 F.2d at 1092–93. ACandS also
            be affirmed so long as its form                       raises the danger that parties involved in arbitration initiated
            can be rationally derived from either                 by a business that has petitioned for bankruptcy would seek
            the agreement between the parties                     declaratory relief that they do not owe the business any
            or the parties' submissions to the                    money. According to the Third Circuit's reasoning, such
            arbitrators and the terms of the arbitral             claims (or counterclaims) might go forward, so long as they
            award are not completely irrational.                  do not run the risk of diminishing the bankruptcy estate. Such
            This procedural flexibility, which is                 actions are nonetheless “against the debtor” and fall within
            essential to the utility of arbitration,              the scope of the automatic stay, despite the fact that they may
            allows Travelers to make a colorable                  not have the potential to diminish the bankruptcy estate.
            argument that it respected the stay by
            merely defending its interests when                    *8 The Court also does not find ACandS applicable to
            there is no question that in the trial                the arbitration proceedings in this case. Two circumstances
            context it would have been required to                critical to the Third Circuit's reasoning in ACandS are not
            file a counterclaim in order to obtain                present here, and therefore, even if the Eighth Circuit were
            the result it seeks to uphold.                        to adopt ACandS's outcome-oriented test, the Court would
                                                                  not apply that test to the facts of this case. First, the
                                                                  arbitration proceedings in ACandS involved claims brought
Id. at 259–60 (internal quotation marks, citations, and           by ACandS, the debtor, and no readily identifiable claim
emphases omitted). The court stated that “the panel's authority   by Travelers Casualty against the debtor. Travelers Casualty
must yield when a dispute threatens the rights of third parties   did not expressly raise a counterclaim, but did ultimately
in violation of the laws of the United States.” Id. at 260.       make a submission that sought affirmative relief that would
The court held that, “[t]o avoid interfering with the broad       have diminished the bankruptcy estate. 3 Here, however,



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             6
      Case 23-04510            Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                              Desc Exhibit
                                                     C Page 64 of 81

both parties brought claims, and the plain language of               claim against Allied, which was also a “matter submitted” to
Section 326(a)(1) applies to Allied's claim. The panel did           the panel and over which the panel had jurisdiction. See id.
not identify any difficulty in classifying the claims in             Therefore, even though the arbitrators exceeded their powers
the arbitration proceeding as claims brought by or against           in failing to disaggregate the claims and in deciding Allied's
the debtor. Second, Travelers Casualty's position evolved            claim for declaratory relief, the Court does not have authority
during the arbitration proceedings, while Allied's position and      to modify the arbitration award. 4
requested relief remained consistent throughout its arbitration
proceedings with Marquis. Hence, the special circumstances           4      If the Court is mistaken and the automatic stay
that prompted the Third Circuit to adopt its outcome-oriented
                                                                            applied to the entire arbitration, Marquis may
test are not present here.
                                                                            still be able to obtain relief. Some courts have
                                                                            recognized that “the bankruptcy court has the
3        Under the reasoning articulated in Part II.A.2                     power to annul the automatic stay pursuant to
         above, the arbitration panel in ACandS should
         have construed that submission as raising the                          section 362(d).”     Picco, 900 F.2d at 850.
         equivalent of a counterclaim. Indeed, even if                      Therefore, if Allied persists in challenging the
         Travelers Casualty's submission had simply sought                  validity of the arbitration award, Marquis may
         declaratory relief that would not have diminished                  petition the bankruptcy court to lift the stay to
         the bankruptcy estate, the arbitration panel should                the extent that it may apply to the arbitration
         have construed the submission as raising a                         and to Marquis' efforts to confirm the award in
         counterclaim, and should have stayed proceedings                   this Court. See id. (“[E]ven if the district court's
         on that counterclaim.                                              decision did violate the automatic stay when it
                                                                            was entered, the bankruptcy court's order lifting
   4. The Court Declines to Modify the Arbitral Award                       the stay cured any defect.”);       In re Myers,
“A district court must take the award as it finds it and                    491 F.3d 120, 127 (3d Cir.2007) (“[A]ctions in
either vacate the entire award using section 10 or modify the               violation of the stay, although void (as opposed
                                                                            to voidable), may be revitalized in appropriate
award using section 11.”    Stark, 381 F.3d at 799 (internal
                                                                            circumstances by retroactive annulment of the
quotation marks omitted). Section 11 authorizes a reviewing
court to modify an arbitration award under only limited                     stay.”). But see Mar.      Elec., 959 F.2d at 1207
circumstances:                                                              n. 11 (questioning “whether a bankruptcy court
                                                                            may exercise its equitable powers to retroactively
    (a) Where there was an evident material miscalculation of               rehabilitate judicial acts and proceedings which
       figures or an evident material mistake in the description            would otherwise be void ab initio as violations of
       of any person, thing, or property referred to in the award.          the automatic stay”).

    (b) Where the arbitrators have awarded upon a matter not         For the foregoing reasons, the Court concludes that the
       submitted to them, unless it is a matter not affecting the    automatic stay applied to Allied's claim against Marquis but
       merits of the decision upon the matter submitted.             did not apply to those portions of the arbitration proceedings
                                                                     that involved Marquis' claims against Allied. Because the
    (c) Where the award is imperfect in matter of form not           arbitration panel exceeded its powers under 9 U.S.C. § 10
       affecting the merits of the controversy.                      in deciding Allied's claim against Marquis, but acted within
                                                                     its powers in deciding Marquis' claim against Allied, the
9 U.S.C. § 11.
                                                                     Court must consider two options: vacating the entire award or
                                                                     modifying the award. The Court is not authorized to modify
The Court does not have authority under Section 11 to
                                                                     the arbitration award because there is no evidence that the
modify the arbitration award. In ruling on Allied's claim for
                                                                     panel's decision on Allied's claim against Marquis affected
declaratory relief, which fell within the scope of the automatic
                                                                     the merits of the panel's decision on Marquis' claims against
stay, the panel arguably “awarded upon a matter not submitted
                                                                     Allied. The Court declines to vacate the entire award because
to them.”    9 U.S.C. § 1     1(b). Nonetheless, that matter         the panel was acting, in part, within its powers by continuing
had no effect on “the merits of the decision upon” Marquis'



                 © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                               7
    Case 23-04510            Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                           Desc Exhibit
                                                   C Page 65 of 81

the arbitration proceedings and issuing the final award on        modifying an arbitration award,” and courts cannot use extra-
Marquis' claim after Genmar petitioned for bankruptcy.            statutory bases to vacate arbitral awards pursuant to FAA
                                                                  claims.     552 U.S. at 586;       Prime Therapeutics, 555
   B. The Arbitration Panel's Interpretation of the               F.Supp.2d at 999; see also    Citigroup Global Markets, Inc.
   Dealer Agreements                                              v. Bacon, 562 F.3d 349, 355 (5th Cir.2009) (holding that
 *9 Allied and Marquis entered into arbitration pursuant to       manifest disregard of the law no longer constitutes a non-
the dealer agreement. This dispute falls within the scope         statutory ground for vacating awards under the FAA).
of § 3.7 of the dealer agreement, which states that “any
action, whether sounding in contract, tort, or otherwise ...      In Carey Rodriguez Greenberg & Paul, LLP v. Arminak,
arising out of or in connection with [this agreement]” shall      the United States District Court for the Southern District of
be resolved by binding arbitration. (See, e.g., Marquis Yachts    Florida, relying on Hall Street, considered and rejected the
Dealer Agreement 2009 Model Year § 3.7, Docket No. 14.)           defendant's claim that public policy is a valid non-statutory
Allied argues that the arbitration panel exceeded its powers      basis for vacatur under the FAA. 583 F.Supp.2d 1288, 1290–
by ignoring plain language in the dealer agreement.               91 (S.D.Fla.2008). The Arminak court acknowledged that
                                                                  Hall Street allows for the possibility that other grounds could
As noted above, 9 U.S.C. § 10(a)(4) allows the Court to           provide a proper basis for vacatur where the parties do not
vacate an arbitral award “where the arbitrators exceeded          seek review of the arbitration award under the FAA. Id. at
their powers, or so imperfectly executed them that a mutual,
                                                                  1291 (quoting      Hall Street, 552 U .S. at 590); see    Hall
final, and definite award upon the subject matter submitted
                                                                  Street, 552 U.S. at 590 (“In holding that §§ 10 and 11 provide
was not made.” This Court does not have the power or
                                                                  exclusive regimes for the review provided by the statute, we
prerogative to second-guess the arbitration panel's findings as
                                                                  do not purport to say that they exclude more searching review
to the contractual dispute, and must give those findings an
                                                                  based on authority outside the statute as well. The FAA is
“extraordinary level of deference.” Crawford Group, 543 F.3d
                                                                  not the only way into court for parties wanting review of
at 976.
                                                                  arbitration awards: they may contemplate enforcement under
                                                                  state statutory or common law, for example, where judicial
The parties do not dispute that the arbitration panel had
                                                                  review of different scope is arguable.”). The court concluded
authority under § 3.7 of the dealer agreement to decide
                                                                  that it could not consider non-statutory grounds for vacatur,
any contract claims. Indeed, both parties pursued arbitration
                                                                  such as public policy, because the plaintiff petitioned for
on the same day. Instead, Allied argues that the arbitration
                                                                  confirmation of the award under the FAA and because the
panel “exceeded [its] powers” by incorrectly interpreting
                                                                  defendant had “not filed a motion to vacate pursuant to a
the dealer agreement. See 9 U.S.C. § 10(a)(4). “Judicial
                                                                  non-FAA alternative that also governs the enforcement of
review of arbitration awards is narrow because arbitration is
                                                                  arbitration awards (e.g., a system for enforcement under either
intended to be the final resolution of disputes. Arbitrators
                                                                  state statutory law or state common law).” Id.
do not act as junior varsity trial courts where subsequent
appellate review is readily available to the losing party.”
                                                                   *10 The Court agrees with and adopts Arminak's reasoning.
    Nat'l Wrecking Co. v. Int'l Bhd. of Teamsters, Local 731,     Public policy is not one of the exclusive statutory grounds
990 F.2d 957, 960 (7th Cir.1993). The interpretation of the       that the FAA provides for vacating arbitration awards. Allied
dealer agreements is a factual finding within the authority       provides no explanation for why state law should govern
of the arbitration panel. The panel identified the relevant       vacatur in this instance or of how state law would support
portions of the dealer agreement and applied them to the facts    vacatur.
presented in the arbitration proceedings. The Court defers
to the panel's findings and concludes that the panel did not
exceed its powers in construing the dealer agreement.                C. Post–Award Interest
                                                                  Allied argues that the Magistrate Judge erred in
Allied argues that beyond the statutory provisions, this Court    recommending that the Court order Allied to pay Marquis
can invalidate arbitral awards on the broad grounds of “public    monetary damages not awarded by the arbitration panel. 5
policy.” Hall Street clarified that “Sections 10 and 11 of
the FAA provide the exclusive grounds for vacating and



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                            8
    Case 23-04510             Doc 20-4       Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                         Desc Exhibit
                                                   C Page 66 of 81

5                                                                Generally, prejudgment interest is appropriate “when the
       Marquis does not object to the Magistrate
                                                                 amount of the underlying liability is reasonably capable
       Judge's recommendation that the Court deny
                                                                 of ascertainment and the relief granted would otherwise
       Marquis' request for post-award attorney's fees, and
                                                                 fall short of making the claimant whole because [he] has
       therefore the Court denies Marquis' request for
                                                                 been denied the use of money which he was legally due.”
       summary judgment to the extent that it requests
       such fees. (See Pl.'s Mem. in Opp'n to Defs.'                Stroh Container Co. v. Delphi Indus., Inc., 783 F.2d
       Objection to Report & Recommendation, Docket              743, 752 (8th Cir.1986). Prejudgment interest serves several
       No. 38.)                                                  purposes: compensating prevailing parties for the true costs
The final award directs Allied to complete the purchase          of damages, deterring attempts to benefit unfairly from the
and take delivery of the yacht, and to compensate Marquis        unavoidable delays of litigation, and promoting settlement in
for certain pre-award interest, mitigation damages, attorney's   cases where liability and the amount of damages are fairly
fees, and arbitration fees and expenses. The Magistrate Judge    certain. Id. (citing    Gen. Facilities, Inc. v. Nat'l Marine
recommended that the Court order Allied to pay Marquis           Serv., Inc., 664 F.2d 672, 674 (8th Cir.1981)). Courts should
the contracted price for the yacht and that Allied accept        award prejudgment interest so long as no exceptional or
delivery of the yacht. The Magistrate Judge specified that       unusual circumstances exist that would make such an award
Allied should pay Marquis a total of $2,987,170.53, which        inequitable. Ohio River Co. v. Peavey Co., 731 F.2d 547,
is the sum Marquis requested, and which includes specific        549 (8th Cir.1984). Allied offers no specific objection to
performance of payment of the $2,731,174 purchase price          the Magistrate Judge's recommendation that the Court award
of the yacht. Other than the issue of prejudgment interest,      prejudgment interest. (See Objections, Docket No. 31.)
discussed below, the Court finds no appreciable difference
between the final arbitration award and the Magistrate           Marquis has suffered avoidable delay waiting to receive the
                          6                                      final award. The arbitration panel finalized the award in late
Judge's recommendation. To the extent that Allied objects
to the Magistrate Judge's decision to combine the specific       June. After the panel issued the final award, Allied refused
performance portion of the final award with the other            to pay, prompting Marquis to file the instant petition for
monetary relief in the final award, the Court's order reflects   confirmation. The Magistrate Judge issued the Report and
which portion of Allied's monetary obligation to Marquis         Recommendation in mid-December, but Allied objected to
is specific performance and which portion comprises the          it, compounding the avoidable delay. Allied has had unfair
monetary award of mitigation damages, attorney's fees,           benefit of the money for several months. The Court finds
interest, and arbitration expenses.                              no exceptional or unusual circumstances that might make an
                                                                 award of prejudgment interest inequitable.
6      According to the Court's calculations, the
       arbitration panel awarded Marquis a total
       of $2,988,127.70, including $2,731,174 in                                           ORDER
       performance on the contract to purchase the yacht,
       $6,484.05 in mitigation damages, $91,301.75                *11 Based on the foregoing, and all the records, files and
       in interest, $113,782.08 in attorney's fees               proceedings herein, the Court OVERRULES Defendants'
       and expenses, and $45,385.82 in arbitration               objections [Docket No. 31] and ADOPTS the Magistrate
       expenses and arbitrator fees. Marquis, however,           Judge's Report and Recommendation [Docket No. 28] as
       represented that the final award “requires                modified. Accordingly, IT IS HEREBY ORDERED that:
       Defendants to pay Marquis the aggregate sum
       of $2,987,170.53.” (Application for Confirmation          1. The Final Arbitration Award is CONFIRMED:
       of Arbitration Award at 1, Docket No. 1.)
                                                                   a. With respect to the award of specific performance:
       Because neither party has questioned this minor
       discrepancy, and because the discrepancy operates              i. Allied is ORDERED to pay Marquis $2,731,174; and
       in Allied's favor, the Court declines to order Allied
       to pay Marquis more than what Marquis requested                Marquis is ORDERED to deliver and Allied is
       in its application for confirmation of the arbitration         ORDERED to accept delivery of the Marquis 720 Tri–
       award.                                                         Deck Yacht, hull No. A2004.



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                          9
    Case 23-04510           Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Marquis Yachts v. Allied Marine Group, Inc. (North), Not Reported in F.Supp.2d (2010)
                                                                                                               Desc Exhibit
                                                   C Page 67 of 81

  b. With respect to the remainder of the award, Allied is              a. Plaintiff's request for post-award attorney's fees is
  ORDERED to pay Marquis $255,996.53 in mitigation                      DENIED; and
  damages, interest, attorney's fees and costs, and arbitration
  fees and expenses.                                                    b. In all other respects, Plaintiff's motion for summary
                                                                        judgment is GRANTED.
2. Allied is ORDERED to pay Marquis post-award interest
on the sum of $2,987,170.53, accrued from June 25, 2009 to            LET JUDGMENT BE ENTERED ACCORDINGLY.
the date judgment is entered at an annual prejudgment interest
rate of four (4) percent.
                                                                      All Citations
3. Plaintiff's Motion for Summary Judgment [Docket No. 4]
                                                                      Not Reported in F.Supp.2d, 2010 WL 1380137
is GRANTED in part and DENIED in part as follows:

End of Document                                                   © 2023 Thomson Reuters. No claim to original U.S. Government Works.




               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                               10
Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 68 of 81




                           EXHIBIT 7
     Case 23-04510          Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Sole Survivor Corp. v. Buxbaum, Not Reported in F.Supp.2d (2009)
                                                                                                      Desc Exhibit
                                                  C Page 69 of 81

                                                             denying Sole Survivor's Ex Parte Motion for an Order
                    2009 WL 210471                           to Show Cause re: Contempt (the “Ex Parte Motion”).
      Only the Westlaw citation is currently available.      Appellants contend that Appellees-the Buxbaum Group, LLC
               United States District Court,                 (“Buxbaum”), Paul Buxbaum, and Sole Asset Holdings, Inc.
                     C.D. California.                        (“SAH”) (collectively “Appellees”)-violated the automatic
                                                             stay imposed by      11 U.S.C. § 362 1 by implementing a
         SOLE SURVIVOR CORP., Appellant(s),                  sham transfer of all of Sole Survivor's assets to a strawman
                       v.                                    corporation followed by a foreclosure sale.
          Paul BUXBAUM, et al., Appellee(s).
                                                             1
                    No. CV 07-3858-GW.                              Unless otherwise indicated, all references to
                               |                                    statutes herein are to Title 11 of the United States
                        Jan. 22, 2009.                              Code.
                                                             Pursuant to Rule 8012 of the Federal Rules of Bankruptcy
                                                             Procedure (“FRBP”) and Local Rule 7, the Court finds the
 West KeySummary
                                                             matter appropriate for disposition without oral argument. 2
                                                             The Court now DISMISSES the appeal for want of
 1      Bankruptcy         Right of review and persons       jurisdiction.
        entitled; parties; waiver or estoppel
        Company's only shareholder lacked standing           2      This Court finds that the facts and legal arguments
        to challenge the denial of company's ex parte               are adequately presented in the briefs and
        motion in a bankruptcy case. The company was                record, and the decisional process would not be
        the only debtor in the underlying bankruptcy
        case and the shareholder was not a debtor or                significantly aided by oral argument. See Matter
        otherwise a party in that matter. The ex parte              of Thirtyacre, 36 F.3d 697, 701 (7th Cir.1994).
        motion was brought only by the company, and
        the shareholder was not named as a moving party.     II. Factual and Procedural Background
        Therefore, the order denying the ex parte motion     Sole Survivor's Ex Parte Motion was filed on March 14, 2007.
        referred only to the company as the moving party.    See Docket Sheet for U.S. Bankruptcy Court, Central District
                                                             of California Case Number 1:04-bk-16544-MT, Exhibit 1
                                                             in Appellants' Opening Appendix on Appeal (“Appellants'
                                                             App.”) at page 3. The factual background of this matter is
                                                             fairly byzantine, and is repeated here only in enough detail to
Decision re Appeal from the United States Bankruptcy Court   provide the necessary context, as this appeal can be resolved
for the Central District of California Bankruptcy Case No.   upon consideration of certain threshold matters.
04-17544-MT.
                                                             Sole Survivor was a manufacturer of sportswear and related
                                                             products under a number of different marks. See Declaration
     DECISION RE APPEAL FROM THE UNITED                      of Donald N. Love (“Love Decl.”) ¶¶ 2-3, attached as Exhibit
      STATES BANKRUPTCY COURT FOR THE                        3 to Appellants' App. at 39. At all relevant times, Love was
       CENTRAL DISTRICT OF CALIFORNIA,                       Sole Survivor's only shareholder and, apparently, its only
        BANKRUPTCY CASE No. 04-17544-MT                      director and officer. Id. ¶ 1, Appellants' App. at 38.

GEORGE H. WU, District Judge.                                In 2003 and 2004, Sole Survivor began to experience severe
                                                             cash flow problems, and turned to Buxbaum with the intent
I. Introduction                                              of having Buxbaum provide both a secured credit facility as
 *1 Appellants Sole Survivor Corp. (“Sole Survivor”) and     well as expertise in negotiating with creditors for the purpose
Donald N. Love (“Love”) (together “Appellants”) appeal       of obtaining either discounts or workout arrangements with
a Bankruptcy Court Order entered on May 24, 2007,            those creditors. Id. ¶ 7, Appellants' App. at 40. In 2004, Sole



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                         1
    Case 23-04510            Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Sole Survivor Corp. v. Buxbaum, Not Reported in F.Supp.2d (2009)
                                                                                                           Desc Exhibit
                                                   C Page 70 of 81

Survivor and Buxbaum entered into a business relationship, in     to an entity called Gramicci, Inc. (“Gramicci”) for the
which Buxbaum extended Sole Survivor a significant amount         sum of $5,000. 5 See Bill of Sale attached as Exhibit 8
of credit 3 in exchange for a security interest in “virtually     to Appellants' App. at 246-50. Gramicci was apparently
all” of its assets. See Love Decl. ¶¶ 7-10, Appellants' App.      created on November 22, 2004. See Appellants' App. at
at 40-42; Declaration of Paul Buxbaum (“Buxbaum Decl”)            347. On December 6, 2004, SAH was created. Id., at 211.
¶ 7, attached as part of Exhibit 20 to Appellees' Opening         The foreclosure sale of the assets of Sole Survivor (which
Appendix on Appeal (“Appellees' App.”) at page 273. 4 By          were at that point owned by Gramicci) went forward on
November 2004, Buxbaum had loaned $2,984,064 to Sole              December 7, 2004. Buxbaum Decl. ¶ 14, Appellees' App. at
Survivor (Buxbaum Decl. ¶ 7, Appellees' App. at 273), and         276. Following the foreclosure sale, at which the Buxbaum
the latter was in default on its obligations to Buxbaum. Id. ¶    Group was the successful bidder (having proffered its credit
9, Appellees' App. at 274. On November 13, 2004, Buxbaum          bid of $3,025,000), the Sole Survivor assets were transferred
sent Sole Survivor (and its creditors) a “Notice of Default and   to SAH. Id., Appellants' App. at 215-16. Love subsequently
Exercise of Reservation of Rights,” and initiated a foreclosure   entered into a consulting agreement with SAH. Appellees'
sale. Id. ¶ 10, Appellees' App. at 274; and Compendium,           App. at 332-37.
Exhibit 14, Appellants' App. at 186-88. Notices of Sale were
published in the Los Angeles Times on November 21 and 28,         5      Love contends that he could not have signed the
2004. Compendium, Exhibits 15 and 16, Appellants' App. at                documents related to the sale of Sole Survivor's
191 and 194.                                                             assets to Gramicci-i.e., the Bill of Sale and
                                                                         the “Joint Unanimous Written Consent of Board
3                                                                        of Directors and Shareholders on Sole Survivor
       Buxbaum made two loans to Sole Survivor in
       the aggregate principal amount of $870,000, and                   Corporation” (to which he is the sole signatory)-
       provided a secured revolving credit facility in the               before December 6, 2004, and that they were not
       amount of $4 million (the “Buxbaum Loans”).                       forwarded to him for his review until December 4,
       Love Decl. ¶¶ 8-10, Appellants' App. at 40-42.                    2004.

4                                                                 Neither Love nor Sole Survivor contested the Involuntary
       Buxbaum's security interest in Sole Survivor's
                                                                  Petition. On January 24, 2005, the Bankruptcy Court entered
       assets was perfected by the filing of UCC-1
                                                                  its Order of Relief and Order to File Schedules and Statement
       financing statements with the California Secretary
                                                                  of Affairs (the “Order of Relief”). Six separate meetings of
       of State. See Buxbaum Decl. ¶ 7, Appellees' App. at
                                                                  creditors were noticed under Bankruptcy Code § 341(a), but
       273; and Exhibits 6 and 13 attached to Evidentiary
                                                                  Sole Survivor and Love never appeared and no meeting of
       Compendium of Exhibits (“Compendium”) which
                                                                  creditors was ever conducted. Buxbaum Decl. ¶ 15 & Ex. G,
       is part of Exhibit 7 to Appellants' App. at 127-29
                                                                  Appellees' App. at 276 and 306-27). Sole Survivor and Love
       and 181-84.
                                                                  never filed the Debtor's Schedules of Assets and Liabilities or
 *2 On November 29, 2004, Camelot Enterprises, which              Statement of Financial Affairs in compliance with the Order
had been Sole Survivor's landlord until June of 2004, and         for Relief. Id. On August 12, 2005, the Bankruptcy Court
was afterward its judgment creditor, initiated Sole Survivor's    entered an order dismissing the case “[f]or reasons orally
bankruptcy case by filing an involuntary bankruptcy petition      stated on the record.” 6 Appellants' App. at 242-43. On June
under Chapter 7 of the Bankruptcy Code (the “Involuntary          7, 2006, the Clerk of the Bankruptcy Court entered an order
Petition”). Compendium, Exhibit 17, Appellants' App. at           administratively closing the bankruptcy case because of the
197-98. Buxbaum was served a copy of the summons and              August 12, 2005 Order and “[s]ince it appears that no further
other notices by mail on December 2, 2004. Id., Exhibit 20,       matters are required[,] ... that this case remain open, or that
Appellants' App. at 207-08.                                       the jurisdiction of this Court continue....” Appellants' App. at
                                                                  245.
In his declaration, Buxbaum stated that “because of” the
Involuntary Petition, the foreclosure sale was continued to       6
December 7, 2004. Buxbaum Decl. ¶ 11, Appellees' App. at                 The transcript of the August 12, 2005 hearing was
275. According to a Bill of Sale dated December 1, 2004,                 not included in the parties' Appendices.
on that date all of Sole Survivor's assets were transferred



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             2
      Case 23-04510            Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Sole Survivor Corp. v. Buxbaum, Not Reported in F.Supp.2d (2009)
                                                                                                              Desc Exhibit
                                                      C Page 71 of 81

Sole Survivor's original contention in its Ex Parte Motion-             moving and opposing papers and concomitant evidence,
which did not discuss the transfer to Gramicci-was that the             Bankruptcy Judge Maureen Tighe found and concluded
foreclosure sale violated the automatic stay. 7 See Appellants'         that: 1) Love was the “main officer of the Debtor”
App. at 32. The Ex Parte Motion was not directly calendared.            during the relevant period; 2) Love was “participating”
See Appellants' App. at 435. Instead, the Bankruptcy Court              in the operations of Sole Survivor, including obtaining a
directed Sole Survivor to file a motion to reopen the                   consulting agreement with Gramicci following the sale of
bankruptcy case, which it did. See Exhibit 19 to Appellees'             Sole Survivor's assets to Gramicci; 3) Sole Survivor/Love
App. On May 16, 2007, the Bankruptcy Court issued a                     waited two and a half years after the foreclosure sale (of
tentative ruling denying Sole Survivor's motion to reopen the           which Love was aware) before filing the Ex Parte Motion
bankruptcy case. Appellants' App. at 419. That ruling stated            claiming that the foreclosure sale and transfer of assets
in part:                                                                violated the automatic stay; 4) Sole Survivor/Love had
                                                                        not appeared at any of the Section 341(a) meetings, filed
7                                                                       any Schedule of Assets and Liabilities or Statement of
         Appellants now contend that, because soliciting
                                                                        Financial Affairs, or otherwise participated in the Chapter
         a debtor's signature on documents that assign or
                                                                        7 proceedings; 5) both the Trustee and the Bankruptcy
         sell the debtor's right, title, or interest in any type
                                                                        Court were aware of the transfer and foreclosure sale
         of property constitutes a violation of     § 362(a)            before deciding in August 2005 to dismiss the Chapter
         (3), the transfer to Gramicci was void as a matter             7 bankruptcy; 6) the Trustee had reasonably concluded
         of law so that the foreclosure sale was still a                before the dismissal that there was no chance of some
         violation of the automatic stay. Alternatively, they           return to unsecured creditors and that, even if the transfer
         argue that the sale is subject to avoidance under §            was voided, the only possible benefit would be to the
         549, because a debtor's freedom to make transfers              remaining secured creditor CIT; 7) the “case was dismissed
         during the “gap-period” under authority of § 303(f)            for good reason and not due to fraud on the Court;” and 8)
         is limited to the extent that it receives value for            the Ex Parte Motion would be denied because, in essence,
         the transfer. Thus, the most that could have been              “[i]t would be a waste of time.” Appellants' App. at 451-54.
         removed from the bankruptcy estate as a result of           On May 24, 2007, the Bankruptcy Court entered its Order
         the purported sale would be $5,000.                         Denying Motion to Reopen (Appellees' App. 349-51) and
                                                                     its Order Denying the Ex Parte Motion (Appellants' App.
     *3 First, a motion to reopen is not applicable here. The        457-63). Appellants have appealed the latter order, but not
    bankruptcy case was dismissed because the debtor failed to       the former, as they contend that the Bankruptcy Court had
    appear at several 341(a) meetings and no schedules were          jurisdiction to issue an order to show cause even without
    ever filed. 9th Cir. law clearly states that a dismissed case    reopening the bankruptcy case. See Exhibit 15 to Appellants'
                                                                     App.
    cannot be reopened, see       In re Pavelich, 229 B.R. 777,
    781 (9th Cir.1999); In re Income Property Builders, Inc.,
    699 F.2d 963, 965 (9th Cir.1982).                                III. Legal Standard
                                                                     It is noted that Appellants' Brief does not contain a statement
      Second, even if the court were to deem the motion a            of the appropriate standard of review on appeal as required
      motion to vacate dismissal, the one year time period to        by FRBP 8010(a)(1)(A). District courts have jurisdiction to
                                                                     hear appeals “from final judgments, orders, and decrees” of
      bring such a motion has passed. Under      F.R.C.P. Rule
      60, made applicable by F.R.B.P. Rule 9024, a court may         the bankruptcy court.     28 U.S.C. § 158(a). In considering
      relieve a party from an order for fraud, but the motion        a bankruptcy appeal, a district court must review findings of
      shall be made not more than one year after the order was       fact under a “clearly erroneous” standard and conclusions of
      entered.
                                                                     law de novo.      Lundell v. Anchor Const. Specialists, Inc.,
    Id. Thereafter, on that same day, a hearing was held as to the   223 F.3d 1035, 1039 (9th Cir.2000). Questions of statutory
    motions. After listening to arguments of attorneys for Sole      construction and interpretation are conclusions of law and are
    Survivor and Buxbaum plus statements from the Chapter            reviewed de novo.      In re MacIntyre, 74 F.3d 186, 187 (9th
    7 Trustee (i .e. Diane C. Weil, Esq.) and considering the        Cir.1996).



                 © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                             3
     Case 23-04510             Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Sole Survivor Corp. v. Buxbaum, Not Reported in F.Supp.2d (2009)
                                                                                                          Desc Exhibit
                                                     C Page 72 of 81


*4 A court's denial of a motion for contempt is generally           2. As a general rule, the bankruptcy court has jurisdiction
                                                                    over contempt proceedings arising from violations of the
reviewed for abuse of discretion. See Irwin v. Mascott, 370         automatic stay even after a case has been dismissed.
F.3d 924, 931 (9th Cir.2004). It has been suggested, however,     The Bankruptcy Court's jurisdiction to consider the Ex
that less deference should be applied in the context of an        Parte Motion did not depend on whether the bankruptcy
automatic stay violation. See      Jove Eng'g v. IRS, 92 F.3d     case could be reopened. The Bankruptcy Code does not
1539, 1546 (11th Cir.1996). Whether a bankruptcy court has        provide for reopening a case that has been dismissed. As the
jurisdiction to issue a contempt order after dismissal has been   Bankruptcy Appellate Panel (“B.A.P.”) stated in    Pavelich
entered and after a case has been dismissed and/or closed is      v. McCormick, Barstow, Sheppard, Wayte & Carruth LLP (In
a question of law.                                                re Pavelich), 229 B.R. 777, 781 (B.A.P. 9th Cir.1999):

“[T]he federal courts are under an independent obligation           Reopening a dismissed case is an oxymoron-since the
to examine their own jurisdiction, and standing is perhaps          consolidated cases were dismissed rather than closed, there
                                                                    are no closed cases to reopen. See Armel Laminates, Inc. v.
the most important of the jurisdictional doctrines.”  United
States v. Hays, 515 U.S. 737, 742, 115 S.Ct. 2431, 132              Lomas & Nettleton Co. ( In re Income Prop. Bldrs., Inc.),
L.Ed.2d 635 (1995) (citation, internal quotes, and brackets         699 F.2d 963 (9th Cir.1983). Moreover, the Bankruptcy
omitted). The party who invokes federal jurisdiction on             Code differentiates closing a case from dismissing a case
appeal bears the burden of establishing standing. United            in a fashion that arguably treats closing and dismissal as
States v. San Francisco, 979 F.2d 169, 171 (9th Cir.1992).          mutually exclusive. See, e.g., 11 U.S.C. §§ 349-350(a).

                                                                    The procedural alternative is merely to make a motion
IV. Analysis                                                        or file an adversary proceeding on a retained jurisdiction
                                                                    theory in a dismissed case. [Citations].
    A. Appellants Lack Standing to Bring this Appeal.
                                                                  The parties disagree about whether a “retained jurisdiction
1. Love has no standing to bring this appeal.
                                                                  theory” would permit the Bankruptcy Court to entertain
Sole Survivor was the only debtor in the underlying
bankruptcy case. Love was not a debtor or otherwise a party       contempt proceedings. 11 U.S.C. § 362(k)(1) provides that
in that matter.                                                   “individuals” injured by a willful violation of the automatic
                                                                  stay may recover damages. 9 “For other debtors [who are not
The Ex Parte Motion was brought only by Sole Survivor, and        ‘individuals'], contempt proceedings are the proper means of
Love is not named as a moving party. The Order denying the        compensation and punishment for willful violations of the
Ex Parte Motion refers only to Sole Survivor as the moving
                                                                  automatic stay.” Johnston Envt'l Corp. v. Knight ( In re
party. 8
                                                                  Goodman), 991 F.2d 613, 620 (9th Cir.1983) (brackets in
                                                                  original). The B.A.P. has held that actions for damages based
8          Love was named as a movant in the Motion               on violations of the automatic stay are not rendered moot by
           to Reopen the Bankruptcy Case wherein he is
                                                                  dismissal of the underlying bankruptcy. See, e.g.,     Davis
           characterized as an “unsecured creditor/equity
                                                                  v. Courington (In re Davis ), 177 B.R. 907, 911 (B.A.P. 9th
           interest holder.” However, as noted above, the
                                                                  Cir.1995). Similarly, after a case has been dismissed, “...
           motion to reopen was not made a part of the present
                                                                  the bankruptcy court retains subject matter jurisdiction to
           appeal.
                                                                  interpret orders entered prior to dismissal of the underlying
Given the fact that Love was not a party or movant as to the      bankruptcy case ... and to dispose of ancillary matters.”
Ex Parte Motion, he lacks standing to challenge its denial on
                                                                     Tsafaroff v. Taylor (In re Taylor ), 884 F.2d 478, 481 (9th
appeal.
                                                                  Cir.1989).




                  © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                        4
    Case 23-04510              Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Sole Survivor Corp. v. Buxbaum, Not Reported in F.Supp.2d (2009)
                                                                                                               Desc Exhibit
                                                      C Page 73 of 81

9                                                                     requirement that a closed bankruptcy case be reopened before
        Sole Survivor, as a corporation, cannot utilize 11            “arising under” jurisdiction can be exercised).
        U.S.C. § 362(k) as a vehicle for obtaining damages
        arising from a violation of the automatic stay.
                                                                         3. Sole Survivor and Love lacked standing to initiate
        See     In re Colortron. Inc., 210 B.R. 823, 828
                                                                         contempt proceedings and therefore lack standing to
        (B.A.P. 9th Cir.), aff'd in part and rev'd in part on
                                                                         bring this appeal.
        other grounds, 165 F.3d 35 (9th Cir.1997); In re              Appellees also contend that Sole Survivor lacked standing
        Goodman, 991 F.2d 613, 616 (9th Cir.1993).                    to initiate contempt proceedings because it was hopelessly
                                                                      insolvent. This Court agrees. Only those persons who are
 *5 As noted in        In re Income Property Builders, Inc.,          directly and adversely affected pecuniarily by an order of
699 F.2d 963, 965 (9th Cir.1982): “[a]n order dismissing a            the bankruptcy court have been held to have standing to
bankruptcy case accomplishes a completely different result
than an order closing it would and is not an order closing.”          appeal that order.    In re Fondiller, 707 F.2d 441, 442 (9th
In Income Property, the B.A.P. dismissed an appeal as moot            Cir.1983). This standing limitation is more restrictive than the
where the debtor sought to reimpose the automatic stay after          requirement for Article II I standing. As the B.A.P. observed:
the dismissal of the underlying bankruptcy case. It held that
the stay arises by operation of bankruptcy law and that after
the dismissal of the underlying case it no longer had the power                    Bankruptcy standing is narrower than
to restore the proceeding or to reimpose the stay. Id. at 964.                     Article III standing. Spenlinhauer v.
Courts faced with requests to reopen a dismissed bankruptcy                        O'Donnell (In re Spenlinhauer ), 261
case under § 350(b) have relied upon Income Property in                            F.3d 113, 117 (1st Cir.2001):    Cult
denying the requests. See, e.g.,        In re Woodhaven, Ltd.,                     Awareness Network v. Martino (In re
139 B.R. 745, 747-48 (Bankr.N.D.Ala.1992) (“[A] closed                             Cult Awareness Network ), 151 F.3d
case and a dismissed case represent totally different results;                     605, 607 (7th Cir.1998). * * * *
closing a case contemplates a full estate administration and                       A “person aggrieved” is one whose
the completion of the bankruptcy process, whereas dismissing                       property is diminished, burdens are
a case restores the assets and parties to their prepetition status,                increased, or rights are impaired by
as if the case had never been filed.”).                                            order on appeal.    In re El San
                                                                                   Juan Hotel, 809 F.2d 151, 154 (1st
In    Aheong v. Mellon Mortg. Co. (in Re Aheong ), 276                             Cir.1987).
B.R. 233 (B.A.P. 9th Cir.2002), however, the B.A.P. held
the bankruptcy court had jurisdiction to annul an automatic
stay under either ancillary or “arising under” jurisdiction           *6 Great Rd. Serv. Ctr., Inc. v. Golden (In re Great Rd. Serv.
notwithstanding the dismissal of the case and regardless of           Ctr., Inc.), 304 B.R. 547, 550 (B.A.P. 1st Cir.2004); see also
whether the case was reopened. Appellees note that no court
                                                                         Kane v. Johns-Manville Corp., 843 F.2d 636, 642 n. 2 (2d
has held that “ancillary matters” include contempt of court.
However, a party seeking an OSC re contempt is not seeking            Cir.1988). As stated by the Ninth Circuit in    In re Fondiller,
new relief, but is simply seeking enforcement of a prior order.       707 F.2d at 442-43:

   Id. at 241. The relief sought here is more akin to that
sought in Aheong than the relief sought in cases where courts
have found a lack of jurisdiction. Thus, the fact that the                         Only those persons who are directly
bankruptcy case had been dismissed, did not, by itself, deprive                    and adversely affected pecuniarily by
the court of jurisdiction. Similarly, the Clerk's administrative                   an order of the bankruptcy court
act of ordering the bankruptcy case “closed” did not have                          have been held to have standing to
                                                                                   appeal that order. Hartman Corp. of
any jurisdictional significance. Cf. Menk v. Lapaglia (in Re                       America v. United States, 304 F.2d
Menk ), 241 B.R. 896 (B.A.P. 9th Cir.1999) (no jurisdictional                      429, 431 (8th Cir.1962); see Skelton
                                                                                   v. Clements, 408 F.2d 353 (9th Cir.),


                © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                                5
    Case 23-04510           Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Sole Survivor Corp. v. Buxbaum, Not Reported in F.Supp.2d (2009)
                                                                                                         Desc Exhibit
                                                   C Page 74 of 81

            cert. denied, 394 U.S. 933, 89 S.Ct.                               brought, but the chances of success
            1202, 22 L.Ed.2d 462 (1969). Thus,                                 were very limited.
            a hopelessly insolvent debtor does
            not have standing to appeal orders
            affecting the size of the estate. E.g.,              Id. at 448.
            Skelton v. Clements, 408 F.2d at 354.
            Such an order would not diminish the                 Obviously, Appellants are now asserting that they suffered
            debtor's property, increase his burdens,             pecuniary harm from Appellee's purported violation of the
            or detrimentally affect his rights. In               automatic stay (and, therefore, that they have a pecuniary
            re Capitano, 315 F.Supp. 105, 107                    interest that was affected by the Bankruptcy Court's denial of
            (E.D.La.1970).                                       the Ex Parte Motion). It is clear from the Bankruptcy Judge's
                                                                 and the Trustee's comments, however, that the question
                                                                 whether Sole Survivor or Love could have had an interest
At the hearing, the Bankruptcy Judge concluded that:             that was “directly and adversely affected pecuniarily” by
                                                                 Buxbaum's supposed violation of the automatic stay was
                                                                 already considered and decided when the bankruptcy case
                                                                 was dismissed. Certainly, Appellants had the opportunity
            I think [the order of dismissal] was
                                                                 to demonstrate that they had such an interest while the
            a proper analysis of whether or not
                                                                 bankruptcy case was pending, and failed to do so. To find
            this was a bankruptcy case that should
                                                                 that they now have standing to raise the violation of the
            continue. It was clear that it was
                                                                 automatic stay would conflict with the finding implicit in
            of no economic benefit to continue
                                                                 the Bankruptcy Court's Order of Dismissal that there was no
            [the bankruptcy case] and that it was
                                                                 economic benefit to continuing the bankruptcy case.
            properly dismissed. So I see no reason
            to revisit that. And because of that,
                                                                  *7 Even assuming that the Bankruptcy Court's Order of
            I'm not going to grant the ex-parte
                                                                 Dismissal does not have any preclusive effect with respect
            application because there would be no
                                                                 to the issue of standing, the only indication that Love and/
            sense in doing that. It would incur a lot
                                                                 or Sole Survivor suffered pecuniary harm as a result of the
            of legal fees and not bring any return
                                                                 foreclosure sale comes in the form of Love's own estimate of
            at all to unsecured creditors. It would
                                                                 the “going concern/reorganization value” of the company of
            be a waste of time.
                                                                 between $12 million and $15 million. However, the Debtor's
                                                                 total assets prior to the foreclosure sale were listed on Sole
                                                                 Survivor's 2004 tax return as $3,680,529. See Appellants'
See Appellants' App. at 454. Additionally, the Bankruptcy        App. at 221. By Appellants' own admission, as of the Petition
Trustee stated at the hearing that both she and the Bankruptcy   date, Sole Survivor had at least $5,684,676 in secured debt.
Court had been advised about both the transfer to Gramicci       (Motion to Reopen, Appellees' App. 14:4-6). Appellees'
and the foreclosure. She further commented:                      estimate the secured debt at approximately $7,221,016.13.
                                                                 There is little reason to question the Bankruptcy Judge's and
                                                                 the Trustee's conclusion that, even if the Gramicci transfer
            And did I think that the transfer                    were avoidable and the foreclosure sale undone, it would have
            from Sole Survivor to Gramicci was                   been fruitless to keep the Bankruptcy case open.
            avoidable? Probably. But as the Court
            aptly points out, to what benefit? There             Thus, Sole Survivor and Love cannot assert that they suffered
            were two liens encumbering the vast                  any pecuniary injury from any supposed violation of the
            majority of the assets. This was why                 automatic stay. As a consequence, they cannot assert that they
            the Buxbaum Group came in. And my                    have a pecuniary interest that was affected by the Bankruptcy
            ultimate conclusion was that yes, there              Court's denial of the Ex Parte Motion. Because Appellants
            probably was litigation that could be                lack standing, the Appeal must be dismissed for want of
                                                                 jurisdiction.



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                          6
    Case 23-04510           Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Sole Survivor Corp. v. Buxbaum, Not Reported in F.Supp.2d (2009)
                                                                                                          Desc Exhibit
                                                  C Page 75 of 81

                                                                 of its assets to Gramicci in December of 2004 (indeed it
                                                                 participated in the transfer) as well as the December 7th
   B. The Bankruptcy Court's Order Denying the Ex Parte          foreclosure sale. Sole Survivor waited more than two years
   Motion Was Not Reversible Error.                              and four months to bring its contempt motion even though the
Assuming arguendo that Sole Survivor had standing to bring       bankruptcy case was dismissed in August of 2005 and closed
the Ex Parte Motion seeking an order to show cause re            by the Bankruptcy Court Clerk in June of 2006. As observed
contempt as to Appellees' purported violation of the automatic
stay, it is readily apparent that the Bankruptcy Judge did not   in     Matthews v. Rosene, 739 F.2d 249, 251 (9th Cir.1984),
commit any error in dismissing the motion.                       in the context of orders issued in violation of the automatic
                                                                 stay, a bankruptcy court, as a court of equity, must be guided
As noted above, Sole Survivor as a corporation could not         by equitable principles in exercising its jurisdiction. Hence,
                                                                 the Bankruptcy Court can consider whether a party has acted
bring the contempt motion pursuant to     11 U.S.C. § 362(k).    in a timely fashion in seeking discretionary relief.
See     In re Goodman, 991 F.2d at 616. As observed in 3
Collier on Bankruptcy, 15th Edition Revised § 362.11[3] at        *8 Second, Sole Survivor is guilty of unclean hands in the
362-126 (2008):                                                  present situation. Not only did Sole Survivor fail to act in
                                                                 a timely manner, it itself was involved in the very conduct
                                                                 which it now says constituted a violation of the automatic
            Several    courts   have    considered               stay. The transfer of its assets to Gramicci was pursuant to a
                                                                 “Bill of Sale” wherein it agreed to said transfer in exchange
            whether      section 362(k) provides                 for $5,000. Furthermore, not only did Sole Survivor fail to
            all debtors with a remedy against                    inform the Bankruptcy Court and/or the Bankruptcy Trustee
            stay violators or whether its scope is               of the transfer/foreclosure sale but it violated the Bankruptcy
            limited by the reference in    section               Court's Order of Relief by failing to file its Schedule of
            362(k) to an “individual” injured by                 Assets and Liabilities and Statement of Financial Affairs
            a stay violation. The question is of                 which would have provided the information to the Court and
            some importance because, although                    the Trustee. Additionally, Sole Survivor failed to appear or
            a stay violation may be punished as                  otherwise participate in six separate meetings of creditors
            contempt, the imposition of a remedy                 wherein it could have sought to address the violation of the
            under a civil contempt procedure may                 automatic stay issue which it now seeks to litigate.
            be subject to a stricter standard than
                                                                 Third, both the Bankruptcy Judge and the Trustee were
            is imposed by        section 362(k)....
                                                                 informed by the Appellees prior to the dismissal of the
            Moreover, the power of a bankruptcy
                                                                 bankruptcy case as to “the transfer and the foreclosure,
            court to impose a civil contempt
                                                                 and CIT which provided [the Trustee] with copies of their
            sanction is subject to more extensive
                                                                 security documents.” Appellants' App. at 445. The Trustee
            procedural requirements than are
                                                                 concluded and the Bankruptcy Court agreed that, while the
            present in affording a remedy under
                                                                 transfer was “avoidable,” at that time there were two secured
                section 362(k). [Footnote omitted.]              liens encumbering the vast majority of Sole Survivor's assets
                                                                 such that any action on the violation of the automatic stay
                                                                 would not generate any financial benefit to either the debtor
                                                                 or unsecured creditors. For that reason, and others, the
A motion for contempt for violation of the automatic stay may
                                                                 bankruptcy case was dismissed. Given the conclusion that
be made pursuant to 11 U.S.C. § 105(a) and Rule 9020 of the
                                                                 Sole Survivor was not injured by either the transfer or the
FRBP.
                                                                 foreclosure sale, there would be no basis to hold the Appellees
                                                                 in contempt as to their purported violation of the automatic
The Bankruptcy Judge correctly pointed to a number of
                                                                 stay. As stated in In re: A & J Auto Sales, Inc., 223 B.R. 839,
factors which justify a denial of the contempt motion in
                                                                 845 (D.N.H.1998):
the exercise of the judge's discretion. First, the motion was
unconscionably late. Sole Survivor was aware of the transfer



               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                           7
     Case 23-04510          Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Sole Survivor Corp. v. Buxbaum, Not Reported in F.Supp.2d (2009)
                                                                                                              Desc Exhibit
                                                  C Page 76 of 81

                                                                           evidenced by his signatures on the Bill of sale,
                                                                           Receipt of Payment, and Corporate Consent, that
            Although ... the bankruptcy court's                            Love was aware of and facilitated and/or ratified
            contempt power allows it to                                    the transfer of Sole Survivor's assets to Gramicci.
            award damages for violations of                                See Appellees' App. 298-304. Love benefited from
            the automatic stay, this power is                              these transactions, because he subsequently entered
            discretionary. Thus, the bankruptcy                            into a consulting agreement with SAH under which
            court's decision not to award                                  he was paid $288,000 from January 2005 through
            sanctions is only reviewed for an                              March 2006, plus reimbursements for expenses
            abuse of discretion. The bankruptcy                            and other costs. See Rubenstein Decl. ¶ 5-8 &
            judge determined that damages were                             Ex. J, Appellees' App. 278-79 and 332-37. Neither
            inappropriate because the IRS had                              Sole Survivor nor Love contested the involuntary
            violated the stay in good faith and the                        petition. Sole Survivor failed to meet any of its
            debtor failed to present evidence of                           obligations under the Bankruptcy Court's orders,
            actual damages suffered as a result of                         and, through its inaction, failed to avail itself of any
            the violation. The court sees nothing to                       of the benefits afforded by the Bankruptcy Code. It
            suggest an abuse of discretion.                                is difficult to imagine that any court would allow
                                                                           Appellants to invoke those protections more than
                                                                           two years later, and Appellants have not come close
Judged by an abuse of discretion standard or even a less                   to making a creditable argument that it would be
lenient standard, the Bankruptcy Court's decision to deny                  appropriate to allow them to do so here.
the Ex Parte Motion-assuming that the motion properly
                                                                   V. Conclusion
could have been reached-was not reversible error. 10 The
                                                                   For the reasons stated above, the appeal is dismissed because
Bankruptcy Court properly concluded that granting the Ex
                                                                   of Appellants' lack of standing.
Parte Motion would be “a waste of time.” Harsher conclusions
could have been drawn.
                                                                   All Citations
10     Notwithstanding Love's contention that the dates
       on the documents are wrong, it is clear, as                 Not Reported in F.Supp.2d, 2009 WL 210471


End of Document                                                © 2023 Thomson Reuters. No claim to original U.S. Government Works.




               © 2023 Thomson Reuters. No claim to original U.S. Government Works.                                                    8
Case 23-04510   Doc 20-4   Filed 10/13/23 Entered 10/13/23 17:58:15   Desc Exhibit
                                 C Page 77 of 81




                           EXHIBIT 8
    Case 23-04510           Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Willick v. Napoli Bern Ripka & Associates, LLP, Not Reported in Fed. Supp. (2018)
                                                                                                         Desc Exhibit
                                                  C Page 78 of 81

                                                                 on asbestos-related cases. Compl. ¶ 7. Through the second
                    2018 WL 6443080                              contract (“Second Contract”), entered into on May 20, 2011,
      Only the Westlaw citation is currently available.          NBRA agreed to employ Plaintiff and pay him a portion of
       United States District Court, C.D. California.            the fees NBRA earned from cases he brought in. Compl. ¶¶
                                                                 8, 14. Plaintiff claims NBRA has not paid him compensation
              Marc WILLICK, Plaintiff,                           it owes him. Compl. ¶ 14
                        v.
              NAPOLI BERN RIPKA &                                Plaintiff sued NBRA; Napoli Bern Ripka Shkolnik &
                                                                 Associates, LLP; Napoli Bern Ripka Shkolnik, LLP; Napoli
          ASSOCIATES, LLP, et al., Defendants.
                                                                 Bern Ripka, LLP; Napoli Kaiser Bern, LLP; Marc Bern;
              Case No. 2:15-cv-00652-AB (Ex)                     and Paul Napoli (collectively, “Defendants”) in Los Angeles
                             |                                   County Superior Court on December 12, 2014. See Compl.
                    Signed 09/13/2018                            Defendants removed the case to this Court on January 28,
                                                                 2015 and then moved to compel arbitration. Dkt. Nos. 1,
Attorneys and Law Firms                                          27. Defendants based their motion to compel arbitration
                                                                 on a paragraph in the Second Contract that provided for
Colin Rolfs, James Lewis Goldman, Miller Barondess, LLP,
                                                                 “arbitration in accordance with the rules of the American
Los Angeles, CA, Kelly Halford Clark, Pro Hac Vice, LA
                                                                 Arbitration Association [ (“AAA”) ].” Decl. James Goldman
Waterkeeper, Santa Monica, CA, for Plaintiff.
                                                                 ¶ 2, Ex. 1 at § 5.1 (Dkt. No. 134-1). The Court granted
Stephen J. Erigero, Tahereh Mahmoudian, Ropers Majeski           Defendants’ motion to compel arbitration and stayed the case.
Kohn and Bentley PC, Richard L. B Charnley, Annie                Dkt. No. 39.
Rian, Charnley Rian LLP, Los Angeles, CA, Kelly Drew
Folger, Traci S. Lagasse, Andrews Lagasse Branch and Bell        Following the Court's order, the parties agreed to appoint the
LLP, San Diego, CA, Todd E. Croutch, Daniel K. Dik,              Honorable Richard A. Stone (Ret.) (the “Arbitrator”) as the
David M. Wright, Fraser Watson Croutch, Glendale, CA, for        arbitrator for the case. Goldman Decl. ¶ 6. At that time, the
Defendants.                                                      Arbitrator was affiliated with ADR Services, Inc. (“ADRS”).
                                                                 Id.

                                                                 On December 21, 2015, the parties conducted an Arbitration
          ORDER GRANTING MOTION TO
                                                                 Management Conference over which the Arbitrator presided.
          CONFIRM ARBITRATION AWARD
                                                                 Goldman Decl. ¶ 7. The Arbitrator then issued an Arbitration
ANDRÉ BIROTTE JR., UNITED STATES DISTRICT                        Management Order, which stated that “[t]he arbitration shall
COURT JUDGE                                                      be conducted according to ADR Services’ Arbitration rules
                                                                 and the terms of the parties’ arbitration agreement.” Goldman
 *1 On August 17, 2018, Plaintiff Marc Willick (“Plaintiff”)     Decl. ¶ 7, Ex. 3 at p. 2.
filed a motion to confirm an arbitration award. Dkt. No. 134.
Defendant Napoli Bern Ripka & Associates, LLP (“NBRA”)           About two years later, the Arbitrator ordered the parties to
opposed the motion, and Plaintiff filed a reply. Dkt. Nos.       conduct an accounting at NBRA's expense. Goldman Decl.
136, 137. The Court finds this matter appropriate for decision   ¶¶ 8c, 8d, 8e, Exs. 6, 7, 8, 9. The Arbitrator appointed Bjorn
without oral argument and vacates the hearing scheduled for      Malmlund of Ernst & Young LLP to conduct the accounting.
September 14, 2018. See Fed. R. Civ. P. 78; LR 7-15. For the     Goldman Decl., Ex. 8 at p. 6. However, by late March 2018,
following reasons, the Court GRANTS Plaintiff's motion.          NBRA had failed to pay Ernst & Young LLP's retainer for the
                                                                 accounting. Goldman Decl. ¶ 9e, Ex. 12 at p. 4.

   I. BACKGROUND                                                 Based on NBRA's failure to comply with the Arbitrator's
This case arises from a dispute between a lawyer and a law       accounting order, Plaintiff filed a motion for terminating
firm. According to Plaintiff, he and NBRA entered into two       sanctions. Goldman Decl. ¶ 9a. Although NBRA opposed
contracts. Complaint ¶¶ 7, 8 (Dkt. No. 1-1). Through the         the motion, the Arbitrator tentatively granted the motion on
first contract (“First Contract”), entered into on March 7,      April 28, 2018. Goldman Decl. ¶ 9a, Ex. 10. He reasoned
2011, Plaintiff agreed to serve as local counsel for NBRA


               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                          1
    Case 23-04510            Doc 20-4         Filed 10/13/23 Entered 10/13/23 17:58:15
Willick v. Napoli Bern Ripka & Associates, LLP, Not Reported in Fed. Supp. (2018)
                                                                                                             Desc Exhibit
                                                    C Page 79 of 81

that NBRA's failure to pay for the accounting amounted to
                                                                   the arbitrator.” Johnson v. Wells Fargo Home Mortg., Inc.,
a willful refusal to comply with his accounting order. Id.
                                                                   635 F.3d 401, 414 (9th Cir. 2011).
at p. 11. In addition to NBRA's failure to follow through
with an accounting, the Arbitrator noted that NBRA had
neglected its discovery obligations. Id. at pp. 3, 11. According     III. DISCUSSION
to the Arbitrator, NBRA's conduct “demonstrate[d] a level          NBRA raises essentially two arguments for denying Plaintiff's
of (continuing) obstruction so egregious as to warrant (if not     motion. First, it argues that the Arbitrator exceeded the scope
require) the imposition of terminating sanctions.” Id. at pp.      of his authority in striking NBRA's answer and entering
13–14. The Arbitrator therefore tentatively struck NBRA's          default as a sanction. Second, it argues that the Award Plaintiff
answer and entered default. Id. at p. 14. He then scheduled a      seeks to confirm is not final, making Plaintiff's motion
“prove-up hearing” during which Plaintiff would be required        premature.
to “prove up all of his claims against [NBRA] ....” Id.

 *2 On June 30, 2018, the Arbitrator presided over a prove-up
                                                                            A. Power to Enter Default as a Sanction
hearing. Goldman Decl. ¶ 9d. During that hearing, “Plaintiff
presented his evidence and argument to prove up all of his         NBRA claims that the Court cannot confirm the Award
claims against [NBRA].” Goldman Decl., Ex. 12 at p. 17. The        because the Arbitrator lacked the power to issue it. It contends
Arbitrator confirmed his tentative decision to strike NBRA's       that the AAA rules, which it argues apply in this case, prohibit
answer and enter default on July 3, 2018. Id.                      arbitrators from entering default as a sanction.

On August 3, 2018, the Arbitrator entered a “Final Award           “The scope of the arbitrator's authority is determined by
on Plaintiff's Claims Against Defendant [NBRA]” (the
“Award”). Goldman Decl. ¶ 10a, Ex. 13. The Award granted           the contract requiring arbitration ....” Schoenduve Corp.
Plaintiff a total of $4,079,548.53 in damages on his claims        v. Lucent Techs., Inc., 442 F.3d 727, 732 (9th Cir. 2006).
against NBRA. Id. at p. 6. It also provided that the relief        Generally, an arbitrator's power to issue sanctions comes
granted in the Award would be “the only relief granted             from the arbitration agreement or some separate statute. See
to [Plaintiff] against [NBRA].” Id. However, the Award                Certain Underwriters at Lloyd's London v. Argonaut Ins.
did not impair Plaintiff's right to seek relief from the           Co., 264 F. Supp. 2d 926, 943 (N.D. Cal. 2003) (“There
other Defendants. Id. On August 10, 2018, Plaintiff filed a        are two possible sources for [sanction] power: authority
motion in the arbitration to amend the Award to add the            that inheres in the FAA itself and the arbitration contract
other Defendants as alter egos of NBRA. Decl. Tahereh              as construed in light of FAA policy.”). “[T]he arbitrator's
Mahmoudian, ¶ 12 (Dkt. No. 136).                                   interpretation of the scope of his powers is entitled to the
                                                                   same level of deference as his determination on the merits.”
Plaintiff now asks the Court to confirm the Award. NBRA
                                                                      Schoenduve, 442 F.3d at 733.
opposes confirmation, primarily because it claims the
Arbitrator lacked authority to enter default as a sanction.
                                                                   Because the power to issue sanctions must come from a
                                                                   statute or agreement, the Court looks to the arbitral rules
  II. LEGAL STANDARD                                               that the parties agreed to follow. NBRA claims the AAA
Under the Federal Arbitration Act (“FAA”), a court must            rules apply, as the Second Contract explicitly provides for
grant a request to affirm an arbitration award unless the award    arbitration under AAA rules. Plaintiff, on the other hand,
                                                                   asserts that the ADRS rules apply because the parties agreed
is vacated, modified, or corrected.      9 U.S.C. § 9. A court
                                                                   to follow those rules during the Arbitration Management
may vacate an arbitration award when (1) it was procured
                                                                   Conference. The Court need not decide which rules apply,
by corruption, fraud, or other undue means; (2) the arbitrator
                                                                   however, because it concludes that the Arbitrator acted within
was evidently partial or corrupt; (3) the arbitrator was guilty
                                                                   the scope of his power under either set of rules.
of misconduct in refusing to postpone a hearing, excluding
material evidence, or otherwise prejudicing a party; or (4)
the arbitrator exceeded his or her power. 9 U.S.C. § 10(a). A
court's review of an arbitration award is “highly deferential to



                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                              2
    Case 23-04510             Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Willick v. Napoli Bern Ripka & Associates, LLP, Not Reported in Fed. Supp. (2018)
                                                                                                              Desc Exhibit
                                                    C Page 80 of 81

                                                                    Award after hearing evidence and argument at the prove-up
                                                                    hearing.
                        1. AAA Rules

 *3 The AAA Rules the parties agreed to follow in the Second        Neither of the parties have identified case law interpreting
Contract contemplate sanctions for failure to comply with an        AAA Rule 58, and the Court has not identified any through
arbitrator's order. They provide as follows:                        an independent search. Left with the plain text of the rule, the
                                                                    Court finds Plaintiff's interpretation more convincing.
  (a) The arbitrator may, upon a party's request, order
  appropriate sanctions where a party fails to comply with          AAA Rule 58 explicitly gives arbitrators the power to issue
  its obligations under these rules or with an order of the         sanctions. The only limit the rule imposes is a prohibition on
  arbitrator. In the event that the arbitrator enters a sanction    entering a “default award as a sanction.” In this way, AAA
  that limits any party's participation in the arbitration or       Rule 58 reflects the process that applies for entering default
  results in an adverse determination of an issue or issues,        judgment as a sanction in federal district court. A court may
  the arbitrator shall explain that order in writing and shall      enter default judgment as a sanction, but it cannot impose
  require the submission of evidence and legal argument
                                                                    a damages award as a sanction. See         Adriana Int'l Corp.
  prior to making of an award. The arbitrator may not enter
                                                                    v. Thoeren, 913 F.2d 1406, 1414 (9th Cir. 1990) (affirming
  a default award as a sanction.
                                                                    the district court's damages award after it entered default as a
  (b) The arbitrator must provide a party that is subject           sanction because “there was sufficient evidence to support the
  to a sanction request with the opportunity to respond             trial court's award of damages ...”). Rather, a plaintiff seeking
  prior to making any determination regarding the sanctions         default judgment carries the burden of proving damages.
  application.                                                             Philip Morris USA, Inc. v. Castworld Products, Inc.,
                                                                    219 F.R.D. 494, 498 (C.D. Cal. 2003). Similarly, by allowing
AAA Rule 58.
                                                                    an arbitrator to impose an “adverse determination of an
                                                                    issue or issues” as a sanction, AAA Rule 58(a) permits
NBRA focuses on the last sentence of AAA Rule 58(a), which
                                                                    determinative sanctions. But in proscribing “a default award
states that “[t]he arbitrator may not enter a default award as
                                                                    as a sanction,” AAA Rule 58(a) prevents arbitrators from
a sanction.” According to NBRA, that is exactly what the
                                                                    automatically, without proof, providing the non-defaulting
Arbitrator did here. By striking NBRA's answer and entering
                                                                    party an award. Instead of immediately granting a default
default, NBRA claims, the Arbitrator entered a default award
                                                                    arbitration award, the arbitrator must consider “evidence and
as a sanction and therefore acted beyond the scope of his
                                                                    legal argument prior to making ... an award.” AAA Rule
authority.
                                                                    58(a).

Plaintiff, on the other hand, focuses on the preceding sentence
                                                                     *4 Here, the Arbitrator did not enter a default award as a
in AAA Rule 58(a), which contemplates an arbitrator entering
                                                                    sanction. Rather, he struck NBRA's pleadings and entered
“a sanction that limits any party's participation in the
                                                                    default as a sanction. He then conducted a prove-up hearing,
arbitration or results in an adverse determination of an issue
                                                                    during which Plaintiff presented evidence and legal argument
or issues.” According to Plaintiff, the arbitrator did just that.
                                                                    to support an ultimate arbitration award. Only after that prove-
He made adverse determinations against NBRA on Plaintiff's
                                                                    up hearing did the Arbitrator enter the Award. Thus, the
two causes of action as a sanction for NBRA's failure to
                                                                    Arbitrator made adverse determinations against NRBA as a
comply with his orders. He explained his reasoning in an order
                                                                    sanction and then entered the Award based on evidence and
and then “require[d] the submission of evidence and legal
                                                                    argument. This conduct falls within the scope of the power
argument,” AAA Rule 58(a), before ultimately entering a
                                                                    granted to arbitrators under AAA Rule 58.
$4,079,548.53 arbitration award in Plaintiff's favor. The rule's
prohibition against entering a default award as a sanction,
Plaintiff argues, means that an arbitrator cannot enter a default
award without first requiring the prevailing party to submit                               2. ADRS Rules
evidence. The Arbitrator did not enter the Award as a sanction.
Rather, he entered default as a sanction and only granted the       The Arbitrator also acted within the scope of his authority
                                                                    under the ADRS rules. The ADRS rules provide as follows:



                © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                               3
    Case 23-04510           Doc 20-4        Filed 10/13/23 Entered 10/13/23 17:58:15
Willick v. Napoli Bern Ripka & Associates, LLP, Not Reported in Fed. Supp. (2018)
                                                                                                               Desc Exhibit
                                                  C Page 81 of 81


                                                                     As an initial matter, NBRA cites no law suggesting that
            The arbitrator may order appropriate                     the Court should decline to confirm the Award. The FAA
            sanctions for failure of a party to                      allows a court to vacate an arbitration award if it is not
            comply with his/her/its obligations                      sufficiently definite or final, 9 U.S.C. § 10(a)(4), but NBRA
            under any of these rules. These                          does not argue that the award is not final in the sense that it
            sanctions may include, but are not                       cannot be enforced. Instead, it appears to argue that it would
            limited to, assessment of costs,                         be premature for the Court to confirm the Award. But the
            exclusion of certain evidence, or in                     Arbitrator chose to title the Award “Final Award on Plaintiff's
            extreme cases ruling adversely on an                     Claims Against Defendant [NBRA].” Goldman Decl., Ex. 13.
            issue submitted to arbitration against                   Indeed, the Award states that “the relief granted [in the Award]
            the party who has failed to comply.                      is and will be the only relief granted to [Plaintiff] against
                                                                     [NBRA].” Id. at p. 6. An arbitrator's determination that an
                                                                     award is final tends to control. See      Smart v. Int'l Bhd. of
ADRS Rule 31 (Supplemental Declaration of James
                                                                     Elec. Workers, Local 702, 315 F.3d 721, 725–26 (7th Cir.
Goldman, ¶ 6b, Ex. 33 at p. 9 [Dkt. No. 137-1]). The ADRS
                                                                     2002) (“[I]f the arbitrator himself thinks he's through with the
rules therefore explicitly allow arbitrators to rule against a
                                                                     case, then his award is final ....”). And while the Arbitrator
party as a sanction in “extreme cases.” Id.
                                                                     did reserve jurisdiction to resolve Plaintiff's claims against
                                                                     the other Defendants, it is unclear why that decision matters
The Arbitrator conducted a detailed analysis about NBRA's
                                                                     to NBRA. The claims against NBRA have been completely
conduct and determined that it was sufficiently extreme to
                                                                     resolved, and the Arbitrator will not grant Plaintiff any further
justify entering default as a sanction. Indeed, the Arbitrator
                                                                     relief against NBRA. Because the Arbitrator has concluded
wrote that he was “loath to impose terminating sanctions.”
                                                                     that he has completed his review of Plaintiff's claims against
Goldman Decl., Ex. 10 at p. 13. But NBRA's willful violation
                                                                     NBRA, the Court sees no reason to delay confirming the
of the Arbitrator's order to provide an accounting, as well
                                                                     Award.
as its continuing discovery violations, rendered default an
appropriate sanction. Id. at pp. 13–14. Because the Arbitrator
                                                                      *5 Finally, the fact that Plaintiff would like to amend the
entered an adverse ruling after determining that NBRA's
                                                                     Award does not mean that it is not final. Parties frequently
conduct was extreme, he acted within the scope of his
                                                                     seek to amend judgments or awards, but that does not render
authority under the ADRS rules.
                                                                     those awards interim or temporary. NBRA cites no law
                                                                     suggesting otherwise. Accordingly, the Court finds the Award
Thus, the Arbitrator did not exceed the scope of his authority
                                                                     sufficiently final to confirm.
under either the AAA or ADRS rules.

                                                                        IV. CONCLUSION
                   B. Finality of Award                              For the foregoing reasons, the Court GRANTS Plaintiff's
                                                                     motion. The Court lifts the stay as to NBRA, but will continue
NBRA briefly argues that the Court should not confirm the            to stay the case as to the other Defendants.
Award because it is not yet final. It claims the Award is not
final for two reasons: (1) it only applies to one of the seven
Defendants participating in the arbitration, and (2) Plaintiff       IT IS SO ORDERED.
has moved to amend the arbitration award. Neither argument
                                                                     All Citations
persuades the Court.
                                                                     Not Reported in Fed. Supp., 2018 WL 6443080

End of Document                                                  © 2022 Thomson Reuters. No claim to original U.S. Government Works.




               © 2022 Thomson Reuters. No claim to original U.S. Government Works.                                                 4
